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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

LEONARD HOWARD, individually and on       :
behalf of all others situated,            :   Case No. 1:14-cv-01183-BAH
1434 Sunset Hwy                           :
East Wenatchee, WA 98802,                 :   CLASS ACTION
                                          :
                            Plaintiff,    :
                                          :
             v.                           :
                                          :
LIQUIDITY SERVICES INC.,                  :
1920 L Street NW                          :
Washington, DC 20036                      :
                                          :
WILLIAM P. ANGRICK III,                   :
1920 L Street NW                          :
Washington, DC 20036                      :
                                          :
and JAMES M. RALLO,                       :
1920 L Street NW                          :
Washington, DC 20036,                     :
                                          :
                                          :
                            Defendants.   :



                  AMENDED COMPLAINT FOR VIOLATIONS OF
                      THE FEDERAL SECURITIES LAWS
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           Co-Lead Plaintiffs Caisse de dépôt et placement du Québec (“Caisse”) and the Newport

News Employees’ Retirement Fund (“NNERF”), individually and on behalf of all other persons

similarly situated, allege the following in support of their Amended Complaint against

Defendants:

           Co-Lead Plaintiffs’ allegations are based upon personal knowledge as to themselves, and

information and belief as to all other matters, which information and belief is based upon, among

other things, the investigation conducted by and through their attorneys, which included, among

other things, a review of public documents, conference calls and announcements made by

Defendants, Securities and Exchange Commission (“SEC”) filings, wire and press releases

published by and regarding Liquidity Services Inc. (“Liquidity” or the “Company”), analysts’

reports and advisories about the Company, and information readily available in the public record.

Co-Lead Plaintiffs believe that further substantial evidentiary support will exist for these

allegations after a reasonable opportunity for discovery.

           Co-Lead Plaintiffs’ allegations are also based, in part, on interviews with numerous

former employees of Liquidity and others who have knowledge of the relevant aspects of the

Company’s operations and financial reporting, including:

                a. Confidential Witness 1 (“CW 1”),1 a former Business Analyst and Contact Center

                    Manager with the Company from October 2010 through November 2013, who

                    managed the business-to-business (“B2B”) and business-to-consumer (“B2C”)

                    portions of Liquidity’s eBay “stores” and the Liquidation.com website, and who

                    dealt with big-box companies (such as Target, Best Buy, and Wal-Mart) from

                    whom Liquidity bought merchandise; this CW reported to the Director of


1
    All CWs will be described in the masculine to protect their identities.


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     Customer Support and Major Account Sales, who reported to Vice President of

     Channel Optimization, who in turn reported to the President of Retail Supply

     Chain Group, who reported directly to CEO Defendant William Angrick

     (“Angrick”);

  b. Confidential Witness 2 (“CW 2”), former Senior Sales Executive with the

     Company from August 2007 through October 2014, whose responsibilities

     included handling B2B transactions on the Company’s Liquidation.com website

     and managing auctions for the Major Account Group clients (such as American

     Heritage Billiards); this CW reported during his tenure to various sales directors,

     who in turn reported to the Vice President of Business Development, who

     reported to the President of Retail Supply Chain Group, who reported directly to

     Defendant Angrick;

  c. Confidential Witness 3 (“CW 3”), a former Channel Optimization Specialist in

     the Company’s Asset Recovery Division from February 2008 through November

     2012, whose responsibilities included purchasing electronics inventory from

     Global Accounts clients (such as Wal-Mart and Target), personally overseeing

     electronics inventory at Liquidity’s warehouses throughout the U.S., and selling

     items on the Company’s websites, and thus described himself as involved in

     “every step of the process” in the electronics vertical; this CW reported to the

     Senior Manager of Channel Optimization, who reported to the Senior Director of

     Channel Optimization, who in turn reported to the Vice President of Channel

     Optimization, who reported directly to Defendant Angrick;




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  d. Confidential Witness 4 (“CW 4”), former Director of Global Compensation with

     Liquidity from March 2013 through November 2013, whose responsibilities

     included managing the Company’s compensation programs, including those

     related to sales, executive bonuses, and annual bonuses; this CW reported to the

     Vice President of Human Resources, who reported directly to Defendant Angrick;

  e. Confidential Witness 5 (“CW 5”), a former Senior Account Manager for

     Government Liquidation, LLC (“Government Liquidation”), a Liquidity

     subsidiary, from April 2012 through July 2014, and a former Private Treaty Sales

     Specialist   with   GoIndustry DoveBid     (“GoIndustry”),   another   Liquidity

     subsidiary, from June 2011 through April 2012, whose responsibilities included

     working with his government and medical equipment accounts on selling material

     they no longer wanted, such as forklifts, shelving equipment, baking equipment,

     and other materials; this CW reported to the Director of Account Management

     and Business Development – Capital Assets Group, who reported to Senior Vice

     President of Capital Assets Group, who reported to Executive Vice President of

     Capital Assets Group, who reported to the President of Capital Assets Group, who

     CW 5 believed reported directly to Defendant Angrick;

  f. Confidential Witness 6 (“CW 6”), a former Director of Human Resources from

     August 1998 until January 2013, and a Senior Director of Human Resources with

     Liquidity’s subsidiary Government Liquidation from January 2013 through

     October 2013, whose responsibilities included all human resources operations,

     such as implementation and management of HR systems, policies, and




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     procedures; this CW reported to the Vice President of Human Resources, who

     reported directly to Defendant Angrick;

  g. Confidential Witness 7 (“CW 7”), a former Director of Global Sales from October

     2013 through May 2014, and a Director of Business Development from March

     2009 through October 2013, who was employed by the Company in the Retail

     Supply Chain and whose responsibilities included business development and

     selling products that Liquidity bought from other customers; this CW reported to

     the Vice President of Business Development and later to the Vice President of

     Marketing and Sales (when CW 7 started working in sales). Both the Vice

     President of Business Development and the Vice President of Marketing and

     Sales reported to the President of Retail Supply Chain Group, who in turn

     reported to Defendant Angrick;

  h. Confidential Witness 8 (“CW 8”), a former Senior Corporate Recruiter with the

     Company from December 2011 through June 2014, who, as the third-ranking

     Human Resources Director, partnered with Liquidity’s leadership in recruiting

     candidates for positions with the Company; this CW reported to the Senior

     Director of Human Resources, who reported to the Vice President of Human

     Resources, who in turn reported directly to Defendant Angrick;

  i. Confidential Witness 9 (“CW 9”), former Vice President of Business

     Development who was employed by the Company from November 2007 through

     April 2014, and who was responsible for all sales and account management within

     the Consumer Products Division; this CW reported to the Vice President of Retail

     Supply Chain Group, who reported directly to Defendant Angrick;



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  j. Confidential Witness 10 (“CW 10”), a former Inventory Control Quality

     Assurance Analyst with Liquidation.com, a Liquidity subsidiary, from January

     2013 through April 2014, whose responsibilities included monitoring inventory

     and auditing the work of the employees who determined the quality of the

     merchandise; this CW reported to the Inventory Control and Quality Manager,

     who reported to the Senior Director of Operations, who reported to the Vice

     President of Channel Optimization, who in turn reported to the President of Retail

     Supply Chain Group, who reported directly to Defendant Angrick;

  k. Confidential Witness 11 (“CW 11”), a former Senior Manager of Sales and

     Marketing Platforms from July 2011 through March 2014, who was the

     administrator of Salesforce, the customer relationship management (“CRM”)

     software used by the Company, as well as the administrator of Eloqua, the

     Company’s marketing platform; this CW reported to the Senior Director of

     Product Development, who reported to the Vice President of Corporate

     Marketing, who in turn reported directly to Defendant Angrick;

  l. Confidential Witness 12 (“CW 12”), a former Project Manager with Network

     International (“Network International”) from 2006 through April 2014, who

     supervised the asset management team as well as certain sales services; this CW

     reported to the Vice President of Operations, who reported to Network

     International’s Chief Operating Officer (“COO”), who reported directly to

     Defendant Angrick;

  m. Confidential Witness 13 (“CW 13”), a former Account Manager (November

     2012-August 2012) and Marketing Developer (November 2011-November 2012)



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     at Liquidity subsidiary Network International from November 2011 through

     August 2013, whose responsibilities included listing material on Network

     International’s website for auction, confirming that the sales team was contacting

     the appropriate buyers for the product, and developing new buyers; this CW

     reported to the Vice President of Operations, who reported to Network

     International’s COO, who in turn reported to Defendant Angrick;

  n. Confidential Witness 14 (“CW 14”), a former Marketing Communications

     Specialist with Network International from 2005 through March 2014, whose

     responsibilities included customer support and inside sales marketing with

     customers; this CW’s direct supervisor reported to the Vice President of

     Operations, who reported to Network International’s COO, who in turn reported

     directly to Defendant Angrick;

  o. Confidential Witness 15 (“CW 15”), a former Senior Inside Sales Representative

     at Liquidity subsidiary Network International, from October 2013 through April

     2014, whose responsibilities included finding buyers to participate in online

     auctions; this CW reported to the Director of Pipe Sales, who reported to Network

     International’s COO, who reported directly to Liquidity Defendant Angrick;

  p. Confidential Witness 16 (“CW 16”), a former Director of Technical Program

     Management in Liquidity’s Program Management Office from August 2013

     through May 2014, whose responsibilities included creating a new customer-

     interfacing platform portal for the purpose of allowing customers a website for

     one-stop shopping that incorporated the products and services of the Company

     and its acquired entities; this CW reported to the Vice President of Program



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     Management, who reported to the Chief Information Officer, who CW 16

     believed reported directly to Defendant Angrick;

  q. Confidential Witness 17 (“CW 17”), a former Office Manager with Government

     Liquidation from January 2012 through July 2013, whose responsibilities

     included loading new surplus material from the U.S. Department of Defense

     (“DoD”) onto the Government Liquidation website and reporting inventory on a

     weekly basis; this CW reported to a site manager, who reported to the Western

     Pacific Zone Director, who reported to Vice President of Operations, who CW 17

     believed reported directly to Defendant Angrick;

  r. Confidential Witness 18 (“CW 18”), former Senior Manager of Client Services in

     the Company’s Asset Recovery Division (April 2011 – January 2013), as well as

     other positions, from July 2006 through January 2013, whose responsibilities

     included managing several Global Accounts and accounts in the Government

     Liquidation line of business, and who characterized his role as liaison between the

     accounts and the Company; this CW reported to the Senior Director of Client

     Services, who reported to the Vice President of Business Development, who

     reported to the President of Retail Supply Chain Group, who reported directly to

     Defendant Angrick;

  s. Confidential Witness 19 (“CW 19”), a former Inside Sales Representative with

     Network International, a Liquidity subsidiary, from December 2012 through July

     2014, whose responsibilities included contacting buyers to participate in online

     auctions; this CW first reported to the Director of Inside Sales, then to the Vice




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                  President of Strategic Business Development, who reported to Network

                  International’s COO, who reported directly to Defendant Angrick; and

             t.   Confidential Witness 20 (“CW 20”), a former B2C Channel Associate with

                  Liquidity from June 2009 through April 2012, whose responsibilities included

                  loading product inventory onto websites like amazon.com, eBay,2 and B2C’s

                  standalone website secondipity.com, and then tracking Gross Merchandise

                  Volume (“GMV”), which Liquidity defines as a measurement of “the total sales

                  value of all merchandise sold through our marketplaces during a given period,”

                  and which thus provides a measure of the volume of goods being sold in

                  Liquidity’s marketplaces; this CW reported to the Director of Retail Marketplace,

                  who reported to the Vice President of Channel Optimization, who reported to the

                  President of Retail Supply Chain Group, who reported directly to Defendant

                  Angrick.

I.      NATURE OF THE ACTION

        1.        Co-Lead Plaintiffs bring this federal securities class action pursuant to Sections

10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) on behalf of all

persons and entities who purchased or otherwise acquired Liquidity common stock between

February 1, 2012, and May 7, 2014, inclusive (the “Class Period”), against the Company and

certain of its officers for executing a scheme whereby Defendants disseminated materially false

and misleading information and omitted other material information that artificially inflated

Liquidity’s stock price and caused damage to Co-Lead Plaintiffs and to members of the Class.



2
  While Amazon and eBay were Liquidity’s main competitors, Liquidity also had business arrangements with these
sites to sell its customers’ products.


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       2.      Liquidity provides online auction marketplaces for surplus and salvage assets,

also known as a “reverse supply chain.” Its main competitors include online sellers such as

ebay.com and Amazon.com. It makes money by retaining a percentage of the proceeds from the

sales it manages for its sellers. Liquidity began life in November 1999 as Liquidation.com, Inc.

and its business soon became dominated by government contracts. By 2005 it had the exclusive

right to manage and sell substantially all DoD scrap property, and the majority of its revenue

came from its DoD contracts.

       3.      The DoD relationship was, in the words of a former Vice President of Business

Development, a “cash cow,” and one that, in the words of another former employee, was vital to

the overall health of the Company. Fear was mounting, however, within all levels of the

Company that because the DoD contracts were subject to a competitive bidding process, there

was no guarantee they would be renewed on the same favorable terms, or even renewed at all.

Thus, Liquidity knew it needed to diversify its operations to lessen its substantial dependence on

the government contracts market. This diversification plan meant expanding into the promising

retail reverse supply chain market and, to a lesser extent, the capital assets market.

       4.      Liquidity knew that in order to capture a bigger share of the critical, but

fragmented, retail market it would need to expand its geographic reach and its client base. This

meant acquiring competing businesses, and in the lead up to the start of the Class Period,

Liquidity went on a shopping spree.

       5.      When the Class Period begins on February 1, 2012, and with most of these

acquisitions having already occurred, the Company heralded itself as a major growth story,

describing its fiscal year 2011 and first quarter of 2012 results as “strong” and “driven by record

volumes in both our commercial capital assets and retail supply chain verticals.” At the same



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time, Defendants assured investors of the Company’s enormous growth potential. In doing so,

they emphasized two pillars of this growth: (1) “organic” growth through sustained margins

and improvements in client penetration and services; and (2) “inorganic” growth through

Liquidity’s acquisition strategy. Thus, from the beginning of the Class Period, Defendants

primed investors to focus on sustained margins and acquisition growth as key components of the

Company’s future plans. And the market took note. For example, two days after the earnings

call (on February 3, 2012), an analyst from Roth Capital stated: “We believe LQDT remains

well positioned to emerge as the market leader in the online reverse supply chain. Its strong

1Q12 results demonstrate the operating leverage in its model and we expect continued margin

expansion through FY13.” (Emphasis added.)

       6.      Six months later, Defendants announced the purchase of GoIndustry, a global

provider of surplus asset management, auction, and valuation services. GoIndustry was touted as

a major shot in the arm for the Company’s acquisition pillar of its growth strategy, particularly as

GoIndustry was meant to expand the Company’s client roster and push Liquidity further into the

international sphere and drive growth.       Based on guidance from the Company, analysts

regurgitated this positive story:   “[w]e believe the [GoIndustry] deal significantly expands

LQDT’s growing footprint in Capital Asset recovery and provides global reach in Europe with a

strong client base including GE, Pfizer, Coke and P&G (50 clients in Fortune 1000)” and “[w]e

view GoIndustry as a relatively attractive tuck-in acquisition that will provide LQDT with a

more global footprint.”

       7.      Pushed along by its own narrative, the Company continued to tout its growth

story. On July 31, 2012, for example, Defendant Angrick said Liquidity “advanced all key

elements of our growth strategy during [the second quarter], driving organic growth, innovation



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and external growth via acquisition,” and that this strategy supported a growth target of 15-20%,

which Defendant CFO James Rallo (“Rallo”) called “sustainable.”              Six months later, on

December 12, 2012, Angrick described Liquidity’s “huge opportunity to transform an industry,”

emphasizing past success and expected growth in GMV, adjusted earnings before interest, taxes,

depreciation, and amortization (“EBITDA”), adjusted earnings per share (“EPS”), and registered

buyers, and telling the market that by 2016 it planned to more than double GMV – from $864

million to over $2 billion.      Angrick said Liquidity would accomplish this by acquiring

complimentary businesses, growing the buyer base, increasing penetration of existing sellers, and

developing new seller relationships. At the same time, Liquidity touted the strength of its retail

and capital markets divisions, and in particular, focused on the GoIndustry acquisition as

“strengthening Liquidity’s position in existing markets.”

       8.      As before, analysts who were primed by Liquidity then repackaged those buoyant

descriptions to the investment community at large. For example, on December 13, 2012, Janney

Capital Markets published a report commenting: “Key takeaways include: (1) the Capital Asset

business represents a significant global opportunity with [GoIndustry], (2) Commercial Retail

has significant growth opportunities through deeper client engagement while sales cycles remain

long due to complexity/changing industry behavior.” On the same day, an RBC Capital Markets

Analyst wrote a report underscoring a positive long-term outlook for the Company and that

Liquidity “finds itself in a defensible position with a strong growth opportunity.”

       9.      At the very time Defendants were priming analysts and the market regarding

Liquidity’s twin growth pillars – sustained margins and acquisitions – internal assessments of

these “motors” were decidedly bleak, rendering the Company’s public statements false and

misleading by omission.



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       10.     The reality was that myriad undisclosed problems in both the retail and capital

assets divisions were having a marked effect on the Company’s profitability and growth

potential.   Liquidity’s retail supply chain business was enduring substantial troubles, with

margins and revenues deteriorating throughout the Class Period. While Defendants repeatedly

told investors of the strong momentum in organic growth that was expanding Liquidity’s market

share in both the commercial and public sectors, Defendants were not forthcoming about the

heightened competition that was forcing Liquidity to accept new and renegotiated contracts at

ever-reduced margins. Numerous former employees attest to the increasingly crowded market

that materially cut into Liquidity’s profitability. A former Business Analyst and Contract Center

Manager (CW 1), for example, noted that the Company entered into barely profitable – and

sometimes unprofitable – arrangements just to maintain relationships with existing customers

and prevent them from leaving for Liquidity’s competitors. With the rise of “newer players on

the block,” margins were “a lot less than expected.” A former Senior Sales Executive (CW 2)

who worked at the Company for seven years (including the entirety of the Class Period) noted a

decline in margins in B2B transactions as early as March 2011. A former Channel Optimization

Specialist (CW 3), whose Global Accounts clients included large retailers like Target and Wal-

Mart, noticed that margins in the electronics vertical were “definitely” trending downward

throughout 2012.

       11.     Defendants also assumed a dismissive public posture toward competition.

Emblematic was Defendant Rallo’s public statement that Liquidity’s competition was “not very

formidable.” Yet such public pronouncements were wholly at odds with the concerns expressed

by a host of former employees who worked at Liquidity during the Class Period and who were

watching merchandise – like items in the electronics vertical – being sold at a loss. Although



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Defendants finally disclosed the fact that, over time, they expected margin growth to slow, they

did not come anywhere near the necessary level of candor with investors.            Ultimately,

deteriorating margins was a tremendous problem, one that hampered organic growth, a fact that

Defendants were keenly aware of but stubbornly refused to adequately disclose.

       12.    At the same time, sales numbers were being manipulated in the retail division.

Defendants knew or were reckless in not knowing, but failed to disclose, that the retail supply

chain group was playing fast and loose with its sales numbers to keep up appearances, all while

revenues and margins slipped throughout 2013 and 2014.         Liquidity had a Company-wide

“culture” of overstating sales goals, in the words of a former management-level employee.

According to a former Director of Global Compensation (CW 4), sales figures in the retail

segment were “sinking fast” and, in 2013, were inflated by at least 10%. Importantly, this

fudging of numbers was known and endorsed at the highest levels. According to CW 4, the

Retail Segment was “doing a lot of data massaging with credits and other things to inflate the

numbers.” This former Director of Global Compensation was discouraged from raising his

concerns by no less than the Vice President of Human Resources, who told CW 4 that Defendant

Angrick himself did not want CW 4 “rattling [Vice President of Retail Supply Chain Group]’s

chain” and ordered him to leave the retail sales figures alone. “I was actually told to back off

from getting their numbers as per Bill [Angrick],” this confidential witness stated. The retail

supply chain was already at the mercy of mix changes, or variation in the value of merchandise

that Liquidity’s customers were looking to dispose of – another fact materially underreported in

Defendants’ public statements – and manipulating sales numbers helped mask this and deceive

the market.




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       13.     Likewise, Liquidity’s capital assets business, though touted as a source of great

opportunity for the Company, was saddled with problems. The acquisition of GoIndustry in May

2012, widely recognized by Liquidity employees as being historically unprofitable and, in the

words of one former employee (CW 5), about to “shut their doors,” was not working. As a

former Senior Director of Human Resources (CW 6) put it, the GoIndustry acquisition surprised

many people within Liquidity, as it was “not a money-maker” and was known in the industry as

never being profitable.     Yet Defendants repeatedly misrepresented the degree of success

Liquidity was having in integrating GoIndustry into Liquidity’s business.              Even when

Defendants attempted to create the appearance of candor by publicly discussing difficulties

integrating GoIndustry, they craftily revealed only logistical integration issues, not the more

troubling integration issues, including that posed by the fact that GoIndustry’s top European

sales staff were defecting and taking their clients, while the remainder of its European sales force

was unprofitable. On all fronts, Liquidity was unable to leverage synergies from this acquisition.

       14.     Another of Liquidity’s capital assets businesses – Network International, which

specializes in oil and gas assets – faced problems that, as with other issues, Defendants did not

timely reveal. Weaknesses at Network International became internally apparent no later than

August 2013, by which point clear signs of a macroeconomic slowdown had developed. The

Company issued a number of extremely general statements throughout the Class Period

concerning macroeconomic volatility that might impact Network International’s business. For

example, a boilerplate and oft-repeated statement in Liquidity’s November 29, 2012 earnings

release pointed to “the volatility in the macro environment and its potential impact on the retail

and industrial supply chains and GDP growth.” However, Defendants failed to adequately warn

the market about the specific, then-known negative developments in the energy vertical (its



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customers in the energy business) in a timely fashion after the August 2013 discovery of actual

and significant macroeconomic weaknesses in that sector. Not only did the Company fail to

disclose any such macroeconomic problems until nearly a year later, but, as former Liquidity

employees explained, Liquidity senior management’s ill-conceived interference with Network

International’s business compounded the problem by alienating its niche customer base.

           15.      Throughout the Class Period, and despite these rampant threats to the Company’s

profitability, Defendants continued to misleadingly portray Liquidity as a Company with

substantial potential for further growth, and falsely reassured investors that any struggles the

Company faced were merely temporary side effects of its lucrative growth initiative. Even when

Defendants acknowledged that certain business segments faced difficulties and headwinds, and

tempered projections for upcoming quarters, they did so in a woefully incomplete manner that

did not presage the calamitous toll on earnings that such issues were taking. In effect, investors

were entirely unprepared for the news that leveled them in May 2014; and level them it did.

           16.      Before the market opened on May 8, 2014, Liquidity announced its second

quarter fiscal 2014 results,3 revealing that the Company suffered heavy, unforeseen losses and

was forced to drastically reduce its guidance for GMV, adjusted EBITDA, and adjusted diluted

EPS. Liquidity suffered a 43% year-over-year decrease in adjusted EBITDA, a 46% year-over-

year decrease in adjusted diluted EPS, and a 12% year-over-year decrease in the Company’s

GMV. Defendant Angrick attributed the drastic decline in earnings to “mix changes in our DoD

surplus and retail businesses and delayed capital asset projects in both the U.S. and Europe.

[Liquidity] also experienced unusual softness in our energy vertical due to an industry wide

decline in line pipe and related equipment.” Also, as a result of Liquidity’s significant year-


3
    Liquidity’s fiscal year ends on September 30.


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over-year losses in these key metrics, the Company was forced to slash its guidance for the

remainder of 2014.

       17.     Investors were stunned by the unforeseen plummet in earnings, and Liquidity’s

share price tumbled 30%, from $17.31 on May 7, 2014, to $12.17 on May 8, 2014, a loss of

$5.14 per share, on atypically high volume of approximately 8 million shares.

       18.     Defendants were moved to mislead investors for a number of reasons, chief

among them pure self interest. Here, Defendant Angrick rode the wave of artificial stock

inflation all the way to the bank; his strategically timed stock sales during the Class Period – in

atypical amounts (1,642,979 shares, approximately 25% of his holdings) paid him $68.2 million.

These sales – serendipitously, he would surely have the market believe – were clustered around

periods directly preceding announcements that, while by no means revealing the whole truth of

what was occurring within the Company, had the effect of depressing the stock price. Moreover,

Angrick’s Class Period trades were double his sales during the two-year period preceding the

Class Period, earning him four-and-a-half times as much money. In short, Defendant Angrick’s

stock selling represents a textbook example of insider trading and motive to mislead investors.

       19.     Nor can the Individual Defendants (as defined herein) claim ignorance of the

operational issues attested to by the approximately twenty former employees whose statements

are documented herein. They uniformly describe in precise detail how all of the relevant sales

and financial metrics, as well as the status of contracts, the pace of acquisition integration, and

trends in competition and market share at all operating units within all business segments were

upstreamed on a constant basis to senior management – including weekly reports and meetings in

which Defendant Angrick participated.




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        20.     As alleged herein, Defendants deliberately deceived investors as to a variety of

matters bearing on the sustainability and growth of Liquidity’s operations. The Company’s

public statements were wholly insufficient to provide investors with a true and complete picture

of the Company’s operations. Those who were privy to the truth – like CEO Defendant Angrick

– were able to capitalize on what was widely known internally. But Class Members paid dearly

for Defendants’ repeated – and belated – failure to come clean.

II.     JURISDICTION AND VENUE

        21.     This action arises under Sections 10(b) and 20(a) of the Exchange Act, 15 U.S.C.

§§ 78j(b) and 78t(a), and SEC Rule 10b-5, 17 C.F.R. § 240.10b5, promulgated thereunder.

        22.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

        23.     Venue is proper in this District under Section 27 of the Exchange Act and 28

U.S.C. § 1391(b). Many of the acts and conduct complained of herein, including the preparation

and dissemination of materially false and misleading information to the investing public,

occurred in substantial part in this District.

        24.     In connection with the acts and omissions alleged in this complaint, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including, but

not limited to, the mails, interstate telephone communications, and the facilities of the national

securities markets.

III.    PARTIES

        25.     Co-Lead Plaintiff Caisse is an institutional investor headquartered in Montreal,

Québec, Canada. As shown in its previously-filed Certification pursuant to the federal securities




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laws, Caisse purchased Liquidity common stock at artificially inflated prices during the Class

Period, and was damaged as a result.

       26.     Co-Lead Plaintiff NNERF is a public pension fund established and administered

by the City of Newport News, Virginia. As shown in its previously-filed Certification pursuant

to the federal securities laws, NNERF purchased Liquidity common stock at artificially inflated

prices during the Class Period, and was damaged as a result.

       27.     Defendant Liquidity is a Delaware corporation and is based in Washington, D.C.,

where most of its day-to-day operations are conducted.

       28.     Defendant William P. Angrick III is the current Chairman and Chief Executive

Officer of Liquidity, and has served in those capacities since January 2000. Defendant Angrick

has signed Sarbanes-Oxley certifications on all of the Company’s quarterly SEC filings since the

start of the Class Period. Throughout the Class Period, Defendant Angrick sold 1,642,979 shares

at artificially inflated prices for a cash windfall of over $68.2 million.

       29.     Defendant James M. Rallo is the current Chief Financial Officer, Treasurer, and

President of the Retail Supply Chain Group at Liquidity. Rallo has served as CFO and Treasurer

of Liquidity since 2005. Defendant Rallo has signed Sarbanes-Oxley certifications on all of the

Company’s quarterly SEC filings since the start of the Class Period.

       30.     Defendants referenced in ¶¶ 28-29, above, are sometimes collectively referred to

herein as the “Individual Defendants.”

IV.    CLASS ACTION ALLEGATIONS

       31.     Co-Lead Plaintiffs bring this action as a class action pursuant to Federal Rule of

Civil Procedure 23(a) and (b)(3) on behalf of all persons who purchased or otherwise acquired

Liquidity common stock during the Class Period and who were damaged thereby (the “Class”).



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Excluded from the Class are Defendants, members of the immediate family of each of the

Individual Defendants, any subsidiary or affiliate of Liquidity, and the directors, officers, and

employees of the Company or its subsidiaries or affiliates, or any entity in which any excluded

person has a controlling interest, and the legal representatives, heirs, successors, and assigns of

any excluded person.

        32.    The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to Co-Lead Plaintiffs at

this time and can only be ascertained through appropriate discovery, Co-Lead Plaintiffs believe

that there are thousands of members of the Class located throughout the United States.

Throughout the Class Period, Liquidity common stock was actively traded on the NASDAQ (an

open and efficient market) under the symbol “LQDT.” Record owners and other members of the

Class may be identified from records maintained by Liquidity and/or its transfer agents and may

be notified of the pendency of this action by mail, using a form of notice similar to that

customarily used in securities class actions.

        33.    Co-Lead Plaintiffs’ claims are typical of the claims of the members of the Class,

as all members of the Class are similarly affected by Defendants’ wrongful conduct, which

violated federal law.

        34.    Co-Lead Plaintiffs will fairly and adequately protect the interests of the members

of the Class and have retained counsel competent and experienced in class and securities

litigation.

        35.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:



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              a. whether the federal securities laws were violated by Defendants’ acts and
                 omissions as alleged herein;

              b. whether Defendants participated in and pursued the common course of conduct
                 complained of herein;

              c. whether documents, press releases, and other statements disseminated to the
                 investing public and the Company’s shareholders during the Class Period
                 misrepresented and/or omitted material facts concerning Liquidity’s growth
                 initiative, growth potential, and financial and operating conditions;

              d. whether the market price of Liquidity common stock during the Class Period was
                 artificially inflated due to the material misrepresentations and omissions and
                 failures to correct the material misrepresentations complained of herein; and

              e. the extent to which the members of the Class have sustained damages and the
                 proper measure of damages.

        36.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy, since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

V.      BACKGROUND FACTS

        A.        Nature of the Company

        37.       Liquidity provides online auction marketplaces for surplus and salvage assets,

also known as a “reverse supply chain.” The reverse supply chain provides for the redeployment

and remarketing of assets such as retail customer returns, overstock products, and end-of-life

goods or capital assets. Liquidity enables buyers and sellers to transact in automated online

auction environments offering more than 500 product categories across industry verticals,

including consumer electronics, general merchandise, apparel, scientific equipment, aerospace

parts and equipment, technology hardware, and specialty equipment. The Company’s online
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auction         marketplaces   are   found    at   www.liquidation.com,         www.govliquidation.com,

www.govdeals.com,            www.networkintl.com,      www.truckcenter.com,        www.secondipity.com,

www.go-dove.com, and www.jacobstrading.com. Liquidity’s customers are both commercial

and government entities, and Liquidity transacts business worldwide.                     Liquidity’s main

competitors include online sellers such as ebay.com and Amazon.com.

           B.       Significant Metrics for Liquidity

           38.      Liquidity provides investors with a number of different metrics that can be used to

measure the Company’s performance. GMV, as alleged above, is a metric often provided by

online sellers and which Liquidity defines as a measurement of “the total sales value of all

merchandise sold through our marketplaces during a given period.”4 GMV provides a measure

of the volume of goods being sold in Liquidity’s marketplaces and thus the activity of those

marketplaces. Liquidity also considers EBITDA5 and adjusted EBITDA6 “important indicators

of our operational strength and the performance of our business because they provide a link

between profitability and operating cash flow.”7

           39.      As an auction site, Liquidity has several additional metrics it uses to measure the

strength of its business.         For example, Liquidity tracks “completed transactions,” “total

registered buyers,” and “total auction participants.” “Completed transactions” represent the

number of auctions in a given period from which Liquidity records revenue. Similar to GMV,

4
    2012 Form 10-K at 31.
5
  EBITDA stands for Earnings Before Interest, Taxes, Depreciation and Amortization. EBITDA is equal to net
income plus (a) interest income (expense) and other income(expense), net; (b) provision for income taxes;
(c) amortization of contract intangibles; and (d) depreciation and amortization. See 2012 Form 10-K at 32.
6
  Adjusted EBITDA is different from EBITDA because Liquidity further adjusts EBITDA for stock based
compensation expense and acquisition costs such as transaction expenses and changes in earn out estimates. See
2012 Form 10-K at 32.

7
    2012 Form 10-K. at 33.


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Liquidity considers completed transactions a key business metric because it provides an

additional measurement of the volume of activity flowing through its online marketplaces.

“Total registered buyers” is used to evaluate how well marketing and promotional efforts are

performing.    “Total auction participants” allows Liquidity to compare its online auction

marketplaces to its competitors, including other online auction sites and traditional on-site

auctioneers. “Total auction participants” are also measured to evaluate the activity level of

Liquidity’s base of registered buyers and to measure the performance of the Company’s

marketing and promotional efforts.

       C.      How Liquidity Makes Money

       40.     Liquidity makes money by retaining a percentage of the proceeds from the sales it

manages for its sellers. Liquidity sells products for its customers using three different pricing

models: a profit-sharing model; a purchase model; and a consignment model.

       41.     Under the consignment model, Liquidity recognizes commission revenue from the

sale of merchandise that is owned by others. These commissions represent a percentage of the

sale price the buyer pays upon completion of a transaction.

       42.     Under the profit-sharing model, the Company purchases inventory from its sellers

and shares with them a portion of the profits received from a completed sale. Distributions to the

Company and to the sellers under this model are calculated based on the value received from the

sale after deducting direct costs, such as marketing, technology, and operations, as well as other

general and administrative costs.

       43.     Under the purchase model, Liquidity offers sellers a fixed sum for their over-

stocked products, or the option for the sellers to share a portion of the proceeds received from the

completed sales in the form of a distribution. In this model, distributions are calculated based on



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the money received from the sale after deducting a required return to the Company that is

negotiated with the sellers.

           44.      For both the purchase model and the profit-sharing model, Liquidity takes

physical possession of the goods and along with it assumes general and physical inventory risks

and credit risk. Under these models, Liquidity recognizes as revenue the sale price paid by the

buyer upon completion of a transaction, not only the Company’s share of the distributions.8

During the Class Period, the purchase model and profit-sharing model accounted collectively for

81.96% of the Company’s revenue and approximately 43.6% of the Company’s GMV.

           D.       Liquidity’s Business Divisions

                    1.      Retail Division

           45.      Liquidity’s retail division (sometimes referred to as its commercial division)

enables Fortune 500 retailers and manufacturers of consumer goods to sell their surplus and

salvage consumer goods through Liquidity’s auction websites. The retail division has three

components: a B2B marketplace; a B2C marketplace; and a direct-sales marketplace, where

Liquidity can sell products it purchases from its customers directly to consumers. The retail

division operates through several websites, including “Liquidation” (www.liquidation.com),

“Jacobs Trading” (www.jacobstrading.com), and “Secondipity” (www.secondipity.com).

           46.      The Liquidation marketplace, for example, enables corporations located in the

United States to sell surplus and salvage consumer goods for a set price to domestic and

international buyers. The Secondipity marketplace provides customers with consumer products,

such as electronics, cameras, and mobile phones.




8
    Liquidity accounts for distributions under “Costs and Expenses from Continuing Operations.”


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        47.     The Jacobs Trading marketplace sells customers’ bulk returns from well-known

retailers in the form of (1) general merchandise loads, or mixed, “as is” products that were

returned to a retail store from the consumer, and (2) single category “as-is” loads, which are sold

at closeout prices on buy-backs, over-stocks, shelf-pulls, excess inventories and damaged goods

purchased directly from retail vendors and manufacturers.

                2.      Capital Assets Division

        48.     Liquidity’s capital assets division sells large items such as material-handling

equipment, rolling stock (such as trucks or military tanks), heavy machinery, and scrap metal.

The capital assets division operates through several websites including “Network International”

(www.networkintl.com),       “GoIndustry   DoveBid”      (www.go-dove.com),      “Truck     Center”

(TruckCenter.com), and “Government Liquidation” (www.govliquidation.com).               Liquidity’s

capital assets sellers include commercial sellers and the U.S. Department of Defense (“DoD”).

Liquidity commonly refers to the “commercial” capital assets business to describe the non-DoD

portion of its capital assets business.

        49.     Network International is a global, online marketplace for energy sector clients

looking to sell idle, surplus, and scrap equipment in the oil and gas, petrochemical, and power

generation industries. The GoIndustry marketplace enables corporations in the manufacturing

sector located in the United States, Europe, and Asia to sell surplus and salvage capital assets to

domestic and international buyers. The Truck Center marketplace sells trucks and trailers though

live and online auctions. The Government Liquidation marketplace enables selected federal

government agencies to sell surplus and scrap assets.

        50.     Liquidity also sells surplus and scrap assets for the DoD as the exclusive

contractor for the Defense Logistics Agency (“DLA”) on its Government Liquidation website.

Surplus assets include computers, electronics, office supplies, equipment, aircraft parts, clothing,
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and textiles. Liquidity entered into a surplus contract with the DoD in December 2008 (the

“Surplus Contract”). The Surplus Contract had a 36-month term (through February 2012) with

two 12-month renewal options exercisable by the DoD. The DoD exercised both renewal

options, which expired in February 2014. Liquidity entered into a scrap contract with the DoD in

2005 (the “Scrap Contract”). The Scrap Contract expired in June 2012, but the DoD extended it

for two one-year terms, through June 2015. The DoD had the right to renew the Scrap Contract

for a third year as well. This contract covers assets including metals, alloys, and building

materials.

               3.       Public Sector/State and Municipal Government

       51.     Liquidity’s Public Sector division customers include state and municipal

governments.        The GovDeals (www.govdeals.com) marketplace enables local and state

government entities including city, county, and state agencies, as well as school boards and

public utilities located in the United States, to sell surplus and salvage assets to domestic and

international buyers.

       E.      Liquidity’s Attempt to Move Beyond DoD

       52.     Liquidity was incorporated in Delaware in November 1999 as Liquidation.com,

Inc. and commenced operations in early 2000.          During 2000, Liquidity began auctioning

merchandise primarily for small commercial sellers and government agencies. In June 2001,

Liquidity was awarded its first major DoD contract, the Surplus Contract.         In June 2005,

Liquidity was awarded an additional exclusive contract with the DLA Disposition Services to

manage and sell substantially all DoD scrap property, the Scrap Contract. Between 2001 and

2005, Liquidity was primarily a government contractor, and the majority of its revenue came

from its DoD contracts.



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           53.      Although Liquidity had successfully captured part of the DoD reverse supply

chain market, its hold on this market was tenuous. The DoD contracts were up for renewal in

2014 and were subject to a competitive bidding process, so there was no certainty they would be

renewed then or at the time of future bids. See Section VI.A.1, infra. Thus, Liquidity sought to

expand beyond the military space and into retail and commercial markets. In 2005, Liquidity

opened its first distribution center in Dallas, Texas, and began selling excess goods for top

commercial retailers. Between 2006 and the start of the Class Period, Liquidity grew its non-

DoD commercial capital assets business, while the DoD business correspondingly decreased as a

percentage of the Company’s revenue and GMV.

                    Percentage Breakdown of Revenues and GMV from 2006-2011

                                   2006         2007        2008       2009        2010      2011

                 DoD                83.1%       61.5%       62.4%      54.3%       54.9%     55.8%
                 Revenue

                 Non-DoD            16.9%       38.5%       37.6%      45.7%       45.1%     44.2%
                 Revenue9



                 DoD GMV            70.9%       52.3%       45.8%      36%         36.6%     33.9%

                 Non-DoD            29.1%       47.7%       54.2%      64%         63.4%     66.1%
                 GMV10



           54.      Liquidity’s plan to expand outside of the DoD space to increase its business was

initially successful, and its overall GMV grew at a compound annual growth rate (“CAGR”) of

approximately 31% between fiscal year 2006 and 2011. Even though Liquidity’s GMV for DoD

9
    Non-DoD Revenue includes retail/commercial, capital assets and public sector revenues.
10
     Non-DoD GMV includes retail/commercial, capital assets and public sector GMV.


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was declining as a percentage of the Company’s overall business, as described more fully below,

investors still considered DoD a key component of Liquidity’s financial health, and Defendants

reassured the market repeatedly about the renewal of its DoD relationships when they reached

the point of expiration. Other important metrics such as completed transactions, total registered

buyers and total auction participants also increased.

                                                                                Year ended September 30,
                                                      2006           2007         2008           2009          2010        2011

                                                                                  (dollars in thousands)

Supplemental Operating Data:

Gross merchandise volume from continuing
 operations                                       $ 173,090      $ 226,996      $ 347,583
                                                                                                $ 338,721     $ 416,314   $ 548,552
Completed transactions                                194,000        212,000         372,000       469,000      522,000     475,000
Total registered buyers                               524,000      685,000          999,000       1,202,000   1,403,000   1,604,000
Total auction participants                            993,000    1,115,000        1,751,000       2,118,000   2,247,000   1,936,000




           55.        Liquidity’s revenue and EBITDA also improved markedly throughout this period.

                                                                                Year ended September 30,

                                                      2006           2007            2008         2009         2010        2011

                                                                                  (dollars in thousands)

Consolidated Statement of Operations Data:

Total revenue                                     $ 147,813      $ 192,037       $ 251,851       $ 219,011    $ 273,015   $ 327,378




Non-GAAP Financial Measures:

EBITDA from continuing operations                 $     14,385   $     18,260    $     21,545    $ 19,163     $ 32,117    $ 43,022
Adjusted EBITDA from continuing operations              15,008         20,203          26,220        25,628      40,532      58,860




           56.        Leading up to the start of the Class Period in 2012, Liquidity was successful, but

it had barely scratched the surface of the global reverse supply chain market opportunity, which

was estimated to be between $100 and $150 billion of GMV. It also knew that the retail reverse


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supply chain market (estimated at $73 billion of GMV) was exponentially bigger and more

important than the capital assets reverse supply chain market (estimated at $20 billion of GMV)

and the state and local government markets (estimated at just $2 billion of GMV). Liquidity

also knew that capturing a bigger share of the fragmented retail market would require creating

more efficient liquidation and disposal methods and increasing access to supply, and that this

meant expanding its geographic reach and its client base through a series of acquisitions.

       57.     To this end, Liquidity expanded beyond the DoD space by acquiring various

companies prior to 2012, including GovDeals (completed on January 1, 2008), Network

International (completed on June 15, 2010), TruckCenter.com (completed on June 1, 2011), and

Jacobs Trading (completed on October 1, 2011). The acquisitions of competing entities in the

reverse auction marketplace were intended to expand the Company’s business into new markets

with new client bases.

VI.    SUMMARY OF THE FRAUD

       58.     As the renewal period for Liquidity’s lucrative DoD Surplus Contract loomed,

and in the face of growing competition in that marketplace, Defendants grew increasingly

concerned that it would not be renewed or extended. As CW 4 – Liquidity’s Director of Global

Compensation from March 2013 to November 2013 – explained, by mid-2013, Defendants were

“extremely concerned” that the DoD would not renew Liquidity’s contract and that Liquidity’s

primary competitors in the DoD space were poised to vie for it. By June 2013, the Company had

a strong inclination that the DoD contract would not be renewed. This was confirmed in August

2013, when the DoD informed Liquidity that it would issue a competitive RFP and that a

decision would be made in February 2014. As CW 4 explained, at that point Defendants were

hoping to hang on to at least a portion of the DoD contract.



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       59.     CW 7, Director of Business Development from March 2009 through October

2013, and Director of Global Sales from October 2013 through May 2014, noted that it was well

known internally that the government business was very significant to Liquidity and had a “large

impact” on its overall profitability. CW 7 further explained that the government business tended

to prop up many of the Company’s less profitable business units.

       60.     Given these concerns, both prior to and during the Class Period, the Company

sought to diversify away from its dependence on its DoD relationship by expanding into the

promising retail reverse supply chain market and, to a lesser extent, the capital assets market

through a series of acquisitions of competing businesses. But building a successful business

through disparate acquisitions was a tall order. Ensuring that the Company maintained strong

revenue and margins growth at the same time was tougher still. Yet, Defendants chose to paper

over these difficulties in public statements to analysts and investors by portraying Liquidity’s

revenue growth as robust, its margins as sustainable, and its ability to effectively integrate these

various new businesses as sure. Large numbers of former employees have painted an entirely

different contemporaneous picture.      They describe a company that bought bad businesses,

couldn’t integrate them, and whose margins were not sustainable. The statements of these

confidential witnesses stand in stark contrast to the Company’s otherwise upbeat

pronouncements. Had the information known by these confidential witnesses been disclosed to

the market as it should have been, investors’ shock at the end of the Class Period would have

been decidedly tempered.

       61.     Defendants’ false and misleading statements began on February 1, 2012, the start

of the Class Period. At this time, the Company portrayed itself as a major growth story built on

two key pillars: (1) “organic” growth through sustained margins and improvements in client



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penetration and services; and (2) “inorganic” growth through Liquidity’s acquisition strategy.

Analysts took note and began focusing on this theme of sustained margins and acquisition

growth as key components of the Company’s future plans. Three months later, the announced

acquisition of GoIndustry was heralded as a major development in the Company’s growth

strategy, particularly in the expansion of its client roster and its international reach. Thereafter,

and throughout the Class Period, Liquidity continued to tout its growth strategy, and analysts

who were primed by Defendants then repackaged those buoyant descriptions to the investment

community at large.

       62.     Throughout the Class Period, Defendants played a deceptive shell game with

investors by periodically acknowledging relatively meager hiccups in Liquidity’s growth story

and tempering projections for upcoming quarters. But slipping less enthusiastic statements into

the overall flood of misrepresentations hardly gave investors a true sense of how materially

different the Company’s public presentations were from Liquidity’s true financial state. Indeed,

this was underscored at the end of the Class Period, when investors were stunned at the news on

May 8, 2014, that Liquidity’s second quarter fiscal 2014 results revealed heavy, unforeseen

losses that forced the Company to drastically reduce its guidance for GMV, adjusted EBITDA,

and adjusted diluted EPS.      Liquidity suffered a 43% year-over-year decrease in adjusted

EBITDA, a 46% year-over-year decrease in Adjusted Diluted EPS, and a 12% year-over-year

decrease in the Company’s GMV. In response, Liquidity’s share price tumbled 30%.

       A.      Behind the Scenes, the Retail and Capital Assets Divisions Are Suffering

       63.     Unbeknownst to the market, during the Class Period, two of Liquidity’s major

divisions – the two the Company sought to migrate to so as to diminish its reliance on DoD




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contracts – were suffering from a slew of problems, which had a marked effect on Liquidity’s

profitability and growth potential.

               1.      Liquidity’s retail division was experiencing a reduction in organic
                       growth and shrinking margins due to increased competition

       64.     Throughout the Class Period, Defendants repeatedly represented to investors that

there was strong momentum in the drivers of organic growth, and that “broad-based organic

growth” was translating into an expansion of Liquidity’s market share in the retail, capital assets,

and public sector markets. Yet, at the same time, Liquidity’s retail supply chain business

endured substantial troubles, with margins and revenues dwindling.           Although Defendants

periodically disclosed the fact that, over time, they expected margin growth to slow, they did not

fully disclose the extent of, or reasons for, these challenges. In particular, Defendants were not

forthcoming about the fact that Liquidity faced increased competition that led it to accept a

number of new and renegotiated contracts at ever-shrinking margins, and that it was unable to

build off of synergies in its retail supply chain acquisitions. Thus, even as the Company

expanded its client base, it did so at the expense of improved profitability, and organic growth

regressed throughout the Class Period. At the same time, Defendants knew or were reckless in

not knowing, and failed to disclose, that the retail supply chain group was playing fast and loose

with its sales numbers to keep up outward appearances, all while revenues and margins slipped

throughout 2013 and 2014. Finally, Defendants failed to adequately inform investors of the

extent to which the Company was at the mercy of mix changes in the retail supply chain.

       65.     Confidential witnesses explain how organic growth was slowing and that this was

obvious well before Defendants went public with such negative trends. For example, CW 4, a

former Director of Global Compensation who was employed by Liquidity from March 2013

through November 2013, characterized the retail business as a “mess,” and that it was “tanking”


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and “sinking fast.” According to him, revenue was only coming in from existing contracts, as

Liquidity was unable to secure new contracts. CW 7, a former Director of Global Sales who was

employed in Liquidity’s retail division from 2009 through May 2014, observed that even the

addition of new business did not translate into profitability for the business segment, as the

Company had to purchase the retail products it would sell and then warehouse them at its own

cost.

        66.    CW 8, a former Senior Corporate Recruiter whose December 2011 through June

2014 tenure encompassed the entire Class Period, expressed a “gut feeling” that during his

employment, Defendants were misinforming the public as to the trends in the business and the

financials. By 2014, CW 8, his direct supervisor, Senior Director of Human Resources Novelette

Murray, and Murray’s direct supervisor, Vice President of Human Resources Mike Lutz – who

reported directly to CEO Defendant Angrick – would emerge from quarterly meetings and

discuss their shared view that Liquidity’s prospects were not as strong as what was being

publicly portrayed.

        67.    Likewise, a host of former employees who, due to their positions and tenures, had

access to internal information, stated that Defendants were not forthcoming with investors about

how increasing competition was causing the Company’s margins to shrink. For example, CW 1,

a former Business Analyst and Contact Center Manager from October 2010 through November

2013, managed portions of the Company’s Ebay stores and Liquidation.com, and thus had

visibility into both the Company’s B2B and B2C divisions. He observed that as the market grew

increasingly crowded, Liquidity was forced to renegotiate contracts at a much lower level of

profitability – sometimes to the point where the Company was merely breaking even, sometimes

to the point where the Company was losing money – just to keep contracts away from



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competitors. According to CW 1, GMV and margins trended downwards during his three-year

tenure due to “newer players on the block,” and margins were “a lot less than expected” when

competition forced Liquidity to renegotiate with big-box stores. Specifically, CW 1 recalled

losing a contract with a large overstock company to a competitor in or around October-

November 2012. He believed at the time that such a loss was “really going to hurt us,” which

ended up being the case: soon afterwards, 10% of his workforce at the Contact Center was

terminated as a direct consequence of the lost business.

       68.     Although as far back as 2012 Defendants mentioned that margins could impact

Liquidity’s balance sheet in the near term, these were belated and soft-pedaled general references

that hardly revealed the truth regarding the known impact of competition on margins and

profitability. CW 7, a former Director of Global Sales who was with the Company for a five-

year period encompassing 2009 through the end of the Class Period, observed that the market

became more sophisticated with an influx of competition, which translated into more pressure for

Liquidity to price its services so as to win business, retain business, and ultimately become

profitable. CW 7 noted that competitors were vying for the same business as Liquidity, and thus

the Company was forced to accept lower margins, which negatively impacted profitability.

       69.     CW 2, a Senior Sales Executive whose seven-year tenure spanned August 2007

through October 2014, first noticed a decline in margins in his B2B group as early as March

2011. Margins declined in 2011, according to CW 2, then experienced a period of flatness.

They declined again during 2012 and 2013, and then were flat in 2014.

       70.     CW 3, a Channel Optimization Specialist in Liquidity’s DC headquarters from

February 2008 through November 2012, corroborated these facts. CW 3 worked with clients in

Global Accounts (large retailers and big-box stores), such as Target and Wal-Mart. He noted



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that sales margins in the electronics vertical for Global Accounts clients were “definitely”

trending downward throughout 2012. CW 3 recalled, for instance, that in his electronics vertical,

televisions were often sold at a loss during 2012.      CW 1 stated that sometimes bids for

merchandise were kept so low that Liquidity would lose money, but that the low bids were done

to keep customers.

       71.     No less an authority than CW 9, who was Vice President of Business

Development and a six-and-a-half-year veteran of the retail division (November 2007 through

April 2014), stated that “margins [were] tighter” during the Class Period and were nowhere near

as aggressive as on the government side of the business. According to CW 9, Defendants

believed that the acquisition of Jacobs Trading in October 2011 would enhance Liquidity’s

margins since that entity had historically earned high margins. That, however, was not the case.

       72.     Indeed, many of the contracts that the Company was securing during that time

frame were low margin. According to CW 9, Liquidity got a large, long-term contract with

Acer. Acer set the bar for sales “precedents” for subsequent years, but margins on that account

were “fixed” in the low teens, and thus they had to rely on volume instead of margins to make

money off this account. Similarly, CW 10, an Inventory Control Quality Assurance Analyst at

the Liquidation.com subsidiary from January 2013 through April 2014, stated that while the

Company renegotiated a contract with Amazon.com in approximately April 2013, the new terms

were not favorable. Margins were so low on that renegotiated contract that it was not even

profitable enough to support labor costs.

       73.     CW 2 explained that the quantity of transactions within his B2B group did not

decline during his seven-year employment with the Company, but margins did decline. By way




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of example, he noted that items that used to sell for $500 were selling for $200 during the last

few years of his tenure.

               2.      Liquidity’s retail division suffered from inflated sales reporting

       74.     Former employees also tell of certain practices – fostered and/or encouraged by

management – that had the effect of artificially inflating the retail division’s sales. According to

CW 4, the retail segment (increasingly critical to the Company) was the hardest segment from

which to obtain accurate sales figures, and the Retail Supply Chain Group’s sales numbers were

often incorrect during his tenure. In CW 4’s view, the retail segment was a mess because of

Cayce Roy, Vice President of Retail Supply Chain Group, who was manipulating the sales

figures to benefit his group and thereby maximize compensation and bonuses for his team. CW

4 believed that the sales numbers for the retail segment in 2013 were inflated by at least 10% and

did not support the commissions being paid to sales representatives. He observed that more

money was being paid out in compensation and bonuses to Cayce Roy’s group than was being

brought in. As CW 4 succinctly put it, these were “not healthy numbers.”

       75.     According to CW 4, the Retail Segment was “doing a lot of data massaging with

credits and other things to inflate the numbers.” When looking further into these issues, Mike

Lutz, Vice President of Human Resources, informed him that Defendant Angrick did not want

CW 4 “rattling Cayce [Roy]’s chain” and to leave the retail sales figures alone. According to

CW 4, “I was actually told to back off from getting their numbers as per Bill [Angrick].”

(Emphasis added.) This demonstrates that at the highest levels of management, the Company

was condoning the proliferation of inaccurate sales data.

       76.     CW 1 believed the problem was more widespread than the retail division.

According to him, Liquidity had a Company-wide “culture” of overstating sales goals. He

observed sales targets for his area growing increasingly more unrealistic through 2013. The
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divisions in which CW 1 worked – he managed online stores in B2B and B2C – got

progressively worse throughout 2013 in terms of missing sales goals. According to CW 1,

following quarterly telephonic meetings chaired by Defendants Angrick and Rallo, during which

the sales targets for each division were announced, CW 1’s colleagues in other divisions

privately complained that the sales goals were unrealistic, that they had been missing them, and

that there was “no way” they were going to meet the new goals. CW 1’s direct supervisor, Mary

Hageny, Director of Customer Support and Major Account Sales, used to state during team

meetings that sales goals handed down by management were unattainable.

       77.     Ultimately, throughout the Class Period, management’s unrealistic sales targets

informed the Company’s projections, both in terms of GMV and earnings, and unreasonably

raised market expectations in a form of shell game. Even when Defendants tempered those

projections, they did not do so sufficiently, and instead, kept from investors the dire state of

Liquidity’s sales and thus its ability to reach the forecasted levels of performance.

               3.      A number of Liquidity’s capital assets businesses suffered from
                       serious undisclosed problems, including integration challenges and
                       sales issues

       78.     Like its retail businesses, Liquidity’s capital assets businesses encountered

numerous difficulties throughout the Class Period that belied Defendants’ rosy statements. For

instance, Defendants missed no opportunity to tout the Company’s 2012 acquisition of

GoIndustry. Defendants represented that the acquisition “[e]xpands size and depth of buyer

base, client roster, sales team, and marketing capabilities,” with “[c]omplementary technology to

expand services for clients and buyers.”       Defendants also told the market that GoIndustry

“significantly expands Liquidity Services’ geographic footprint: adds critical mass in Europe

and Asia.” (Emphasis added.) As to GoIndustry’s clients, Defendants stated that “[t]hese blue

chip corporate clients are already being integrated into our commercial business.” (Emphasis
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added.) Similarly, “we give high marks to GoIndustry's organization for penetrating these

clients, not just in the corporate headquarters suite but throughout their supply chain in multiple

continents ….” (Emphasis added.) In truth, GoIndustry hardly lived up to the expectations

fostered by Defendants.

       79.     CW 6, who joined Liquidity in 2001 as a Senior Director of Human Resources,

and who remained with the Company until October 2013, explained that Liquidity’s purchase of

GoIndustry, as part of its growth-through-acquisition strategy, surprised many people at

Liquidity, noting: “I had the historical background to know that GoIndustry DoveBid was not a

money maker.” CW 6 followed competition in the industry from the time he began working at

Government Liquidation in 1998. Indeed, as CW 5 – who worked at GoIndustry as a Private

Treaty Sales Specialist from June 2011 until it was acquired in 2012, when he joined Liquidity as

a Senior Account Manager (and served in that position until July 2014) – explained, leading up

to the acquisition, GoIndustry was about $3 million in debt (a fact he learned from Randy Small,

then GoIndustry’s Vice President of Assets Sales and Services) and about to “shut their doors.”

CW 5 noted that GoIndustry’s problems were company-wide, and described it as a “mess.” He

understood these problems to stem, at least in part, from GoIndustry’s practice of overpromising

its clients – i.e., promising to obtain a certain price for its clients’ products, but having to sell

them for substantially less than the promised price – leading to missed expected revenue targets.

       80.     Further, although Defendants touted GoIndustry as an acquisition that had a

“global presence,” with “36 offices across 20 countries,” and which “significantly expands

Liquidity Services’ geographic footprint: adds critical mass in Europe and Asia,” according to

CW 4, Defendants quickly realized that GoIndustry’s European division was not as strong as

Liquidity originally believed. CW 4, who worked at Liquidity from March 2013 to November



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2013, explained that GoIndustry’s compensation model differed drastically from Liquidity’s,

with GoIndustry sales reps receiving both commissions and high base salaries. This disparity

was especially problematic in GoIndustry’s European division, where, as CW 4 explained, the

business was not doing well, meaning that “no one was selling and they were all getting big

salaries.” And although Liquidity attempted a massive reorganization of GoIndustry’s European

business in 2013, it did not help matters. According to CW 4, three of the top sales reps in the

European division left GoIndustry following the acquisition, taking their accounts to competing

companies, including a “million dollar” energy account in Germany that was responsible for

selling “major assets.” As CW 4 summed up his experience with the GoIndustry acquisition,

“GoIndustry really hurt the Company.”

        81.     Facing these troubles, Defendants made a number of disclosures during the Class

Period that were calculated to give the appearance that any difficulty integrating GoIndustry

would be short-lived. For example, during the Company’s November 29, 2012 earnings call,

Defendant Angrick stated that “we expect the integration of GoIndustry will require significant

upfront investments . . ., which will result in a drag on earnings in the first half of fiscal ’13 . . .

.” During the same call, Defendant Rallo noted that GoIndustry “has not been run historically

with common systems and common processes, which is a departure from the normal Liquidity

Services philosophy,” concluding that the Company’s approach to dealing with GoIndustry

represented “an opportunity to change those things more quickly and more dramatically than we

had originally thought.” But these statements dealt with logistical issues, and largely concerned

issues integrating the two businesses’ different computer systems. CW 11, a Senior Manager of

Sales and Marketing Platforms at Liquidity from July 2011 to March 2014, recalled that it was a

tough go integrating GoIndustry’s platforms into Liquidity’s, and that it took approximately six



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months for that aspect of integration to be complete – which was longer and more costly than

expected.

       82.     Defendants meanwhile concealed the fact that GoIndustry’s European business –

one of the main reasons for the acquisition in the first place – remained, and would remain, the

subject of a major reorganization effort and would not benefit the Company for some time, if at

all. CW 11 was keenly aware of GoIndustry’s financial weakness. CW 11 had access to

GoIndustry’s sales figures while integrating their system into Liquidity’s, and thus knew that

GoIndustry was not turning a profit when acquired or when CW 11 left the Company in March

2014. As CW 4 noted, the reorganization efforts regarding GoIndustry’s European business

were underway in 2013 and continue to this day. And although Liquidity was able to make

progress in improving GoIndustry’s domestic business, the European business was not

performing well when he left in November 2013, and neither the domestic nor the European

sides of GoIndustry were profitable. CW 5 confirmed that a major impediment following the

acquisition by Liquidity was a lack of training, and that GoIndustry did not improve before his

tenure ended in July 2014. In fact, because of this a number of his GoIndustry colleagues left the

Company.

       83.     In contrast, Defendants said relatively little about Network International, the

Company’s energy-vertical capital assets business, before revealing disastrous financial results

attributable, in part, to “unusual softness in our energy vertical due to an industry wide decline in

line pipe and related equipment.” As a number of confidential witnesses reported, however,

Defendants knew or were reckless in not knowing of such weaknesses months beforehand. CW

12, who worked at Network International from 2006 until it was acquired by Liquidity in 2010,

and then worked at Liquidity as a Project Manager in Asset Management and part of the



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leadership team at Network International until April 2014, spoke to the importance of Network

International to Liquidity’s bottom line. CW 12 noted that although Network International is a

small business segment, it was a key part of Liquidity’s business because it was historically the

“most profitable” business segment. CW 12 further noted that, among the products Network

International handled, line pipe was its “bread and butter,” traditionally contributing between

65% and 70% of Network International’s overall profits.

       84.    As CW 13 explained, it became clear long before Defendants’ May 2014

disclosure that the energy vertical had challenges. CW 13, who served variously as an Account

Manager and Marketing Developer at Network International between November 2011 and

August 2013, noted that at the end of his tenure, Brooks Graul, Network International’s Director

of Pipe Sales, conducted a market analysis showing that the business was heading into a period

of flatness and growth stagnation (at around 1-2%) with “not a lot of growth opportunities.” CW

12 confirmed the existence and accuracy of these projections, noting that Network International

began to see softer numbers for pipe sales around September or October of 2013, and that the

business was not meeting internal projections at that time. CW 12 further explained that the

decline in the line pipe business was “absolutely” a huge hit for Network International and

Liquidity.

       85.    At the same time, according to former Liquidity employees, Network

International’s business began to suffer as a result of Defendants’ poorly executed plan to

incorporate each of Liquidity’s business units under a single brand and to streamline their

operations. As CW 12 explained, for roughly two-and-a-half years after Liquidity acquired

Network International, it “stayed out of our business”; around November 2013, however,

Liquidity’s senior management got significantly more involved in the day-to-day business. CW



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12 stated that this occurred around the time that Tom Burton (who reported directly to Defendant

Angrick) took over the Capital Asset group, resulting in a shift in who was supervising the

Network International business segment and the direction it was taking. In that regard, CW 12

noted a number of staffing changes at Network International, as well as Liquidity’s takeover of

Network International’s existing marketing department in late 2013 as part of a Company-wide

initiative to “umbrella” marketing throughout all of the Company’s divisions.

       86.     CW 14 – who worked at Network International from 2005 through March 2014 –

corroborated CW 12’s account. In his role as a Marketing Communications Specialist, CW 14

became involved with customer support and inside sales marketing with customers, especially

towards the end of his tenure, when Liquidity senior management began taking an increasingly

active role in Network International’s operations. Like other Network International Employees,

CW 14 noted a lot of change at the business beginning in late 2013 and early 2014. For instance,

CW 14 noted that Liquidity management consolidated the individual websites of its businesses

so that each required a “unified log-in” that allowed customers to bid on products across the

various business units at Liquidity. Although this unified log-in may have made practical sense,

the change directly and negatively affected Network International’s customer base, which CW

14 described as tending to be older and less computer savvy. This poorly thought-out strategy

alienated many of Network International’s customers, who CW 14 witnessed getting discouraged

and simply “giving up” after encountering difficulty logging into the website – a situation he

described as “chaos” and not well thought out.

       87.     CW 14 also criticized Liquidity’s decision to consolidate the Company’s call

centers, moving Network International’s call center to Scottsdale, where the call center personnel

were unfamiliar with Network International’s niche customers and products. This had a negative



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impact on Network International’s customer base. CW 14 commented that Liquidity failed to

consider Network International’s customers when they decided to “roll out all these glamorous

changes,” and, as a result of Liquidity’s poorly executed strategy, Network International was

disorganized and in complete disarray during the year leading up to his departure in March 2014.

       88.    CW 15, a Senior Inside Sales Representative at Network International from

October 2013 through April 2014, likewise reported a “big slowdown” in that entity’s business

based on comments by his supervisor, Brooks Graul, Director of Pipe Sales. CW 15 recalled

Graul stating numerous times – starting at the beginning of CW 15’s tenure – that Network

International was not making as much in the auctions as it had been.

       89.    Although the Company issued a number of general statements throughout the

Class Period concerning macroeconomic volatility that “might” impact Network International’s

business – for example, a statement in Liquidity’s November 29, 2012 earnings release noting

“the volatility in the macro environment and its potential impact on the retail and industrial

supply chains and GDP growth” – Defendants utterly failed to adequately warn the market about

the actual and specific negative developments in the energy vertical known to them following the

August 2013 discovery of macroeconomic weaknesses in that sector. Not only did the Company

fail to disclose any such macroeconomic problems until nearly a year later but, as former

Liquidity employees explained, Liquidity senior management’s ill-conceived interference with

Network International’s business compounded the problem by alienating its niche customer base.

       90.    In another example of the Company’s inability to achieve coordination among its

acquired entities, according to CW 16, a former Director of Technical Program Management in

Liquidity’s Program Management Office, his efforts to create a one-stop shopping website for

the products and services of the Company and all of its acquisitions were not successful. In his



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view, Liquidity’s acquisitions were slow and hesitant to provide the information needed to create

the portal. The website project was not launched by the time CW 16’s tenure ended in May

2014, and he does not believe it is currently up and running.

       B.      Liquidity Finally Admits that its Growth Is Compromised and Reduces 2014
               Guidance

       91.     Despite the information identified by the various confidential witnesses above,

Liquidity continued to tout the strength of its commercial and capital assets divisions until May

8, 2014. On that date, Liquidity announced that it would substantially revise its forecast for the

full fiscal year 2014. The Company reduced its GMV forecast for fiscal year 2014 to a range of

$930-$975 million, down from its previous guidance of $1.0-$1.075 billion. Liquidity reduced

expected adjusted EBITDA for fiscal year 2014 to a range of $70-$80 million, down from its

previous guidance of $100-$108 million. Adjusted diluted EPS was revised for fiscal year 2014

to range from $1.10-$1.27, from its previous guidance of $1.60-$1.76.

       92.     Angrick explained that “our Adjusted EBITDA and Adjusted EPS were lower

than expected due to mix changes in our DoD surplus and retail businesses and delayed capital

asset projects in both the U.S. and Europe. We also experienced unusual softness in our energy

vertical due to an industry wide decline in line pipe and related equipment.” Thus, the market

finally learned the full truth – that the retail and capital assets segments were not performing as

strongly as previously touted, and that Liquidity’s growth could not be sustained.

       93.     On this news, Liquidity’s stock price plummeted 29.6%, to close at $12.17 per

share on May 8, 2014, down from a closing price of $17.31 per share on May 7, 2014.

       94.     Not only were Defendants aware of the information identified above by various

confidential witnesses, but Defendant Angrick deliberately profited by its nondisclosure. During

the Class Period, he sold an atypical amount of stock – 1,642,979 shares, approximately 25% of


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his holdings – and reaped enormous proceeds of $68.2 million. These sales were clustered

around periods directly preceding announcements that, while by no means revealing the whole

truth of what was occurring within the Company, had the effect of depressing the stock price.

       95.     The massive hits to the Company’s adjusted EBITDA and adjusted EPS belatedly

revealed on May 8, 2014 reflect a company that could no longer kick the can down the road.

The disclosures on May 8, 2014 acknowledge that Defendants’ efforts over several quarters to

conceal the significant difficulties Liquidity was experiencing in its retail and capital assets

businesses, including the impairment of its margins, could not be maintained and that they

would, and did, directly impact Liquidity’s significant decline in adjusted EBITDA and adjusted

EPS.   Defendants sought to conceal these difficulties by, inter alia: (i) downplaying the

increasing level of competition that was negatively impacting margins and organic growth in the

retail vertical; (ii) concealing GoIndustry’s poor historical performance leading up to the

acquisition, as well as the continued failure of that business, particularly its important European

business, thereafter; and (iii) hiding from investors clear evidence of weakness in Network

International’s business, which stemmed from both macroeconomic forces and the failures of

Defendants’ own intervention in that business.

       96.     First, a number of former employees have attested to the fact that Defendants

could not live up to the growth story they publicly portrayed, as increased competition in the

market throughout the Class Period was having a devastating impact on margins. For instance,

as noted by CW 1, GMV and margins trended downwards during his three-year tenure due to

“newer players on the block,” and margins were “a lot less than expected” when competition

forced Liquidity to renegotiate contracts with big-box stores. Likewise, CW 9 stated that

“margins [were] tighter” during the Class Period and were nowhere near as aggressive as on the



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government side of the business. Any increase in clients the Company may have enjoyed

provided little help as, ultimately, the reduced margins Liquidity had to accept outpaced client

growth. The precipitous plummeting of earnings reflects that Defendants simply could not hide

from this any longer. And the correspondingly calamitous drop in the stock evidences the fact

that Defendants did not adequately warn the market of Liquidity’s exposure to fluctuations in the

retail mix.

        97.   Second, numerous former employees also attested to the impact of difficulties in

the capital assets business, including the integration of the GoIndustry acquisition, on the

Company’s earnings. CW 6, for example, noted that “GoIndustry DoveBid was not a money

maker” and, CW 4 explained that, in the wake of the acquisition, GoIndustry’s European

business suffered throughout the Class Period, as “no one was selling and they were all getting

big salaries.” Yet Defendants downplayed the chaos at GoIndustry, chalking up difficulties to

logistical issues. Again, by 2Q 2014, Defendants had reached the point where they could no

longer bury the adverse impact that the GoIndustry inefficiencies were having on growth and

earnings.

        98.   Third, notwithstanding Defendants’ failure to disclose weak sales of line pipe –

Network International’s “bread and butter” – in Liquidity’s energy vertical until May 2014,

numerous confidential witnesses (CWs 12, 13, and 15, for example), have documented that

Network International was aware of such macro trends as early as August 2013, and, in fact,

began to encounter weak sales as early as September/October of that year. Moreover, CW 14

described several internal changes at Network International – all imposed by Liquidity corporate

– that alienated Network International’s customers and disrupted its business.       These facts




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wholly undermined the Company’s claim that “softness” in the energy vertical had taken it by

surprise in 2Q 2014.

VII.   DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

       A.      February 1, 2012 Press Release

       99.     The Class Period begins on February 1, 2012, when Liquidity issued a press

release announcing its financial results for the first quarter of fiscal year 2012. For the quarter,

Liquidity reported record revenue of $106 million, an increase of approximately 35% from the

prior year period. Adjusted EBITDA was a record $22.7 million, an increase of approximately

105% from the prior year period, and total GMV was also a record $179.2 million, an increase of

approximately 41% from the prior year period.           Adjusted net income for the quarter was

$11.9 million, or $0.37 diluted earnings per share.

       100.    In connection with these results, Defendant Angrick issued the following

statement:

       Record GMV results were driven by growth in the volume of capital assets sales
       across our commercial and government clients and benefited from improved
       merchandising, penetration of existing clients and expanding market share . . .
       Our progress has generated strong financial results for our shareholders,
       exemplified by our adjusted EBITDA of $64.3 million and operating cash flow of
       $44.0 million over the last 12 months. By continuing to invest in growing our e-
       commerce business we intend to capture a significant share of large, highly
       fragmented markets, both in the commercial and public sector, while having a
       positive impact on our clients’ financial and environmental sustainability
       initiatives. (Emphasis added.)

       101.    The Company also provided updated guidance for fiscal year 2012 and for the

second quarter of fiscal year 2012, which included upward revisions in many of its key metrics.

Liquidity forecasted that GMV for fiscal year 2012 would now range from $700 million to

$740 million, an increase over the previous guidance of $690 million to $730 million, and GMV

for the second quarter would range from $165 million to $175 million. The Company increased


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its adjusted EBITDA forecast for fiscal year 2012 to a range of $83 million to $87 million, up

from previous guidance of $78 million to $82 million, with adjusted EBITDA for the second

quarter ranging from $18.5 million to $20.5 million.        Lastly, Liquidity upped its adjusted

earnings per diluted share forecast for fiscal year 2012 to a range of $1.32 to $1.38, an increase

over the previous guidance of $1.26 to $1.32, with adjusted EPS for the second quarter expected

to range from $0.28 to $0.32.

       102.     The 1Q12 press release also included the following outlook:

       Business Outlook

       While economic conditions have improved, our overall outlook remains cautious
       due to the volatility in the macro environment and its potential impact on the retail
       supply chain and GDP growth. Additionally, during fiscal year 2012 we expect to
       fund major upgrades in our technology infrastructure to support further
       integration of our existing businesses and online marketplaces, including the
       integration of Truckcenter.com and Jacobs Trading. In the longer term, we expect
       our business to continue to benefit from the following trends: (i) as consumers
       trade down and seek greater value, we anticipate stronger buyer demand for the
       surplus merchandise sold in our marketplaces, (ii) as corporations and public
       sector agencies focus on reducing costs, improving transparency and working
       capital flows by outsourcing reverse supply chain activities, we expect our seller
       base to increase, and (iii) as corporations and public sector agencies increasingly
       prefer service providers with a proven track record, innovative technology
       solutions and demonstrated financial strength, we expect our seller base to
       increase. As we improve operating efficiencies and service levels, we expect our
       competitive position to strengthen. (Emphasis added.)

       103.     On February 8, 2012, the Company filed its Form 10-Q with the SEC containing

its full first-quarter financial results, including those which appeared in the February 1 press

release.

       104.     In the February 1, 2012 press release, Liquidity reported record revenue, adjusted

EBITDA, and GMV, and upward revisions in many of its key metrics, including GMV, adjusted

EBITDA, and adjusted diluted EPS. It claimed these results were “driven by growth in the

volume of capital assets sales across our commercial and government clients,” as well as

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“improved merchandising, penetration of existing clients and expanding market share.” The

“Business Outlook” section represented the anticipated strengthening of buyer demand, an

increased seller base, and the strengthening of the Company’s competitive position.         These

financial results and guidance, and positive statements of success and growth, among other

statements, were materially false and misleading. As discussed more fully at ¶¶ 64-73, supra,

various confidential witnesses have detailed how Defendants not only had no reasonable basis to

make the aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was

facing heightened competition that was negatively impacting margins on new and renegotiated

commercial contracts; (ii) the Company was unable to capitalize on synergies with its retail

supply chain acquisitions, such as Jacobs Trading, and therefore could not capture the margins

and market expansion it had expected; and (iii) the Company’s exposure to mix changes in the

retail supply chain was more significant than the market was led to believe.

       B.      February 1, 2012 – 1Q12 Earnings Call

       105.    Also on February 1, 2012, the Company held a conference call with analysts.

During that call, Defendant Angrick stated as follows:

       During Q1, Liquidity Services reported strong financial results, as we expanded
       our leadership position in the reverse supply chain market by delivering
       significant value to our clients and buying customers.
                                                 *
       Second, we have a talented organization, and our team is engaged in a
       continuous improvement process that adds both organic and inorganic growth to
       our business. Our organic growth comes principally from using data and
       expertise to enhance the value of the assets we sell, penetrating existing
       client relationships, and adding new sellers to our platform. Our business has
       strong momentum in all three of these organic growth areas. We are increasing
       the demand side of our marketplace to drive higher returns on the assets we
       sell. We are expanding our existing relationships by improving our clients’
       management of surplus assets, including the full range of returns, seasonal and
       overstock consumer goods, and high-value capital equipment for the world’s
       leading corporations. In turn, we are increasingly becoming a critical tool to
       enable our clients to reduce waste and improve organizational compliance with
       sustainability goals. Our success has not gone unnoticed and we continue to add
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new Fortune 500 clients, including retailers, manufacturers and industrial
corporations who desire to leverage our growing platform to stay competitive and
reduce their total supply chain costs.

We also continue to grow our business inorganically through acquisitions and
partnerships. For example, our recent acquisition of Jacobs Trading has
further enhanced our position as the leading reverse supply chain solution for
large retailers and their suppliers. We are pleased to report that our integration
of Jacobs Trading is proceeding as planned, with our teams working well
together to maintain highest service levels while identifying numerous exciting
opportunities to create value for our buyers and clients. The markets we serve
are still very fragmented and we continue to seek and evaluate strategic
acquisitions     which      would     enhance     our     seller    and      buyer
base, product domain expertise and level of value-added services provided to
our clients. (Emphasis added.)

106.   Also on this call, Defendant Rallo stated that:

Our strong results for the quarter were driven by record volumes in both our
commercial capital assets and retail supply chain verticals.

                                         *

As far as the full-year margins go, Ross, again, from my comments earlier, I think
we expect to be around 12% for the year. I didn't check your math on the 11.8%,
but certainly that is around 12%. We had a couple of nice things happen this
quarter that drove margins a little higher, both in the retail side of our business
and commercial capital assets. So, from our full-year guidance, we would
expect to continue to have stronger margins. (Emphasis added.)

107.   Defendant Angrick further stated on the February 1 earnings call:

Well, let me first say, Colin, the strategic plan we have is sound. We’re very
encouraged by the increasing interest in using our platform and service offering to
manage the full range of returned and, in some cases, more industrial equipment. I
think as we moved through the holiday season, it was reported on and we
experienced a change in behavior by many of the large players in the retail
industry. In years past we saw a heavy amount of in-store discounting. In this
past season, I think many retailers were very protective of that margin, in-store
margin and moved volumes out of the store earlier. That helped improve volume
in our business. So, hard to speculate if that’s a structural change, but I can say
that we observed that in many of our existing programs in 2011 in the December
quarter. But I think, overall, we are very optimistic about the progress we’re
making, particularly with the organic growth in our retail supply chain
business. (Emphasis added.)



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        108.   On this news, the Company’s stock rose nearly $5 per share, from a pre-

announcement close of $34.51 per share on January 31, 2012, to close at $39.36 on February 2,

2012.

        109.   Defendants Angrick’s and Rallo’s statements concerning the Company’s strong

results and Liquidity’s ability to sustain organic growth in its retail and capital assets divisions,

including growth in margins, and to capitalize on inorganic opportunities presented through its

acquisitions were materially false and misleading because, as discussed more fully at ¶¶ 64-73,

supra, various confidential witnesses have detailed how Defendants not only had no reasonable

basis to make the aforementioned representations but also failed to disclose that, inter alia:

(i) Liquidity was facing heightened competition that was negatively impacting margins on new

and renegotiated commercial contracts; (ii) the Company was unable to capitalize on synergies

with its retail supply chain acquisitions, such as Jacobs Trading, and therefore could not capture

the margins and market expansion it had expected; and (iii) the Company’s exposure to mix

changes in the retail supply chain was more significant than the market was led to believe.

        C.     May 3, 2012 Press Release

        110.   On May 3, 2012, Liquidity issued a press release announcing its financial results

for the second quarter of fiscal year 2012. For the quarter, Liquidity reported record revenue of

$125.7 million, an increase of approximately 41% from the prior year period. Adjusted EBITDA

for the quarter was a record $30.9 million, an increase of approximately 120% from the prior

year period.     The Company reported record GMV of $218.4 million, which was up

approximately 59% from the prior year period. Liquidity also achieved record adjusted diluted

EPS of $0.52, which was a 136% increase from the prior year period.




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       111.   In connection with this announcement, Defendant Angrick made the following

statement:

       LSI reported record results for GMV, Adjusted EBITDA and Adjusted EPS in
       Q2-12 all of which exceeded our guidance range. Record GMV results were
       primarily driven by growth in the volume of goods sold in our retail supply
       chain and municipal government marketplaces by existing and new clients.
       Our team did an excellent job handling the increased volumes while maintaining a
       high level of service and quality to our clients and buying customers. . . . Our
       progress has generated strong financial results for our shareholders, exemplified
       by our adjusted EBITDA of $81.2 million and operating cash flow of
       $62.2 million over the last 12 months. By continuing to invest in growing our e-
       commerce business we intend to capture a significant share of large, highly
       fragmented markets, both in the commercial and public sector, while having a
       positive impact on our clients financial and environmental sustainability
       initiatives. (Emphasis added.)

       112.   Additionally, the Company provided updated guidance. Liquidity expected GMV

for fiscal year 2012 to range from $760 million to $800 million, an increase from the previous

guidance range of $700 million to $740 million. For the third fiscal quarter, Liquidity expected

GMV to range from $205 million to $215 million. The Company also forecasted that adjusted

EBITDA for fiscal year 2012 would range from $96 million to $100 million, a significant

increase over its previous guidance of $83 million to $87 million. For the third quarter, the

Company expected adjusted EBITDA to range from $26 million to $28 million. Liquidity

projected that adjusted diluted EPS for fiscal 2012 would range from $1.64 to $1.70 per share, an

increase over the previous guidance range of $1.32 to $1.38 per share. In the third quarter, the

Company forecasted that adjusted diluted EPS would be $0.43 to $0.46.

       113.   The May 3, 2012 press release also provided information on the Company’s

business outlook:

       In the longer term, we expect our business to continue to benefit from the
       following trends: (i) as consumers trade down and seek greater value, we
       anticipate stronger buyer demand for the surplus merchandise sold in our
       marketplaces, (ii) as corporations and public sector agencies focus on reducing

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       costs, improving transparency and working capital flows by outsourcing reverse
       supply chain activities, we expect our seller base to increase, and (iii) as
       corporations and public sector agencies increasingly prefer service providers with
       a proven track record, innovative technology solutions and demonstrated financial
       strength, we expect our seller base to increase. We continue to implement the
       Jacobs Trading acquisition according to our original plan. The network effect
       of the integration is creating efficiencies for our selling and buying customers.
       These efficiencies continue to bring new sellers into our marketplace and have
       enabled us to increase our operating performance creating margin
       improvements as we scale our commercial business. As we improve operating
       efficiencies and service levels, we expect our competitive position to strengthen.
       (Emphasis added.)

       114.   On May 4, 2012, the Company filed its Form 10-Q containing its second quarter

2012 financial results with the SEC.

       115.   In the May 3, 2012 press release, Liquidity reported record revenue, adjusted

EBITDA, GMV, and adjusted diluted EPS, and upward revisions in many of its key metrics,

including GMV, adjusted EBITDA, and adjusted diluted EPS. It claimed these results were

“driven by growth in the volume of goods sold in our retail supply chain and municipal

government marketplaces by existing and new clients” and noted that the integration of the

Jacobs Trading acquisition was “creating efficiencies for our selling and buying customers.

These efficiencies continue to bring new sellers into our marketplace and have enabled us to

increase our operating performance creating margin improvements as we scale our commercial

business.” These statements and others were materially false and misleading. As discussed

more fully at ¶¶ 64-73, supra, various confidential witnesses have detailed how Defendants not

only had no reasonable basis to make the aforementioned representations but failed to disclose

that, inter alia: (i) Liquidity was facing heightened competition that was negatively impacting

margins on new and renegotiated contracts; (ii) the Company was unable to capitalize on

synergies with its retail supply chain acquisitions, such as Jacobs Trading, and therefore could




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not capture the margins and market expansion it had expected; and (iii) the Company’s exposure

to mix changes in the retail supply chain was more significant than the market was led to believe.

       D.       May 3, 2012 – 2Q12 Earnings Call

       116.     Also on May 3, 2012, the Company hosted an earnings conference call to discuss

the Company’s financial results and outlook. During that call, Defendant Angrick stated that:

“During Q2, Liquidity Services reported very strong financial results as we expanded our share

and leadership position in the reverse supply chain market by delivering significant value to our

clients and buying customers.” (Emphasis added.)

       117.     Defendant Rallo added that: “Our strong results for the quarter were driven by

record volumes in both our retail supply chain group, which has its seasonal high in the

second quarter, and public sector verticals.” (Emphasis added.)

       118.     Likewise, on the May 3 earnings call, Defendant Angrick stated:

       At the beginning of fiscal ’12, we established a long-term goal of tripling our
       business to $1.5 billion of GMV and $150 million of EBITDA. We are pleased
       to report that we are well on our way to achieving these objectives.
                                               *
       So, there's a lot of additional growth in the retail business and that, frankly,
       was, as I mentioned in the initial remarks and in our press release, one of the
       key drivers of Q2. (Emphasis added.)

       119.     Also during the call, Defendants Angrick and Rallo made a number of

representations on a number of topics, including growth, the demand for Liquidity’s services, the

Company’s margins, and product mix:

       Rallo:

       Our record second-quarter results reflect market share gains and enhanced service
       levels in operating efficiencies across our entire business as a result of
       investments we have made to support our growth over the last several years.
                                                  *
       As corporations and public sector agencies increasingly prefer service providers
       with a proven track record, innovative technology solutions and demonstrated

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financial strength, we have continued to penetrate our larger, highly fragmented
markets.
                                          *
Angrick:

So those are trends that, naturally, will take us outside the United States over
time. And whether we build or buy these various capabilities over time? Clearly
this is addressing the needs of the client, which is why it’s a sound-expansion
strategy. And we believe that as we’ve demonstrated over time, we’re very good
at refining and relentlessly improving our operations, so that when we do make
such investments, they’ll drive high returns for owners and clients.
                                           *
Rallo:

Also, you have to understand the mix of business too. So, as our mix of business
changes from – more to a consignment model, if we have higher levels of capital
assets under the consignment model, that margin just mathematically goes down,
[]. So, I think the margins will bounce around a little bit from quarter-to-
quarter. I do believe that we can maintain the solid margins we have. I do not
expect to see continued improvement like we have at the pace over the last 18
months.
                                              *
Our strategy is really to try to gather the Fortune 1000, provide services and
improve their efficiencies in the reverse supply chain through our innovative
marketplaces around the world. And we would expect to continue to grow that
client base over the coming quarters.
                                              *
Obviously, we expect to have growth next year over this year. We’re not
formally giving guidance on next fiscal year yet. But again, as we roll out with
some of these larger clients, [], there will be times when you get a – what I would
say accelerated growth cycle for a period of time.
                                              *
Angrick:

So, first, on the second question, you have a two-sided marketplace and you will
go through different phases of development. In which case, you need to build a
demand side to invite credible large sellers to transact in that marketplace, so
there's the chicken and the egg problem, and I’d say, depending upon the nature
of the marketplace, that could take decades or years to resolve, but we’ve
transcended that issue, Jordan. We have outstanding liquidity in over 500
commodity categories with our buyer base. And therefore, the supply side is very
excited by the nature of our solution, the ability to absorb large volumes.
(Emphasis added.)




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       120.    On this news, the Company’s stock spiked more than $8 per share, from $54.93

per share on May 2, 2012, up to $62.24 per share on May 3, 2012.

       121.    Defendants Angrick’s and Rallo’s statements in the May 3, 2012 earnings call

concerning, inter alia, strengths in Liquidity’s retail supply chain business, were materially false

and misleading, as were Defendant Angrick’s statements regarding growth and profitability, such

as his assertion that “we are well on our way to achieving these objectives [of $1.5 billion of

GMV and $150 million of EBITDA]” and Defendant Rallo’s statements concerning the

Company’s ability to maintain solid margins, because they gave a misleadingly positive

impression about Liquidity’s current financial position and its potential for growth. As discussed

more fully at ¶¶ 64-73, supra, various confidential witnesses have detailed how Defendants not

only had no reasonable basis to make the aforementioned representations but failed to disclose

that, inter alia: (i) Liquidity was facing heightened competition that was negatively impacting

margins on new and renegotiated contracts; (ii) although it was adding new clients, Liquidity’s

profitability suffered as a result of its inability to maintain margins; (iii) the Company was

unable to capitalize on synergies with its retail supply chain acquisitions, such as Jacobs Trading,

and therefore could not capture the margins and market expansion it had expected; and (iv) the

Company’s exposure to mix changes in the retail supply chain was more significant than the

market was led to believe.

       E.      May 9, 2012 Press Release

       122.    On May 9, 2012, Liquidity announced in a press release (filed with the SEC on

the same day as an exhibit to a Form 8-K) that it had agreed to acquire UK-based auction service

GoIndustry. The Company announced that it would pay $0.73 cents per share in cash and would

assume all of GoIndustry’s outstanding indebtedness for total consideration of $31 million.



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Liquidity stated that the acquisition would provide the Company with more than 50 Fortune 1000

clients and more than 407,000 professional buyers. At the time of the transaction, GoIndustry

clients included BAE, Bosch, Covance, Ford-Europe, Honeywell, Ingersoll-Rand, Pfizer,

Renault, and Visteon, as well as asset-based lenders Barclays, HSBC, Lloyds, JP Morgan, PNC,

RBS, and Siemens Financial. The press release quoted Defendant Angrick as saying: “This

strategic combination enhances the size and scale of our online capitals [sic] asset marketplace in

several key industry verticals and enables us to serve our respective Fortune 1000 clients and

buying customers with the broadest array of innovative services and a truly global footprint to

maximize efficiency and financial recovery.” Defendant Angrick also stated: “Our combined

offering will enable corporations to efficiently manage, value, redeploy and sell surplus and idle

equipment with a uniformly high level of service and transparency throughout the globe in any

asset class.” Despite the seemingly marginal price paid for GoIndustry, Defendants repeatedly

hyped this acquisition as one that would result in expanded international business, new clients,

and long-term growth for the Company.

       123.    The Company also issued a slide presentation (which was filed as a second

exhibit to the May 9 Form 8-K) promoting the GoIndustry acquisition. This slide presentation

included a number of statements touting the value created by the GoIndustry acquisition,

including noting that: “[it e]xpands size and depth of buyer base, client roster, sales team, and

marketing capabilities”; “GoIndustry DoveBid enhances our online capital assets marketplace in

a global market valued at $100 billion”; GoIndustry had “[c]omplementary technology to expand

services for clients and buyers”; GoIndustry had a “Global Presence,” with “36 offices across 20

countries”; and that GoIndustry “Significantly Expands Liquidity Services’ Geographic

Footprint: Adds Critical Mass in Europe and Asia.”



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       124.    The statements in the May 9, 2012 press release and slide presentation were

materially false and misleading because they misrepresented that the GoIndustry acquisition was

a positive development for Liquidity that would help the Company to grow organically and

successfully expand into Europe, and that it would be able to build off of synergies created by

“[c]omplementary technology.” As discussed more fully at ¶¶ 79-82, supra, various confidential

witnesses have detailed how Defendants not only had no reasonable basis to make the

aforementioned representations but failed to disclose that, inter alia:      (i) GoIndustry was

historically unprofitable and about to “shut their doors” when Liquidity acquired it;

(ii) GoIndustry’s computer platforms were incompatible with Liquidity’s systems, which would

result in an extended and expensive logistical integration process; (iii) GoIndustry’s European

division was not having success in that market; and (iv) GoIndustry paid its sales staff

unsustainably high salaries and commissions that Liquidity would not continue to pay, resulting

in GoIndustry’s top European sellers leaving the Company, taking their top accounts with them.

       125.    Between May 23, 2012, and June 12, 2012, Defendant Angrick took advantage of

the inflated value of Liquidity's stock by unloading 170,300 shares at prices ranging from $60.57

to $63.89 for proceeds of $10,809,653.80. His total proceeds from the sale of stock at inflated

prices during the first three months of the Class Period alone were $20,022,804.

       F.      July 5, 2012 Press Release

       126.    On July 5, 2012, the Company announced via press release that its acquisition of

GoIndustry for $31 million had been completed. The Company expected the transaction to be

neutral to fiscal year 2012 earnings and worth $0.01 to $0.03 per share to fiscal 2013. In

announcing the consummation of the acquisition, Defendant Angrick represented that:

       This strategic combination expands our seller base by adding over 50 Fortune
       1000 clients across complementary vertical market segments, enables us to offer
       important new services and broader global coverage to our existing sellers, and
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       grows the buyer base for our online marketplaces. . . . Our combined offering
       will enable corporations to efficiently manage, value, redeploy and sell surplus
       and idle equipment around the globe with a uniformly high level of service and
       transparency. Our complementary strengths, unmatched buyer base and know-
       how clearly position Liquidity Services as the trusted provider of choice for
       Fortune 1000 corporations in the reverse supply chain.

       127.    The statements in the July 5, 2012 press release were materially false and

misleading because they misrepresented that the GoIndustry acquisition was a positive

development for Liquidity that would provide a platform for organic growth and an opportunity

to successfully expand into global markets, such as Europe. As discussed more fully at ¶¶ 79-82,

supra, various confidential witnesses have detailed how Defendants not only had no reasonable

basis to make the aforementioned representations but Defendants failed to disclose that, inter

alia: (i) GoIndustry was historically unprofitable and about to “shut their doors” when Liquidity

acquired it; (ii) GoIndustry’s computer platforms were incompatible with Liquidity’s systems,

which would result in an extended and expensive logistical integration process; (iii) GoIndustry’s

European division was not having success in that market; and (iv) GoIndustry paid its sales staff

unsustainably high salaries and commissions that Liquidity would not continue to pay, resulting

in GoIndustry’s top European sellers leaving the Company, taking their top accounts with them.

       128.    On July 5, 2012, in reaction to the announcement of the GoIndustry acquisition,

Liquidity’s shares rose by 4.56%.

       G.      July 31, 2012 Press Release

       129.    On July 31, 2012, Liquidity issued a press release announcing its financial results

for the third quarter of fiscal year 2012, which also appeared in the Company’s Form 10-Q, filed

with the SEC on August 3, 2012.          For the quarter, the Company reported revenue of

$121.3 million, an increase of approximately 46% from the prior year period, and adjusted

EBITDA of $33.4 million, an increase of approximately 121% from the prior year period. Total


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GMV had also increased by a record 52% over the prior year period to $225.6 million, and

adjusted diluted EPS was $0.45 per share, which was driven by a one-time tax benefit worth

approximately $0.26 per diluted share from the closing of the Company’s UK operations in the

prior year.

       130.    Along with its earnings results, the Company’s July 31, 2012 press release also

made the following representations regarding the GoIndustry acquisition:

       We are pleased to have closed our acquisition of GoIndustry (www.go-dove.com)
       in early July and have commenced the integration of this business. GoIndustry’s
       client base which includes over 50 leading Fortune 1000 global manufacturers
       and asset based lenders across multiple industries, including aerospace, consumer
       packaged goods, electronics, pharmaceutical, technology and transportation, will
       benefit significantly from our logistics, support and large buyer base for a range
       of high value capital assets such as: material handling equipment, rolling stock,
       heavy machinery and scrap metal. The acquisition of GoIndustry enhances
       Liquidity Services’ ability to deliver surplus asset management, valuation and
       disposition services to large multinational enterprises across North America,
       Europe and Asia. These blue chip corporate clients are already being integrated
       into our commercial business demonstrating our strategic focus on further
       growing our capital assets vertical and penetrating many existing clients with
       additional services. (Emphasis added.)

       131.    In addition, Liquidity provided improved guidance for GMV, adjusted EBITDA,

and adjusted diluted EPS. The Company forecasted that its GMV for fiscal year 2012 would

range from $850 million to $860 million, an increase from its previous guidance of $760 million

to $800 million, and forecasted that fourth quarter GMV would range from $230 million to

$240 million. Adjusted EBITDA for fiscal year 2012 was expected to range from $108 million

to $110 million, up from previous guidance of $96 million to $100 million, and adjusted

EBITDA for the fourth quarter was predicted as between $21 million and $23 million.

Additionally, adjusted diluted EPS for fiscal year 2012 was expected to range from $1.81 to

$1.84 per share, up from previous guidance of $1.64 to $1.70, and adjusted diluted EPS for the

fourth quarter was predicted to be in the range of $0.35 to $0.38.

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       132.   The July 31, 2012 press release reported increased revenue, adjusted EBITDA

and GMV, and upward revisions in many of its key metrics, including GMV, adjusted EBITDA

and adjusted diluted EPS. It also claimed that the GoIndustry acquisition was enhancing the

Company’s “ability to deliver surplus asset management, valuation and disposition services to

large multinational enterprises across North America, Europe and Asia” and that these clients

were “already being integrated into our commercial business demonstrating our strategic focus

on further growing our capital assets vertical and penetrating many existing clients with

additional services.” The financial results and guidance provided by the Company in the July 31,

2012 press release were materially false and misleading because they gave investors the

impression of profitability and growth in the Company’s divisions, including GoIndustry, while

behind the scenes, Liquidity’s business was suffering. Further, the statements regarding the

GoIndustry acquisition gave the misleading impression that GoIndustry was a positive

development that would provide Liquidity with a platform for organic growth and an opportunity

to successfully expand into global markets, such as Europe. As discussed more fully at ¶¶ 64-73,

79-82 supra, various confidential witnesses have detailed how Defendants not only had no

reasonable basis to make the aforementioned representations but failed to disclose that, inter

alia: (i) Liquidity was facing heightened competition that was negatively impacting margins on

new and renegotiated contracts; (ii) the Company was unable to capitalize on synergies with its

retail supply chain acquisitions, and therefore could not capture the margins and market

expansion it had expected; (iii) the Company’s exposure to mix changes in the retail supply

chain was more significant than the market was led to believe; (iv) GoIndustry was historically

unprofitable and about to “shut their doors” when Liquidity acquired it; (v) GoIndustry’s

computer platforms were incompatible with Liquidity’s systems, which would result in an



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extended and expensive logistical integration process; (vi) GoIndustry’s European division was

not having success in that market; and (vii) GoIndustry paid its sales staff unsustainably high

salaries and commissions that Liquidity would not continue to pay, resulting in GoIndustry’s top

European sellers leaving the Company, taking their top accounts with them.

       H.     July 31, 2012 – 3Q12 Earnings Call

       133.   Also on July 31, 2012, the Company hosted an earnings conference call to discuss

its financial results. During the call, Defendant Angrick stated that: “During Q3, Liquidity

Services reported strong financial results, as we expanded our share and leadership position in

the reverse supply chain market by delivering significant value to our clients and buying

customers.” (Emphasis added.)

       134.   He also stated that:     “The acquisition of GoIndustry enhances Liquidity

Services’ ability to deliver surplus asset management, valuation and disposition services to

large enterprises across North America, Europe and Asia.” (Emphasis added.)

       135.   During the call, Defendant Rallo stated that:

       Our strong results for the quarter were driven by record volumes in both our
       retail supply chain group, which did not slow down from its seasonal high in
       the second quarter as we continued to add new clients and further penetrate
       existing clients, and continued growth in our public sector verticals. (Emphasis
       added.)

       136.   Defendant Angrick also stated the following on the call:

       At the beginning of fiscal year 2012, we established a long term goal of tripling
       our business to $1.5 billion of GMV and $150 million of EBITDA. We are
       pleased to report that we are well on our way to achieving these objectives.
                                               *
       Now, I think you have followed us for a long while, we have long had a secular
       growth target of 15% to 20% organic growth and we are frankly, significantly
       achieving that today. And we see that as sustainable given the breadth of
       clients. (Emphasis added.)




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       137.   Also during this conference call, Defendants Angrick and Rallo made the

following statements:

       Angrick:

       In addition to generating strong financial results, our team advanced all key
       elements of our growth strategy during this quarter, driving organic growth,
       innovation and external growth via acquisition. During the quarter, we enjoyed
       broad-based organic growth as we expanded our market share within both the
       commercial and public sector markets. Our value proposition is resonating with
       retailers, manufacturers and public sector agencies, which is reinforcing our
       network effect and resulting in new client wins in the reverse supply chain
       market.
                                                 *
       Rallo:

       Our seller bases continue to grow as corporations and public sector agencies focus
       on reducing costs, improving transparency and working capital flows by
       outsourcing reverse supply chain activities. As corporations and public sector
       agencies increasingly prefer service providers with a proven track record,
       innovative technology solutions and demonstrated financial strength we have
       continued to penetrate our large, highly fragmented markets.
                                                    *
       Angrick:

       As we reflect on our strong Q3 results we have renewed excitement where we can
       take our business. Though we now have the scale of $1 billion GMV business we
       have only 1% penetration of the highly fragmented $100 billion global reverse
       supply chain market. Indeed, we are merely at the beginning of our journey to
       transform the global reverse supply chain.
                                                     *
       Why do we have conviction that we can lead this transformation? Our credibility.
       We have an outstanding record of past performance serving the world’s largest
       organizations in the bigger industry sectors in the world: retail, energy,
       transportation, healthcare, consumer packaged goods, technology, and the public
       sector. Our strong client relationships and track record with the leading
       companies in each of these industry sectors is resulting in the referral of new
       business across the supply chain.
                                                     *
       So, whether it is on the manufacturer’s side, working with suppliers to improve
       the return to vendor process, eliminate transportation costs, maximize margin
       because we are able to turn products quicker through our global marketplace, or
       on the retailer’s side to streamline and outsource the entire process, we are seeing
       outstanding receptivity for what we are doing and we have never had a broader
       portfolio of organic growth opportunities.

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                                                       *
       Rallo:

       . . . with our acquisition of GoIndustry, we are currently running that business
       at a breakeven to a small profit. I think next year we will obviously have better
       profits out of that business, but it will be less than our corporate average as far
       as margins. And then again we will be bringing those back up over fiscal 2014
       and 2015 to really our corporate average.
                                                      *
       Angrick:

       When you look at how these global clients think and operate, it takes years to
       penetrate them in multiple geographies.           And we give high marks to
       GoIndustry’s organization for penetrating these clients, not just in the
       corporate headquarters suite but throughout their supply chain in multiple
       continents. And so, there is a really fertile ground for us to do a couple things.
                                                     *
       And it is also the case that we have many large retailers that we only work with in
       the United States, but that are global in scale and own a lot of property, plant and
       equipment, and are very interested in leveraging the set of services and
       geographic support to grow their business with us. So that is where we see a lot
       of cross-pollination by having this range of services.
                                                     *
       Let me just add one other comment. Some folks would say, well, why do more in
       capital assets? When you look at the roster of corporate clients that GoIndustry
       has served at a very high level for many years, and you look at our clients, there
       are just obvious conversations that are strategic in nature for us to have. It is
       public knowledge that GoIndustry DoveBid was Supplier of the Year for Procter
       & Gamble, which has something like 30,000 vendors. They are the world’s
       largest supplier to retailers globally.

       Well, we happen to work with the world’s largest retailer since 2005 – have an
       excellent relationship at a very high level. And here you have two companies
       focused on removing waste and being more efficient in the handling of materials,
       equipment, inventory. And we are in a unique situation and a unique role to be a
       strategic buyer-advisor to both these companies to help them streamline and
       improve their reverse supply chain. That is unique and that is one of the elements
       of this acquisition that underscores the strategic value to Liquidity Services.
       (Emphasis added.)

       138.     The statements made by Defendants Angrick and Rallo during the July 31, 2012

earnings call regarding growth and profitability, including Defendant Rallo’s statements

concerning strength in the Company’s retail supply chain and Defendant Angrick’s statements



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touting the GoIndustry acquisition, stating that “we are well on our way to achieving these

objectives [of $1.5 billion of GMV and $150 million of EBITDA],” and stating that the

Company’s 15% to 20% organic growth targets were sustainable, were materially false and

misleading because they gave a misleadingly positive impression about the Company’s current

financial position and its potential for growth. As discussed more fully at ¶¶ 64-73, 79-82,

supra, various confidential witnesses have detailed how Defendants not only had no reasonable

basis to make the aforementioned representations but failed to disclose that, inter alia:

(i) Liquidity was facing heightened competition that was negatively impacting margins on new

and renegotiated contracts; (ii) the Company was unable to capitalize on synergies with its retail

supply chain acquisitions, and therefore could not capture the margins and market expansion it

had expected; (iii) the Company’s exposure to mix changes in the retail supply chain was more

significant than the market was led to believe; (iv) GoIndustry was historically unprofitable and

about to “shut their doors” when Liquidity acquired it; (v) GoIndustry’s computer platforms

were incompatible with Liquidity’s systems, which would result in an extended and expensive

logistical integration process; (vi) GoIndustry’s European division was not having success in that

market; and (vii) GoIndustry paid its sales staff unsustainably high salaries and commissions that

Liquidity would not continue to pay, resulting in GoIndustry’s top European sellers leaving the

Company, taking their top accounts with them.

       139.    In response to the statements made by Defendants, the price of the Company’s

shares increased by 4.03% on July 31, 2012.

       I.      November 29, 2012 Press Release

       140.    On November 29, 2012, Liquidity issued a press release and filed its Form 10-K

with the SEC announcing its financial results for the full fiscal year 2012 and for the fourth



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quarter of fiscal year 2012.    For the full fiscal year 2012, the Company reported record

consolidated revenue of $475.3 million, record adjusted EBITDA of $110.1 million, record

GMV of $864.2 million, and record adjusted diluted EPS of $1.47 per share. For the fourth

quarter, the Company reported consolidated revenue of $122.3 million, an increase of

approximately 52% from the prior year period, and record GMV of $241 million. Adjusted

EBITDA for the fourth quarter was $23.1 million, an increase of approximately 85% from the

prior year period, and adjusted diluted EPS was $0.40 per diluted share.

       141.    In connection with the release of the Company’s financial results, Defendant

Angrick stated:

       Liquidity Services generated strong results during Q4-12 as we continued to grow
       our market share and build on our leadership position in the reverse supply
       chain market during a seasonally low quarter for the Company. We continued to
       benefit from large commercial and government clients placing their trust in us to
       handle more of their excess inventory and high value capital asset sales, which
       drove strong growth this quarter. . . . Our recent acquisition, of NESA, further
       enhances our position as the leading reverse supply chain solution for large
       retailers and their suppliers, and we are excited by the numerous related
       opportunities to create value for our buyers and clients, which we plan to
       demonstrate during fiscal year 2013. During fiscal year 2012, we continued to
       advance our business strategy of building a defensible, leadership position in the
       reverse supply chain market and generated strong results for our clients and
       shareholders . . . . We believe our continued focus on delivering the breadth of
       services, geographic coverage and global market data that large enterprises
       require in the reverse supply chain positions us well for fiscal year 2013 and
       continued long term profitable growth and market leadership. . . .
       Operationally, Liquidity Services continued to build on the process
       improvements and scale efficiencies started last fiscal year resulting in overall
       improved cycle times and margins. . . . Liquidity Services remains focused on
       executing our long term growth strategy to ensure the Company is well
       positioned to drive attractive returns for shareholders. (Emphasis added.)

       142.    In the press release, the Company also represented that “[w]hile economic

conditions have improved, our overall outlook remains cautious due to the volatility in the macro

environment and its potential impact on the retail and industrial supply chains and GDP growth.”



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Moreover, the Company expected investments of several million dollars to integrate its

GoIndustry acquisition, which would be a drag on earnings in the first half of fiscal 2013.

Liquidity had previously expected the acquisition to boost its profits through 2013.

       143.    Also in the November 29, 2012 press release, the Company provided its full fiscal

year 2013 guidance and guidance for the first quarter of 2013. Liquidity expected GMV to range

from $1.1 billion to $1.2 billion for the year, and to range from $240 million to $250 million in

the first quarter. The Company forecasted adjusted EBITDA to range from $123 million to

$133 million for the year, and $22 million to $24 million for the first quarter. Liquidity also

expected that adjusted diluted EPS would range from $2.05 to $2.23 per diluted share for the

year and $0.36 to $0.40 per diluted share for the first quarter. The Company’s adjusted diluted

EPS guidance for the first quarter of fiscal 2013 missed the consensus estimate from analysts of

$0.46 per share.

       144.    The November 29, 2012 press release reported record revenue, GMV, adjusted

EBITDA, and adjusted EPS for fiscal 2012, and claimed that Liquidity “continued to grow our

market share and build on our leadership position in the reverse supply chain market,” that it

believed it was well positioned “for fiscal year 2013 and continued long term profitable growth

and market leadership,” and that it had “continued to build on the process improvements and

scale efficiencies started last fiscal year resulting in overall improved cycle times and margins.”

The financial results and guidance provided by the Company in the November 29, 2012 press

release were materially false and misleading because they gave investors the impression of

profitability and growth in the Company’s divisions, while behind the scenes, Liquidity’s

business was suffering.    As discussed more fully at ¶¶ 64-73, supra, various confidential

witnesses have detailed how Defendants not only had no reasonable basis to make the



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aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was facing

heightened competition that was negatively impacting margins on new and renegotiated

contracts; (ii) although it was adding new clients, Liquidity’s profitability had begun to suffer as

a result of its inability to maintain margins; (iii) the Company was unable to capitalize on

synergies with its retail supply chain acquisitions, and therefore could not capture the margins

and market expansion it had expected; and (iv) the Company’s exposure to mix changes in the

retail supply chain was more significant than the market was led to believe. Moreover, as

discussed more fully at ¶¶ 79-80, 82, supra, although Defendants gave the appearance of candor

by discussing logistical issues relating to GoIndustry’s integration, and a potential impact on

earnings, they failed to disclose that, inter alia: (i) GoIndustry was historically unprofitable and

about to “shut their doors” when Liquidity acquired it; (ii) GoIndustry’s European division was

not having success in that market; and (iii) GoIndustry paid its sales staff unsustainably high

salaries and commissions that Liquidity would not continue to pay, resulting in GoIndustry’s top

European sellers leaving the Company, taking their top accounts with them.

       J.      November 29, 2012 – 4Q and FY2012 Earnings Call

       145.    Also on November 29, 2012, Liquidity hosted an earnings conference call to

discuss the Company's financial results. On the call, Defendant Angrick stated:

       Though we now have a scale of a $1 billion GMV business, we have only 1%
       penetration of the highly fragmented $100 billion global reverse supply chain
       market. At the beginning of fiscal year 2012, we established a five-year goal of
       tripling our business to $1.5 billion of GMV. Based on our strong execution and
       growing credibility in the marketplace, we are ahead of plan, and, therefore,
       we’ve established a new goal of reaching $2 billion of GMV by fiscal year 2016
       or $500 million higher than the previous target. We are confident in our ability to
       achieve our long-range goals due to our many strengths. (Emphasis added.)

       146.    On the November 29, 2012 earnings call, Defendants Angrick and Rallo also

made the following statements:

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Angrick:

During Q4, Liquidity Services reported strong financial results as we continued to
grow our market share and build on our leadership position in the reverse supply
chain market. We continue to benefit from large commercial and government
clients placing their trust in us to handle more of their excess inventory and high-
value capital assets, which drove strong growth this past quarter.
                                              *
During the past year, we enjoyed broad-based organic growth as we expanded
our market share within both the commercial and public sector markets. Our
consistent execution has enabled Liquidity Services to become the trusted
provider of choice in our industry . . . .
                                              *
. . . [I]n addition to growing our business organically, our team continues to
drive inorganic growth and the consolidation of our industry to provide Fortune
1000 clients with the scale and services they require across industries, products,
and geographies. In this context, we completed the acquisitions of GoIndustry
in July and the National Electronics Service Association in October. These
transactions enhance our ability to deliver surplus asset management,
valuation, and disposition services to Fortune 1000 enterprises across North
America, Europe and Asia, and enable us to offer important new services to our
existing sellers, while also growing our buyer base.

Of note, we expect the integration of GoIndustry will require significant upfront
investments to fully realize the global capital assets market opportunity, which
will result in a drag on earnings in the first half of fiscal ’13 but will benefit the
second half of fiscal ’13 and our long-term growth prospects.
                                              *
 We are confident in our ability to achieve our long-range goals, due to our many
strengths. Liquidity Services has the largest global buyer base for surplus assets,
which continues to grow. We possess proprietary market data and knowledge
derived from over $3 billion of completed asset sales to assist our growing client
base, and the valuation and sale of assets in over 500 product categories in all
condition types. And we possess the most innovative sales channels and services
to meet the needs of the marketplace.
                                              *
. . . [W]e have strong organic growth opportunities with our existing clients,
which now include the world’s largest organizations in the biggest industry
sectors in the global economy: retail, energy, transportation, healthcare,
consumer packaged goods, technology, and the public sector.
                                              *
. . . [M]acro trends are increasing the demand for our services and potential for
new client additions in the retail and manufacturing supply chains.
                                              *
Rallo:



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       Then you look out at next year, we don’t really see any change in our top-line
       expectations [for GoIndustry] at this point. As Bill commented earlier, our
       initial meeting with the clients have been strong. The opportunities between the
       two organizations are tremendous. What we want to do is simply accelerate what
       we believe is the long-term opportunity that we see with the business. And we
       moved our integration, I think, up more into the first half of this year.

       So to be specific on your question as far as what changed, I think what changed
       really was our timetable. A greater knowledge of the business now operating it
       for the last four to five months. And we expect to, yes, I would say see $0.02 to
       $0.03, as you indicated, dilutive, if you would, for the first two quarters of the
       year. And then break even to making money in the second half of the year. And
       again, I mean, I think that’s reflected in our full-year guidance which
       represents over 18% organic growth year-over-year.
                                                    *
       . . . [O]ne comment on margins for next year, I think its – our margins for next
       year that are represented in our guidance are actually in line with exactly what
       we said last quarter. So we expected to finish this year around a 13% EBITDA –
       adjusted EBITDA to GMV margin. I believe the year was 12.8%, 12.7%,
       something like this. So again, in line with our expectation.
                                                    *
       Angrick:

       And so we are smart and experienced to know that be careful what you ask for, in
       the sense of if clients like the value proposition, they’re going to want to do a lot
       of business. And they are going to, in this case, want to do it globally. So we
       want to get ahead of the curve in terms of our financial reporting systems, our
       global sales force automation and sharing of data, and our operations teams. So
       that we execute crisply against we anticipate to be a lot of future growth.
       (Emphasis added.)

       147.    Also on the conference call, Defendant Angrick made specific representations as

to the rationale underlying the GoIndustry acquisition:

       Let me first introduce the rationale for the GoIndustry transaction. Global clients
       increasingly need and expect uniform service globally for all of their equipment.
       And having met with many of the top clients of that business, we are not only
       seeing that rationale play out, but we are even more enthusiastic about the long-
       term growth prospects of cross-selling services to many large companies. In
       fact, companies that have traditionally been selling equipment on the GoDove
       [GoIndustry DoveBid] marketplace also are major players in consumer-packaged
       goods and have inventory and scrap material that needs to be handled and sold.
       And so we like very much the opportunity to integrate a global enterprise sales
       organization, integrate their 300,000 global buyers, and then continue to scale
       the business. (Emphasis added.)

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       148.    Defendant Rallo added that:

       As far as investment goes, I think Bill hit a fair amount of those during his
       overview. But specifically – and what changed our expectations, I think, was
       when we really dug into the global opportunity for the $100 billion capital asset
       market, and we looked at the disparate organization of GoIndustry, one that has
       not been run historically with common systems and common processes, which is
       a departure from the normal Liquidity Services philosophy. We just saw an
       opportunity to change those things more quickly and more dramatically than we
       had originally thought. Again, from a due diligence process, versus running
       the business for the last four or five months. And we believe that’s going to
       create more opportunity in the long run. (Emphasis added.)

       149.    Similarly, with respect to margins, Defendant Rallo stated that:

       As far as the investments go, we absolutely expect to see improvements in
       margins going forward after fiscal 2014 and ’15 from our investments.
       Primarily, a lot of those investments are bringing everybody together as it
       relates to the GoIndustry acquisition. And we’ve indicated, again starting with
       our last call, our plans to do that. So you’re looking at taking a business that’s
       running at break-even to a level of profitability that is consistent with the other
       capital markets pieces of our business today. So we would expect to see leverage
       on margins moving forward after this year. (Emphasis added.)

       150.    The statements made by Defendants Angrick and Rallo during the November 29,

2012 earnings call regarding Liquidity’s growth and profitability, including Defendant Angrick’s

statements about the Company’s organic growth, were materially false and misleading because

they gave a misleadingly positive impression about the Company’s current financial position and

its potential for growth.   As discussed more fully at ¶¶ 64-73, supra, various confidential

witnesses have detailed how Defendants not only had no reasonable basis to make the

aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was facing

heightened competition that was negatively impacting margins on new and renegotiated

contracts; (ii) although it was adding new clients, Liquidity’s profitability had begun to suffer as

a result of its inability to maintain margins; (iii) the Company was unable to capitalize on

synergies with its retail supply chain acquisitions, and therefore could not capture the margins

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and market expansion it had expected; and (iv) the Company’s exposure to mix changes in the

retail supply chain was more significant than the market was led to believe. Moreover, as

discussed more fully at ¶¶ 79-80, 82, supra, although Defendants Angrick and Rallo gave the

appearance of candor by discussing logistical issues relating to GoIndustry’s integration, they

continued to tout the GoIndustry acquisition as one favorable to the Company, with Defendant

Angrick stating, for example, that GoIndustry provided “the opportunity to integrate a global

enterprise sales organization, integrate their 300,000 global buyers and then continue to scale the

business.”    In doing so, they failed to disclose the material information that, inter alia:

(i) GoIndustry was historically unprofitable and about to “shut their doors” when Liquidity

acquired it; (ii) GoIndustry’s European division was not having success in that market; and

(iii) GoIndustry paid its sales staff unsustainably high salaries and commissions that Liquidity

would not continue to pay, resulting in GoIndustry’s top European sellers leaving the Company,

taking their top accounts with them.

       151.    On these statements, the Company’s stock dropped $5.96, from $43.73 on

November 28, 2012, down to $37.83 on November 29, 2012. In analyzing this decline, some

media sources focused on Defendants’ statements about macroeconomic conditions, as opposed

to operational concerns within the Company, such as the logistical issues in integrating

GoIndustry. For instance, an article in the AP on November 29 stated as follows: “Shares of

Liquidity Services, Inc. tumbled more than 17 percent in Thursday morning trading, after the

online auction operator posted a 77 percent jump in fiscal fourth-quarter net income, but warned

that global economic conditions remain tough.” (Emphasis added.) The article further noted

that “Liquidity Services said that while the economy has improved, it remains cautious about

the effect of volatile economic conditions on retail and industrial supply chains, as well as



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GDP growth.” (Emphasis added.) Thus, for the reasons articulated above in ¶¶ 79-80, 82, the

market absorbed a message from Defendants that did not reflect the truth of what was being

experienced within the Company.

       152.    Likewise, notwithstanding the Company’s statements regarding the fourth quarter

and full year 2012, a report issued by Barrington Research on December 3, 2012, indicated that

that firm would be maintaining an “outperform” rating on the Company, its highest rating. This

demonstrates that analysts digested the half-truths that Defendants put forward to explain

Liquidity’s financial position at the time.

       K.      December 12, 2012 Investor Day Presentation

       153.    On December 12, 2012, Defendants presented at Liquidity’s Investor Day in

Indianapolis, an event in which investors and analysts could also participate via teleconference.

In connection with this event, Defendants prepared and distributed an extensive 100-page

Powerpoint presentation titled “2012 Investor Day,” dated December 12, 2012 (the “Investor

Day Presentation”), which was intended as an overview of the Company, its performance in

recent years, and strategy for future growth.

       154.    Among the many topics addressed in the Investor Day Presentation was margins.

Defendants represented in slide 13 that the Company had an “attractive margin profile,” and

presented a graph purporting to show sizeable increases in adjusted EBITDA as a percentage of

GAAP revenue every year since Liquidity’s initial public offering in 2006. According to this

slide, earnings as a percentage of revenue grew from 10.2% in fiscal year 2006 to 23.1% in fiscal

year 2012. The statements in this slide were materially false and misleading because they gave

investors the false impression of sustained profitability and growth at the Company while, behind

the scenes, Liquidity was suffering.      As discussed more fully at ¶¶ 64-73, supra, various

confidential witnesses have detailed how Defendants not only had no reasonable basis to make
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the aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was facing

heightened competition that was negatively impacting margins on new and renegotiated

contracts; (ii) although it was adding new clients, Liquidity’s profitability had begun to suffer as

a result of its inability to maintain margins; (iii) the Company was unable to capitalize on

synergies with its retail supply chain acquisitions, and therefore could not capture the margins

and market expansion it had expected; and (iv) the Company’s exposure to mix changes in the

retail supply chain was more significant than the market was led to believe.

       155.    Another slide in the Investor Day Presentation, marked as slide 26, touted the

Company’s relationship with the DoD. In characterizing Liquidity as “the safe and trusted

provider of choice,” Defendants boasted the Company’s “[e]xclusivity with DoD and 5,000

agency clients,” as well as “[t]hree DoD contract wins and exercise of all renewals.” The same

slide touted Liquidity’s positioning in the market:        in noting “strong customer loyalty,”

Defendants stated that it had achieved “[s]ignificant expansion with F1000 commercial clients”

and “[b]uyer annual growth rate of 41.6% over past 10 years.” These representations gave no

hint as to the threats posed by competitors at that time. Further, the slide boasted Liquidity’s

“high customer value,” representing that it had achieved a “20%+ increase in net recovery

value.” Such statements concealed the truth that Liquidity was, in fact, selling merchandise at

lower values in an attempt to stay ahead of the competition. See ¶¶ 67-70, 73, supra.

       156.    Slide 28 of the Investor Day Presentation purported to show its success in

“multiple, large markets still in early stages of online adoption.” There, the Company boasted

GMV of $50 billion in the Retail Supply Chain (Liquidation.com and Jacobs Trading), GMV of

$100 billion in Capital Assets (Network International, GoIndustry, and TruckCenter.com), and

GMV of $3 billion in the Public Sector (Government Liquidation and GovDeals).                   The



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statements in this slide were materially false and misleading because they gave investors the

false impression of sustained profitability and growth at the Company while, behind the scenes,

Liquidity was suffering.    As discussed more fully at ¶¶ 64-73, supra, various confidential

witnesses have detailed how Defendants not only had no reasonable basis to make the

aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was facing

heightened competition that was negatively impacting margins on new and renegotiated

contracts; (ii) although it was adding new clients, Liquidity’s profitability had begun to suffer as

a result of its inability to maintain margins; (iii) the Company was unable to capitalize on

synergies with its retail supply chain acquisitions, such as Jacobs Trading, and therefore could

not capture the margins and market expansion it had expected; and (iv) the Company’s exposure

to mix changes in the retail supply chain was more significant than the market was led to believe.

The slide also omitted negative information about GoIndustry that was impacting Liquidity’s

profitability and ability to grow, including that, inter alia: (i) GoIndustry was historically

unprofitable and about to “shut their doors” when Liquidity acquired it; (ii) GoIndustry’s

European division was not having success in that market; and (iii) GoIndustry paid its sales staff

unsustainably high salaries and commissions that Liquidity would not continue to pay, resulting

in GoIndustry’s top European sellers leaving the Company, taking their top accounts with them.

       157.    Defendants also touted the Company’s ability to achieve growth through

acquisition. In slide 39 of the Investor Day Presentation, Liquidity boasted a “strong M&A track

record,” and stated that “[a]cquisitions have grown 20% or better fueled by our expertise and

resources.”   This slide pointed to acquisitions such as GovDeals, Network International,

TruckCenter.com, Jacobs Trading, GoIndustry, and NESA, and indicated that they had all

resulted in “cross-selling synergies.” These representations gave investors no clue as to true,



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concealed difficulties the Company was experiencing in the integration of some of its

acquisitions. See ¶¶ 79-82, supra.

       158.    Defendants’ portrayals of optimism in the Investor Day Presentation included

representations in slide 41 that it had a “[h]uge opportunity to transform an industry,” noting in

support that, among other things, it had “[k]ey competitive advantages,” a “[s]trong track record

of operational execution,” and an “[e]xtensive base of buyers and sellers with a network effect.”

Curiously, despite the fact that Liquidity had just weeks earlier attributed its disappointing fourth

quarter and full year 2012 to volatile economic conditions, it represented in this presentation that

“[m]acro tail winds support growth opportunity.” The statements in this slide were materially

false and misleading because they gave investors the false impression of sustained profitability

and growth at the Company while, behind the scenes, Liquidity was suffering. As discussed

more fully at ¶¶ 64-73, supra, various confidential witnesses have detailed how Defendants not

only had no reasonable basis to make the aforementioned representations but failed to disclose

that, inter alia: (i) Liquidity was facing heightened competition that was negatively impacting

margins on new and renegotiated contracts; (ii) although it was adding new clients, Liquidity’s

profitability had begun to suffer as a result of its inability to maintain margins; (iii) the Company

was unable to capitalize on synergies with its retail supply chain acquisitions, such as Jacobs

Trading, and therefore could not capture the margins and market expansion it had expected; and

(iv) the Company’s exposure to mix changes in the retail supply chain was more significant than

the market was led to believe.

       159.    Similarly, the Investor Day Presentation, at slide 51, indicated to investors and

analysts that there was a “Large Retail Supply Chain Growth Opportunity” for Liquidity in

terms of existing clients, retail prospects, and OEM (original equipment manufacturer) prospects.



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The statements in this slide were materially false and misleading because they gave investors the

false impression of sustained profitability and growth at the Company while, behind the scenes,

Liquidity’s business was suffering.      As discussed more fully at ¶¶ 64-73, supra, various

confidential witnesses have detailed how Defendants not only had no reasonable basis to make

the aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was facing

heightened competition that was negatively impacting margins on new and renegotiated

contracts; (ii) the Company was unable to capitalize on synergies with its retail supply chain

acquisitions, and therefore could not capture the margins and market expansion it had expected;

and (iii) the Company’s exposure to mix changes in the retail supply chain was more significant

than the market was led to believe.

       160.    Not surprisingly, the Investor Day Presentation also specifically touted the

GoIndustry acquisition. In a series of slides beginning at slide 65, Defendants extolled the

virtues of the deal from all perspectives. Defendants represented, inter alia, that GoIndustry

“[e]xpands size and depth of buyer base, client roster, sales team, and marketing capabilities,”

and that it “[a]dds new ‘inside the building’ markets” and “[c]aptures new supply from

existing and new accounts.”       Defendants pointed to the many ways in which GoIndustry

“Broaden[s] [Liquidity’s] Global Service Offering,” and specifically noted how the “[l]imited

overlap with [Liquidity’s] existing buyer base” expands the Company’s buyer base.

       161.    Defendants also emphasized the fact that the GoIndustry acquisition brought to

the Company an “[e]nterprise-level surplus asset management platform,” known as AssetZone.

AssetZone is essentially the software used by GoIndustry – and through acquisition, Liquidity –

to help customers evaluate their capital assets and determine whether they are idle or

underperforming and thus in need of “redeployment.” Among the many benefits of AssetZone,



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both to sellers and to Liquidity, were the “[s]eamless integration with client business systems,”

and the “[a]bility to rapidly roll-out unique tools & capabilities across all F1000 clients.”

       162.    All of the information regarding GoIndustry conveyed by Defendants in the

Investor Day Presentation gave no indication as to the challenges that, as numerous confidential

witnesses corroborate, were known at the time at the highest levels of management.

       163.    In addition, during the 2012 Investor Day, members of Liquidity’s management –

including Defendants Angrick and Rallo – addressed the attendees and participants, and made

specific representations regarding the Company’s performance and prospects. For instance, with

respect to growth and margins, Defendant Angrick stated as follows: “We’re growing at about

twice the growth rate of eCommerce. We’ve had 40 consecutive quarters of profitability. We’ve

positioned ourselves to be a market leader. And we have some of the best margins in the entire

category of eCommerce. . . . And we are able to drive margin expansion.” (Emphasis added.)

He further stated that “I think 10% EBITDA margins or better are achievable for us in the long-

term growth in terms of the industry evolution.”

       164.    Speaking on behalf of the Company, Cayce Roy, Vice President of Retail Supply

Chain Group, addressed growth through acquisition:

       I know there’s a multi-channel capabilities in the buyer growth. If we’re going to
       ask clients, you need to add buyers, you need to add new channels, you need to
       help your clients grow and that’s a key element of our success. M&A integration
       and growth, we’ll continue to look for, as we’ve done with Jacobs Trading and
       NESA in the recent – the last year. We’ll continue to look for opportunities to
       build out our business, to build out the services as Bill [Angrick] noted, to expand
       the client and the buyer base and geographic locations and we’ll do a great job at
       integrating them into the company. (Emphasis added.)

       165.    With respect to the competition facing Liquidity, Defendants assumed the familiar

dismissive posture. Defendant Rallo stated that:




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       And so again, when you look to the competition, there is a lot of it, but it’s not
       very formidable.
                                                 *
       So I’m talking about the state and local government is known over the last four,
       five years, to go under tremendous amount of pressure. Budgetary pressures;
       they’ve been under efficiency pressures, transparency pressures. And how can we
       help them? The same way we helped the DoD, same way we help our
       commercial buyers. We come in and we offer a better mousetrap. We’ll be able
       to move these assets more quickly than our competition. We’re going to be able
       to get a better price and we’ll give a private and transparent marketplace to do
       that, and we have a full breadth of services. (Emphasis added.)

       166.    The statements made by Defendants Angrick and Rallo, and attributable to the

Company through Cayce Roy, were materially false and misleading. Defendant Angrick’s

statements touting Liquidity’s margins and Roy’s statements downplaying Liquidity’s

competition in the commercial space gave investors a false impression of the Company’s current

growth and its ability to sustain growth and profitability. Further, Defendant Rallo’s statements

regarding the Company’s track record of integrating acquisitions materially overstated

Liquidity’s success in that regard. As discussed more fully at ¶¶ 64-73, supra, Liquidity’s

growth picture was not so rosy, and as various confidential witnesses have detailed, Defendants

not only had no reasonable basis to make the aforementioned representations but failed to

disclose that, inter alia: (i) Liquidity was facing heightened competition that was negatively

impacting margins on new and renegotiated contracts; (ii) although it was adding new clients,

Liquidity’s profitability suffered as a result of its inability to maintain margins; and (iii) the

Company’s exposure to mix changes in the retail supply chain was more significant than the

market was led to believe. Nor was the Company as adept at integrating acquisitions as investors

were led to believe. As discussed more fully at ¶¶ 71,79-80, 82, supra, Defendants failed to

disclose that, inter alia: (i) GoIndustry was historically unprofitable and about to “shut their

doors” when Liquidity acquired it; (ii) GoIndustry’s European division was not having success in



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that market; (iii) GoIndustry paid its sales staff unsustainably high salaries and commissions that

Liquidity would not continue to pay, resulting in GoIndustry’s top European sellers leaving the

Company, taking their top accounts with them; and (iv) the Company was unable to capitalize on

synergies with its retail supply chain acquisitions, and therefore could not capture the margins

and market expansion it had expected.

       167.    Analysts absorbed Defendants’ 2012 Investor Day representations as intended.

For example, in a report published on December 13, 2012, Janney noted the following:

       On 12/12, we attended LQDT’s first analyst day including a tour of its largest
       Commercial distribution center in Indianapolis. While we have covered LQDT
       since its IPO in 2006, the event was a good deep-dive into its growth strategy,
       competitive advantages, and ongoing technology/process improvements in a
       $150BN TAM. Key takeaways include: (1) the Capital Asset business
       represents a significant global opportunity with GOI, (2) Commercial Retail has
       significant growth opportunities through deeper client engagement while sales
       cycles remain long due to complexity/changing industry behavior,
       (3) Government Surplus visibility appears strong, (4) expect LT margin
       expansion, and (5) model remains less capital intensive than other eCommerce
       players despite slightly higher technology investments. (Emphasis added.)
       168.    Likewise, in a report dated December 20, 2012, and titled “Key Highlights of

LSI’s Investor Day,” Barrington Research echoed the message conveyed by Defendants. The

report noted that “[s]ecular tailwinds are driving growth within this market including increased

product innovation, eCommerce growth and initiatives related to sustainability. . . . Competitive

advantages for LSI include a 2.2 million buyer base, a supplier base totaling over 6,000, a global

footprint in 40 countries, domain expertise and turnkey service offerings.” With respect to

margins and growth, the Barrington report stated that “[u]sing FY/12’s adjusted EBITDA margin

on GMV of 12.75% and applying it to $2 billion of GMV in FY/16 yields potential adjusted

EBITDA generation of $255 million, more than double FY/12’s adjusted EBITDA of $110

million.”   In light of the highly optimistic picture painted by Defendants at the 2012 Investor

Day, Barrington maintained its highest rating of “outperform” on Liquidity’s shares.

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       169.    On December 13, 2012, the day after the Company’s Investor Day presentation,

Liquidity’s shares surged 5.10%.

       L.      January 16, 2013 Press Release

       170.    On January 16, 2013, the Company issued a press release announcing preliminary

GMV results of $234 million, which was below its previous guidance. Nonetheless, Liquidity

reaffirmed its guidance for the first quarter of fiscal year 2013 for adjusted EBITDA and

adjusted diluted EPS.

       171.    The statements in ¶ 170 were materially false and misleading because they created

the impression that the Company was on track in terms of earnings growth. As discussed more

fully at ¶¶ 64-73, supra, Defendants failed to disclose, inter alia, the following facts, which

undermined its growth story:        (i) Liquidity was facing heightened competition that was

negatively impacting margins on new and renegotiated contracts, and (ii) although it was adding

new clients, Liquidity’s profitability suffered as a result of its inability to maintain margins.

       M.      January 31, 2013 Press Release

       172.    On January 31, 2013, Liquidity issued a press release announcing its financial

results for the first quarter of fiscal year 2013. The Company reported consolidated revenue of

$122.2 million, which was an increase of approximately 15% from the prior year period;

adjusted EBITDA of $24.2 million, approximately 6% above the prior year period; GMV of

$233.4 million, an increase of approximately 30% from the prior year period; and adjusted

diluted EPS of $0.41 per diluted share, an 11% increase over the prior year period. This

information also appeared in the Company’s Form 10-Q filed with the SEC on February 8, 2013.

       173.    Based on the reduced GMV for the quarter, Liquidity adjusted downward its

forecasts for key metrics for both the second quarter and the full fiscal year. Specifically, the

Company reduced its fiscal 2013 GMV guidance to a range of $1.025 billion to $1.1 billion,

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down from previous guidance of $1.1 billion to $1.2 billion. For the second fiscal quarter, the

Company expected GMV to range from $250 million to $275 million. As for adjusted EBITDA,

the Company revised its full year guidance to $115 million to $121 million, reduced from

previous guidance of $123 million to $133 million. Second quarter 2013 adjusted EBITDA was

expected to fall within the range of $28 million to $30 million. Liquidity also reduced its

guidance for adjusted diluted EPS for the fiscal year to range from $1.90 to $2.02, a significant

decrease from the previous guidance of $2.05 to $2.23. Adjusted diluted EPS for the second

quarter was expected to be from $0.46 to $0.50.

       174.   In connection with the release of the Company’s financial results, Defendant

Angrick made the following statements concerning Liquidity’s performance:

       Liquidity Services generated strong adjusted EBITDA and EPS results during Q1-
       FY13 as we expanded margins in our core business due to operating leverage and
       as we continued to benefit from large commercial and government clients placing
       their trust in us to handle more of their excess inventory and high value capital
       asset sales. . . . We remain focused on executing our long term growth strategy
       to achieve $2 billion in GMV by fiscal year 2016. During the quarter, we
       continued to advance our multi-year investment efforts in upgrading our
       ecommerce platform, investing in our sales and marketing organization and
       integrating our recent acquisitions of NESA and GoIndustry which have expanded
       our operations to Canada, Europe and the Asia Pacific regions. While the pace of
       integrating our GoIndustry acquisition is currently slower than expected and
       will require more investment, particularly in the Asia Pacific region, our
       expanded breadth of services, industry expertise and geographic coverage has
       been well received by our clients and has strengthened our competitive position
       in the reverse supply chain market. We believe these important investments
       uniquely address the client needs of Fortune 500 retailers, manufacturers and
       public sector agencies and position us well for long term profitable growth and
       market leadership. (Emphasis added; internal quotations omitted.)

       175.   In the January 31, 2013 press release, Liquidity reported improved revenue,

adjusted EBITDA, GMV, and adjusted diluted EPS over the same quarter the prior year. It noted

that although the pace of integrating GoIndustry was currently slower than expected, its breadth

of services was well received by clients and that Liquidity’s competitive position had been

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strengthened. Even so, Defendant Angrick stated that “[w]e remain focused on executing our

long term growth strategy to achieve $2 billion in GMV by fiscal year 2016.” These statements

and others were materially false and misleading. As discussed more fully at ¶¶ 64-73, supra,

various confidential witnesses have detailed how Defendants not only had no reasonable basis to

make the aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was

facing heightened competition that was negatively impacting margins on new and renegotiated

contracts; (ii) although it was adding new clients, Liquidity’s profitability had begun to suffer as

a result of its inability to maintain margins; (iii) the Company was unable to capitalize on

synergies with its retail supply chain acquisitions, and therefore could not capture the margins

and market expansion it had expected; and (iv) the Company’s exposure to mix changes in the

retail supply chain was more significant than the market was led to believe. Moreover, as

discussed more fully at ¶¶ 80, 82, supra, although Defendant Angrick gave the appearance of

candor by discussing logistical difficulties in integrating GoIndustry, they failed to disclose that,

inter alia: (i) GoIndustry’s European division was not having success in that market, and

(ii) GoIndustry paid its sales staff unsustainably high salaries and commissions that Liquidity

would not continue to pay, resulting in GoIndustry’s top European sellers leaving the Company,

taking their top accounts with them.

       176.    Defendants used the January 31 press release to provide a generic, boilerplate

warning of the impact of macroeconomic factors on the Company’s business: “While economic

conditions have improved, our overall outlook remains cautious due to the volatility in the macro

environment including instability arising from the fiscal cliff and debt ceiling negotiations and

their potential impact on the retail and industrial supply chains and GDP growth.”              This

“warning” hardly provided investors with any sort of balance as to the true state of the



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Company’s financial health, particularly considering the buoyant statements and financial results

that were contemporaneously presented, and the vast amount of facts that contradicted such

jubilance – but which remained undisclosed.

       N.      January 31, 2013 – 1Q13 Earnings Call

       177.    Also on January 31, 2013, the Company held an earnings conference call to

discuss its financial results. During the call, Defendant Angrick stated:

       During Q1, Liquidity Services reported strong financial results as we continued
       to grow our market share and build on our leadership position in the reverse
       supply chain market.
                                               *
        Despite our reduced outlook for fiscal year 2013, we remain confident and
       focused on the execution of our long-term growth strategy to achieve $2 billion
       in GMV by fiscal year 2016.
                                               *
       We are confident in our long-term growth prospects and recently increased our
       long-term growth target to $2 billion of GMV and we have a clear strategy to
       achieve this objective. Our competitive position continues to strengthen.
                                               *
       [W]e may revise guidance based on the data we have at the time we provide
       earnings results or updates. This process, led by our CFO, Jim Rallo, has been
       and continues to be consistent and effective for us as a public company.
       (Emphasis added.)

       178.    Also, on that call, Defendant Angrick specifically stated that:

       Following our acquisitions of GoIndustry and NESA, we are well positioned to
       support the needs of our target market in Canada, Europe and the Asia-Pacific
       regions. While the pace of integrating our GoIndustry acquisition is currently
       slower than initially expected, and will require more investment, particularly in
       the Asia-Pacific region, our expanded breadth of services, industry expertise and
       geographic coverage have been well received by our clients and have
       strengthened our competitive position in the reverse supply chain market.
                                                   *
       But we are very comfortable with what we have on our plate in 2013 with
       GoIndustry DoveBid and NESA. Our clients are using our services in both
       respects to do more volume with us and I think in fiscal 2014, you are going to
       see results based on the investments we’ve made in fiscal 2013 that will be very
       encouraging. So, we do look at acquisitions, I don't view it as a driver for the
       balance of 2013, but there are always situations that present themselves.
       (Emphasis added.)

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       179.     On that call, Defendant Rallo stated that “the retail business performed extremely

well during the first quarter.” (Emphasis added.) He further represented that:

       After six months of operating the GoIndustry organization and reaching out to
       many of our clients, we are focused on cultivating all the good team members
       serving the needs of our clients; investing in changes in technology
       to conform the usability of Liquidity Services’ marketplaces onto the
       GoIndustry platform; and restructure the organization to adopt the efficient
       operating model of Liquidity Services. This restructuring includes replacing
       senior members of the U.S. and Asian GoIndustry organization with tenured
       members of the Liquidity Services team.

       180.     On the January 31, 2013 call, Defendants Angrick and Rallo also made the

following statements:

       Rallo:

       During Q1, Liquidity Services reported strong financial results as we continue to
       grow our market share and build on our leadership position in the reverse supply
       chain market. We continue to benefit from large commercial and government
       clients placing their trust in us to handle more of their excess inventory and
       high-value capital assets sales, which drove strong growth this quarter.
                                                   *
       Angrick:

       One of the greatest organic growth opportunities we have is to do more business
       with our current clients. Today we provide services to over 130 Fortune 1000
       corporate clients, which include the leading companies in the retail, consumer
       packaged goods, energy, healthcare, transportation and technology sectors.
       Uniformly, our clients give Liquidity Services high marks for the quality and
       reliability of our services and for our domain expertise in the reverse supply
       chain. Yet only a very small percentage of our top clients take advantage of the
       full breadth of our services or conduct business with us in more than one
       geographic region.
                                                  *
       Rallo:

       We are again in a period with vast opportunities, and our ability to capture these
       opportunities over the next several years will be shaped by our investments we are
       making over the next several quarters, the largest of which is the GoIndustry
       marketplace. The opportunity to further serve 75 of the Fortune 500 clients
       associated with the GoIndustry acquisition will require us to make more



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investments and restructure an organization that has not had any investments in
the last four years.
                                             *
In addition, we are closing a larger number of locations around the world than
originally planned. The success of these changes will be measured starting in
next fiscal year and we believe will allow us to drive one of the highest returns
on invested capital for any of our acquisitions.
                                             *
And two, reduced GMV versus our previous expectations from our
Liquidation.com marketplace due to lower than expected product flows from
existing clients and slower than expected ramp up in product flows from new
clients programs. We anticipate normalized flows from new clients and
programs sometime during the third and fourth quarter of fiscal year 2013.
                                             *
As far as the growth rate for the retail business for the rest of the year, we see a
lowering of that growth rate from our prior expectations primarily related to
existing clients where their flows are lower than the flows received last year. Our
new clients, which we anticipated ramping up a little faster have not ramped up
based on the forecast that we see today – as quick as we anticipated. So we would
expect to see low double-digit growth in the retail supply of our business for the
rest of the year.
                                             *
As far as GoIndustry’s performance in the first quarter, it was better than the
last quarter that we had of fiscal year 2012. This . . . tends to be a seasonally
higher quarter for GoIndustry. Capital assets, many of the clients are 12-31 year-
end companies. And so there is a lot of capital assets that tend to move off the
balance sheet before the next fiscal year.

So again, I would say we actually had sequential growth in the business quarter
to quarter. What we are not seeing in the pipeline is the kind of growth that was
anticipated at the beginning of the year. So we certainly expect to be
significantly under our budgeted ranges for Golndustry that we talked about at
the beginning of the year.
                                             *
Most of the rest is coming from, again, the retail part of the business which I
think Bill and I discussed earlier in detail what is driving that. And then there’s
a small little bit that you have, to be frank, which is coming from scrap, which
continues to be lower than expectations, albeit not a material part of our business
anymore, it is obviously a part of our core business and going down. I think one
point I would comment on is the scrap business continues to decline, yet our
operating margins continue to improve in the core business.
                                             *
Angrick:

I think there are two aspects there [with GoIndustry]. One, the new organization
provides their view of potential and, until LSI has had experience interacting with

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       particular business leaders or vetting information, we have a certain reliance that
       we place on newly acquired teams and personnel and forecasting techniques. And
       as we peel the onion and we have more experience with what they use as a risk
       adjusted forecast, we have some risk in working with that forecast.

       In the current state, we have eliminated a lot of the risk of their forecasting
       techniques because we have either put an LSI long tenured employee in place to
       lead a division or a marketplace.
                                                    *
       . . . [W]e conserve our clients in more regions, we have a very small percentage
       of clients that use more than one of our services or work with us in more than
       one region. So our growth to $2 billion is merely a function of serving the
       needs of our existing clients and leveraging that expansion potential while also
       using the strong references to be the market leader in those industry categories.
       So that drive the opportunity to grow on a consistent basis. (Emphasis added.)

       181.    The statements made by Defendants Angrick and Rallo during the January 31,

2013 earnings call regarding Liquidity’s “long-term growth prospects” and strengthening

competitive position, particularly with regard to the retail supply chain division, were materially

false and misleading because, as discussed more fully at ¶¶ 64-73, supra, various confidential

witnesses have detailed how Defendants not only had no reasonable basis to make the

aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was facing

heightened competition that was negatively impacting margins on new and renegotiated

contracts; (ii) although it was adding new clients, Liquidity’s profitability suffered as a result of

its inability to maintain margins; (iii) the Company was unable to capitalize on synergies with its

retail supply chain acquisitions, and therefore could not capture the margins and market

expansion it had expected; and (iv) the Company’s exposure to mix changes in the retail supply

chain was more significant than the market was led to believe.              Moreover, Defendants’

statements touting current success and the long-term value of GoIndustry, notwithstanding the

expense of integrating and restructuring that business, were materially false and misleading

because, as discussed more fully at ¶¶ 80, 82, supra, although Defendants gave the appearance of



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candor by discussing logistical difficulties in integrating GoIndustry, they failed to disclose that,

inter alia: (i) GoIndustry’s European division was not having success in that market, and

(ii) GoIndustry paid its sales staff unsustainably high salaries and commissions that Liquidity

would not continue to pay, resulting in GoIndustry’s top European sellers leaving the Company,

taking their top accounts with them. Further, Defendant Rallo’s explanation that “we’re not

seeing in the pipeline . . . the kind of growth that was anticipated at the beginning of the year” at

GoIndustry was also false and misleading because this statement in effect attributed

GoIndustry’s financial problems at the time to a lack of products made available by customers,

and not the true difficulties Liquidity was having with GoIndustry.

          182.   On this news, the Company’s stock plummeted from $41.07 on the prior day’s

close, down to $31.87 on January 31, 2013. The media attributed this decline to Defendants’

statements regarding macroeconomic conditions, as opposed to the operational concerns that

Defendants concealed. For instance, an article published by the AP on the same day observed

that “Liquidity Services Inc.’s shares sank Thursday after the online auction company cut its

earnings outlook on the anticipated impact of the weak economy. . . . Liquidity Services said

that while economic conditions have improved, its overall outlook remains cautious due to the

volatility in the broader environment.” (Emphasis added.)

          183.   An article published on Bloomberg on the same day stated that the Company’s

shares “drop[ped] as much as 28% to lowest intraday since Dec. 2011” due to the reduced

forecast.    The piece noted that the Company “[c]ited volatility in the macro environment

including instability arising from the fiscal cliff and debt ceiling negotiations.” (Emphasis

added.)




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        184.    Notwithstanding the Company’s lowering of guidance for fiscal year 2013,

Barrington Research maintained its “outperform” rating – its highest rating – for Liquidity’s

shares, and opined that the harsh stock reaction was an “overreaction, though we acknowledge

that there are credibility issues with investors that need to be addressed by management.”

        O.      March 5, 2013 Conference Call

        185.    On March 5, 2013, Defendant Rallo participated in a question and answer

conference call hosted by Deutsche Bank AG. During the course of the conference call,

Defendant Rallo made the following statement with respect to Liquidity’s opportunities for

growth and the competition facing the Company:

        Well, we can certainly get to $2 billion a year with our existing client base. And
        if you look at the list of our existing clients, I mean, they’re on our website, it’s
        really a who’s who in the retail side of the business or the manufacturing side of
        the business or the energy side of the business. It’s a large market opportunity.
                                                       *
        There’s a lot of opportunity within our existing client base to grow the business.
        And so what – the one thing that people have to remember about our business is
        that we were founded in 2000, so again the liquidation industry has been out there
        for a long time. We’re always displacing somebody else that’s in there. So we
        don’t really have a lot of formidable competition, but we certainly have a lot of
        competition. And our job is to go in there and demonstrate with data, which we
        can do, that we’re going to drive a better net return and provide the services that
        these large retailers need. So we can certainly hit our $2 billion bogey with our
        existing client base. (Emphasis added.)

        186.    The statements in ¶ 185 regarding competition were materially false and

misleading because, as discussed more fully at ¶¶ 64-73, supra, Defendant Rallo failed to

disclose that, inter alia: (i) Liquidity was facing heightened competition that was negatively

impacting margins on new and renegotiated contracts; and (ii) although it was adding new

clients, Liquidity’s profitability suffered as a result of its inability to maintain margins.




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       P.       May 2, 2013 Press Release

       187.     On May 2, 2013, Liquidity issued a press release announcing its second quarter

2013 financial results, which were republished in the Company’s Form 10-Q, filed with the SEC

on May 7, 2013. The Company boasted record revenue of $130.3 million and record GMV of

$259.1 million, which was up 19%. However, the Company’s adjusted EBITDA dropped 6% to

$29.2 million, and adjusted diluted EPS dropped 8% to $0.48 per share.            Nevertheless,

Defendant Angrick assuaged investor concerns: “Liquidity Services generated solid results

during Q2-FY13 as we expanded adjusted EBITDA margins in our core business and continued

to deliver a high level of service to large commercial and government clients in managing their

excess inventory and high value capital asset sales.”

       188.     The Company also provided guidance for the third quarter and fiscal year 2013.

The Company forecast full year GMV to range from $1.025 billion to $1.1 billion, and for third

quarter GMV to range from $250 million to $275 million. It forecast full year adjusted EBITDA

to range from $115 million to $121 million, and for third quarter adjusted EBITDA to range

from $29 million to $32 million. Lastly, the Company predicted adjusted diluted EPS to range

from $1.90 to $2.02 per share for the full year, and from $0.49 to $0.54 per share for the third

quarter.    Furthermore, Liquidity represented that “GMV continues to diversify due to the

continued growth in our commercial business and state and local government business (the

GovDeals.com marketplace).      As a result, the percentage of GMV derived from our DoD

contracts during Q2-13 decreased to 21.3% compared to 24.3% in the prior year period.”

       189.     Defendant Angrick also emphasized the Company’s growth initiative, referred to

as Liquidity One:

       We remain focused on executing our long term growth strategy to achieve
       $2 billion in GMV by fiscal 2016. During the quarter, we continued to advance
       our multi-year investment efforts in upgrading our e-commerce platform,
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        investing in our sales and marketing organization and integrating our sales and
        marketing organization and integrating our recent acquisitions of NESA and
        GoIndustry. We made significant progress this quarter integrating GoIndustry,
        including the award of several new client engagements, and anticipate that we
        will exit this fiscal year with GoIndustry operating profitability, while
        enhancing our strategic plan of serving global capital asset clients. We believe
        these important investments uniquely address the needs of the Fortune 1000
        and public sector agencies and position us well to drive shareholder value over
        the next five years. (Emphasis added.)

        190.    The financial results and guidance provided by the Company in the May 2, 2013

press release were materially false and misleading because they gave investors the impression of

success and growth in the Company’s divisions while, behind the scenes, Liquidity’s business

was suffering. As discussed more fully at ¶¶ 64-73, supra, various confidential witnesses have

detailed how Defendants not only had no reasonable basis to make the aforementioned

representations but failed to disclose that, inter alia:       (i) Liquidity was facing heightened

competition that was negatively impacting margins on new and renegotiated contracts;

(ii) although it was adding new clients, Liquidity’s profitability suffered as a result of its inability

to maintain margins; (iii) the Company was unable to capitalize on synergies with its retail

supply chain acquisitions, and therefore could not capture the margins and market expansion it

had expected; and (iv) the Company’s exposure to mix changes in the retail supply chain was

more significant than the market was led to believe. Moreover, Defendant Angrick’s statement

that the Company made “significant progress this quarter integrating GoIndustry” was materially

false and misleading because it gave investors the impression that GoIndustry’s difficulties

stemmed merely from logistical issues when, as discussed more fully at ¶¶ 80, 82, supra:

(i) GoIndustry’s European division was not having success in that market, and (ii) GoIndustry

paid its sales staff unsustainably high salaries and commissions that Liquidity would not




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continue to pay, resulting in GoIndustry’s top European sellers leaving the Company, taking

their top accounts with them, all of which was concealed from investors.

       Q.      May 2, 2013 – 2Q13 Earnings Call

       191.    Also on May 2, 2013, the Company hosted a conference call to discuss its

earnings. During that call, Defendant Angrick represented that:

       During Q2, Liquidity Services generated solid results in line with our guidance
       range while also funding major investments in support of our long-term growth
       strategy.
                                              *
       Q2 GMV was up 19% year-over-year to $259.1 million, driven by growth in the
       volume of capital assets in our commercial and government marketplaces.
                                              *
       We remained focused on executing our long-term growth strategy to achieve
       $2 billion in GMV by fiscal year 2016. (Emphasis added.)

       192.    Likewise, Defendant Rallo stated that:

       Our solid results for the second quarter demonstrate the operating efficiencies
       we have achieved across our entire business as a result of investments we have
       made to support our growth over the last several years.
                                               *
       First, on the margins, I guess, core, for lack of a better word, is everything
       excluding GoIndustry. So, when you look at the rest of the business, frankly,
       operating extremely efficiently right now, in fact, a record quarter margin wise,
       again, excluding GoIndustry. So we had nice growth in the retail side of our
       business, driving efficiencies there. (Emphasis added.)

       193.    Also during that call, Defendants Angrick and Rallo made a number of other

statements concerning the Company’s growth initiative, profitability, operating condition, and

future prospects:

       Angrick:

       Our third major initiative is the integration of recent acquisitions. We have
       dedicated, cross functional project teams focused on completing the integration of
       our recent acquisitions of NESA and GoIndustry. NESA continues to go
       smoothly and we have continued to make progress with the integration of
       GoIndustry into our Capital Assets Group. We have eliminated non value added
       locations and activities while also making investments to integrate the sales and

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marketing organization, IT and back office systems. This has resulted in a more
effective, aligned, and responsive organization. We expect to exit this fiscal
year with GoIndustry operating profitably.
                                             *
[W]e made significant progress advancing our business plan during Q2. Our
integrity, customer focus, and investment in innovation have enabled us to
continue to expand our roster of blue chip clients. We now serve clients in over
25 countries across America, Europe, and Asia and have created the most talent
and capacity we have ever had to pursue key organic and external growth
opportunities that build on our leadership position.
                                             *
Let me address the commercial growth. One, as you heard, we are investing in
our sales and marketing organization. The quality and productivity of our
enterprise sales force continue to improve over time. Given the focus of our
strategy to aim our services at the largest corporations with the most capital-
intensive industries with high-value equipment and inventory to sell, when we
win business, it’s meaningful. And as we progress through the balance of fiscal
’13, we will see that come through with high organic growth. We’re in the
high-single digits coming out of the current quarter and we would expect that to
improve.
                                              *
Rallo:

As far as additional top line growth, we’re in a unique situation this year where
we have signed several large clients during the year. As Bill indicated in his
comments, we also have some what I would say is ancillary business or projects
we're going to do for existing client programs as we’ve called them in the past,
which are ramping up in the third and fourth quarter.
                                            *
So when we look at the end of the first quarter and look [] at the rest of the year,
we did not have a ramp up in new programs coming as fast as we thought,
meaning that we expected to have a better ramp this quarter, the quarter that
just closed, Q2.

In addition, we weren’t getting growth from existing client programs. So these
are programs that we’ve been running for over a year. That phenomenon has not
changed. So we haven't really seen growth from existing client programs. What
has changed, though, is as we talked about in the last call, we’ve used what I
would say is the slowdown in volume with the great demand that we have on the
buyer side to increase the number of programs we’re doing with existing clients.
So, these are new programs for existing clients which are ramping, also again, as
Bill noted in his comments, we’ve signed a significant number of new clients,
which we did not have three or four months ago when we did our last call. And
so, that’s really driving the growth.
                                            *



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        Our strategy of bringing innovative technology to the reverse supply chain market
        and our efficient business model has translated into strong results for
        stockholders. Trailing 12 months adjusted earnings before interest, taxes,
        depreciation and amortization, or adjusted EBITDA was $109.9 million.

        Our solid results for the second quarter demonstrate the operating efficiencies
        we have achieved across our entire business as a result of investments we have
        made to support our growth over the last several years.

        Adjusted EBITDA margin as a percent of GMV was 14.6% for our core
        business during the quarter, which excludes the operating results and losses
        from GoIndustry.

        194.   In addition, on the May 2 earnings call, Defendant Rallo made the following

representations as to the GoIndustry acquisition:

        During the 3 months ended March 31, 2013,        we made significant progress
        implementing and restructuring our plan          for GoIndustry. We closed
        non-performing locations and rationalized           the remaining supporting
        infrastructure while maintaining key elements    of the organization that have
        consistently provided a high level of service     to our Fortune 1000 clients.

        This restructuring resulted in approximately $2.3 million in additional costs
        during the quarter. We expect to complete our restructuring plan over the
        next six months and we believe these changes will enable the GoIndustry
        marketplace to achieve profitable operations in fiscal year 2014. Over the
        next several years, we believe GoIndustry will drive one of the highest
        returns on invested capital for any of our acquisitions. (Emphasis added.)

        195.   With respect to margins, Defendant Rallo stated on the second quarter earnings

call that:

        First on the margins, I guess core for a lack of a better word, is everything
        excluding GoIndustry. So when you look at the rest of the business, frankly
        operating extremely efficiently right now, in fact, a record quarter margin wise,
        again, excluding GoIndustry. So we had a nice growth in the retail side of our
        business driving efficiencies there.

        196.   The statements made by Defendants Angrick and Rallo on the May 2, 2013

earnings call concerning, inter alia, the Company’s organic growth and margins, particularly in

the retail division, and the sustainability of this growth, as well as the Company’s progress



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integrating and restructuring GoIndustry, were materially false and misleading. As discussed

more fully at ¶¶ 64-73, supra, various confidential witnesses have detailed how Defendants not

only had no reasonable basis to make the aforementioned representations but failed to disclose

that, inter alia: (i) Liquidity was facing heightened competition that was negatively impacting

margins on new and renegotiated contracts; (ii) although it was adding new clients, Liquidity’s

profitability was suffering as a result of its inability to maintain margins; (iii) the Company was

unable to capitalize on synergies with its retail supply chain acquisitions, and therefore could not

capture the margins and market expansion it had expected; and (iv) the Company’s exposure to

mix changes in the retail supply chain was more significant than the market was led to believe.

Moreover, as discussed more fully at ¶¶ 80, 82, supra, although Defendants tried to assuage

market concerns about GoIndustry by touting progress integrating and restructuring that

business, they failed to disclose that GoIndustry’s European division was not having success in

that market.

       197.    On these announcements, the Company’s stock price rose from its May 1, 2013

close of $32.53 per share to a close of $35.00 per share on May 3, 2013.

       198.    Notably, in June 2013, as the Company’s stock climbed, Defendant Angrick

unloaded a significant number of shares at artificially inflated prices. Indeed, he sold 200,000

shares for a return of $7,960,870 over the course of June 3, 4, and 5, 2013.

       199.    Not coincidentally, the very next day – on June 6, 2013 – Liquidity reported lower

than expected growth in GMV for the month of May. On this news, the Company’s stock

tumbled from a close of $39.12 on June 6, 2013, to $31.46 on June 13, 2013, as the market

absorbed the news.




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       R.     July 16, 2013 Press Release

       200.   On July 16, 2013, Liquidity issued a press release announcing preliminary

financial results for the third quarter of fiscal 2013, ended June 30, 2013. The Company

announced these limited results because it had become apparent that Liquidity was going to

badly miss its previously affirmed guidance. Liquidity announced that it expected to report

GMV of $228 million to $231 million, compared to the expected range of $250 million to

$275 million; adjusted EBITDA of $26 million to $27 million, compared to the expected range

of $29 million to $32 million; and Adjusted Diluted EPS of $0.43 to $0.45, compared to the

expected range of $0.49 to $0.54. The Company stated that these results were driven by lower

than expected GMV. Yet Defendants still managed to tout Liquidity’s organic growth and the

GoIndustry acquisition. According to the press release:

       Results were impacted by lower than expected GMV in the Company’s capital
       assets and retail supply chain verticals as a result of lower product flows from
       existing clients and slower than expected rollout of new client programs. “While
       our preliminary GMV results for Q3-FY13 and the impact on our Adjusted
       EBITDA and Adjusted EPS results were disappointing and below our
       expectations, our emphasis has been on profitable growth and we have made good
       progress with the integration of our GoIndustry acquisition, which is now
       operating at near breakeven. Overall margins in our business remain strong;
       we expect to report that adjusted EBITDA margins increased to approximately
       11.5% in the third quarter from 11.3% in the second quarter primarily as a result
       of sharper focus and streamlined operations,” said Bill Angrick, Chairman and
       CEO of Liquidity Services. “The lower than expected top line results during the
       quarter were driven by delays in new programs, weaker volumes in the consumer
       electronics sector and the continued repositioning of the GoIndustry marketplace
       to focus on the key global Fortune 1000 relationships that we expect will drive
       sustained profitable growth in this business.”

       “Fundamentally, we are confident in our competitive position and our ability to
       achieve attractive organic growth over the next several years driven by our
       strong client service and continued investments in innovation. However, in the
       short term, results have been less predictable and pressured due to significant
       integration efforts and the timing of new large programs coming on line in our
       retail supply chain vertical,” continued Angrick. (Emphasis added.)



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       201.       The preliminary financial results provided by the Company in the July 16, 2013

press release were materially false and misleading because they gave investors the false

impression of profitability and growth in the Company’s divisions, as did Defendant Angrick’s

statement expressing confidence in Liquidity’s organic growth and competitive position and the

unattributed statement that “[o]verall margins in our business remain strong.” As discussed more

fully at ¶¶ 64-73, supra, various confidential witnesses have detailed how Defendants not only

had no reasonable basis to make the aforementioned representations, but failed to disclose that,

inter alia:   (i) Liquidity was facing heightened competition that was negatively impacting

margins on new and renegotiated contracts; (ii) although it was adding new clients, Liquidity’s

profitability suffered as a result of its inability to maintain margins; (iii) the Company was

unable to capitalize on synergies with its retail supply chain acquisitions, and therefore could not

capture the margins and market expansion it had expected; and (iv) the Company’s exposure to

mix changes in the retail supply chain was more significant than the market was led to believe.

Moreover, the statement in the press release touting “good progress” in the integration of

GoIndustry was materially false and misleading because, as discussed more fully at ¶¶ 80, 82,

supra, Defendants failed to disclose that GoIndustry’s European division was not having success

in that market.

       202.       On this news, the Company’s stock declined from a close of $32.38 on July 15,

2013, down to $29.60 per share on July 17, 2013.

       S.         August 6, 2013 Press Release

       203.       On August 6, 2013, the Company announced its financial results for the third

quarter ended June 30, 2013, via a press release. These results were also filed with the SEC in a

Form 10-Q on August 9, 2013. For the quarter, Liquidity reported revenue of $124.2 million, up



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2% from the prior year period; adjusted EBITDA of $26.4 million, a decrease of approximately

21% from the prior year period; GMV of $230.3 million, an increase of approximately 2% from

the prior year period; and adjusted diluted EPS of $0.44 per share, down 21% from the prior year

period.

          204.   The Company also provided updated guidance for fiscal year 2013 and the fourth

fiscal quarter of 2013. The Company expected full year 2013 GMV to be from $925 million to

$950 million, and fourth quarter GMV of $200 million to $225 million. It expected full year

adjusted EBITDA of $104 million to $106 million, and fourth quarter adjusted EBITDA of

$24.0 million to $26.0 million. Lastly, the Company forecast full year adjusted diluted EPS to be

$1.72 to $1.76 per share, and third quarter adjusted diluted EPS to range from $0.39 to $0.43 per

share.

          205.   In conjunction with announced financial results, Defendant Angrick stated that:

          Q3-FY13 results were in line with our pre-announced guidance range. We
          continue to make important investments in our sales and marketing organization
          to expand awareness of Liquidity Services as the trusted provider of choice in our
          industry which will drive our future growth. We have made good progress with
          the integration of our GoIndustry acquisition, which is now operating near
          breakeven. Overall margins in our business remain strong as adjusted EBITDA
          margins increased to 11.5% in the third quarter from 11.3% in the second quarter
          primarily as a result of sharper focus and streamlined operations. Our year-over-
          year results were impacted by delays in new programs, weaker volumes and
          pricing in the consumer electronics category and the continued repositioning of
          our GoIndustry marketplace to focus on the key global Fortune 1000
          relationships that we expect will drive sustained profitable growth in this
          business.
                                                        *
          Fundamentally, we are confident in our competitive position and our ability to
          achieve attractive organic growth over the next several years driven by our
          strong client service and continued investments in innovation. However, in the
          short term, results have been less predictable and pressured due to significant
          integration efforts and the timing of new large commercial programs coming on
          line. (Emphasis added.)




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       206.     Additionally, Liquidity made the following representation concerning GMV and

revenue mix:

       GMV continues to diversify due to the continued growth in our commercial
       business and state and local government business (the GovDeals.com
       marketplace). As a result, the percentage of GMV derived from our DoD
       Contracts during Q3-13 decreased to 21.9% compared to 23.7% in the prior year
       period.

       207.     The financial results and guidance provided by the Company in the August 6,

2013 press release were materially false and misleading because they gave investors the

impression of profitability and growth in the Company’s divisions, as did Defendant Angrick’s

statements expressing confidence in Liquidity’s organic growth and competitive position and the

unattributed statement touting continued growth of the commercial business. As discussed more

fully at ¶¶ 64-73, supra, various confidential witnesses have detailed how Defendants not only

had no reasonable basis to make the aforementioned representations but failed to disclose that,

inter alia:    (i) Liquidity was facing heightened competition that was negatively impacting

margins on new and renegotiated contracts; (ii) although it was adding new clients, Liquidity’s

profitability suffered as a result of its inability to maintain margins; (iii) the Company was

unable to capitalize on synergies with its retail supply chain acquisitions, and therefore could not

capture the margins and market expansion it had expected; and (iv) the Company’s exposure to

mix changes in the retail supply chain was more significant than the market was led to believe.

Moreover, Defendant Angrick’s statement in the press release touting “good progress” in the

integration of GoIndustry was materially false and misleading because, as discussed more fully

at ¶¶ 80, 82, supra, Defendants failed to disclose that GoIndustry’s European division was not

having success in that market.




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       T.     August 7, 2013 – 3Q13 Earnings Call

       208.   On August 7, 2013, the Company hosted a conference call to discuss the earnings

announcement. During the call, Defendants Angrick and Rallo made a number of statements:

       Angrick:

       During Q3 Liquidity Services reported results in line with our revised guidance
       range provided on July 16, while also funding major investments in support of our
       long-term growth strategy. Margins in our core business expanded sequentially
       over Q2 as a result of operating leverage and efficiencies gained from a more
       streamlined and focused organization.

       We exited Q3 with zero debt and we continue to generate strong cash flows with
       an annual return on invested capital in excess of 50%. We have continued to
       make good progress repositioning our GoIndustry marketplace to focus on the
       key global Fortune 1000 relationships that we expect will drive sustained
       profitable growth.

       Fundamentally we are confident in our competitive position and our ability to
       achieve attractive organic growth over the next several years driven by our
       strong client service and continued investments in innovation. Our recent
       organic growth rate does not reflect the full impact of the progress we’re
       making with clients and prospects in the marketplace.
                                                 *
       Rallo:

       While we are not satisfied with our recent performance and our organic growth,
       we’re making significant progress towards achieving our long-term growth
       goals. One, we continue to improve the quality and effectiveness of the sales
       organization, as well as the range of services we provide, resulting in new client
       wins and new programs with existing clients, many of which are global in nature
       due to the addition of capabilities from the GoIndustry acquisition.

       While many of these programs have not ramped up as fast as we originally
       expected, the relationships that we are developing with these clients will drive
       strong results for shareholders over the long-term.
                                                    *
       Colin, let me take the second part of the question which was the change in
       guidance for the fourth quarter. Really it is driven by two factors – one is the
       retail supply chain which I discussed in detail in my earlier comments; we also
       discussed that in detail in our pre-announcement call. But we are assuming that
       we will not see any substantial improvement in the fourth quarter over the third-
       quarter results, which obviously, as we talked about earlier, were below
       expectations.

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       I will tell you that we are seeing a change in the consumer electronics trend in the
       retail supply chain and I think things may be turning, but I’m just at this point not
       willing to put that into the forecast. The GSS data will be out either later today
       or early tomorrow, that data will show that there was a pick up in the retail
       business, particularly the consumer electronics side. But again, I’m not going to
       anticipate that occurring for the rest of the quarter.

       The second piece is GoIndustry where, first off, there is a significant exposure to
       the European market. Bill indicated in his comments a lot of recent wins globally.
       And this is just a slow quarter for particularly non-US – the non-US segment
       primarily just due to holidays. So I am anticipating again a similar range of
       GMV in the GoIndustry side of our business.
                                                   *
       Angrick:

       Look, I think the reality is we have had – if you look over last two, two and a half
       years, we had substantial growth. And this was a difficult period of year-over-
       year comparisons with a lot of the progress we made one year ago. And we
       should continue to grow in the consumer electronics and technology sectors, the
       product lifecycle issues do require a marketplace to get in front of those curves
       and the pace of adding new programs is likely to improve over time. It was – it
       has been muted over the last four to six months and that is what has reduced the
       growth rate year over year.

       But we have had significant progress and success. Some of the clients that
       we've talked about today are in the consumer electronics vertical. So we have a
       very attractive value proposition in that vertical; most of our clients have IT
       equipment, either operating assets inside their companies that need to be
       disposed of, or retailers that are dealing with returned inventory, seasonal
       inventory in the consumer electronics vertical. So it will continue to have a
       strong presence in a roll and, yes, we believe that it is a growth sector for us.
       (Emphasis added.)

       209.   Additionally, on this earnings call, Defendant Angrick stated the following

regarding growth:

       We have continued to make good progress repositioning our GoIndustry
       marketplace to focus on the key global Fortune 1000 relationships that we
       expect will drive sustained profitable growth. Fundamentally, we are
       confident in our competitive position and our ability to achieve attractive
       organic growth over the next several years, driven by our strong client
       service and continued investments in innovation. Our recent organic growth
       rate does not reflect the full impact of the progress we are making with clients
       and prospects in the marketplace.

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       A key investment initiative for us is enhancing our sales and marketing
       organization and expanding our global reach through our acquisition of
       GoIndustry to drive awareness of Liquidity Services as the trusted provider of
       choice in our industry. (Emphasis added.)

       210.    Similarly, Defendant Rallo stated:

       One, we continue to improve the quality and effectiveness of the sales
       organization as well as the range of services we provide, resulting in new
       client wins and new programs with existing clients, many of which are global
       in nature due to the addition of capabilities from the GoIndustry acquisition.

       While many of these programs have not ramped up as fast as we originally
       expected, the relationships that we are developing with these clients will drive
       strong results for shareholders over the long-term.

       Integration of the GoIndustry acquisition is proceeding as we discussed in our
       last quarterly earnings call.
                                                 *
       Our European operations are being reorganized to more effectively serve our
       client base including consolidating smaller country offices while maintaining
       our ability to serve our clients across the entire European market. These
       actions have moved GoIndustry to almost breakeven and thus aligned the
       operations to be profitable in fiscal year 2014. (Emphasis added.)

       211.    The statements made by Defendants Angrick and Rallo during the August 7, 2013

earnings call regarding progress integrating GoIndustry, Liquidity’s competitive position,

organic growth, and experience in the retail supply division were materially false and

misleading. As discussed more fully at ¶¶ 64-73, supra, various confidential witnesses have

detailed how Defendants not only had no reasonable basis to make the aforementioned

representations but failed to disclose that, inter alia:       (i) Liquidity was facing heightened

competition that was negatively impacting margins on new and renegotiated contracts;

(ii) although it was adding new clients, Liquidity’s profitability suffered as a result of its inability

to maintain margins; (iii) the Company was unable to capitalize on synergies with its retail

supply chain acquisitions, and therefore could not capture the margins and market expansion it



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had expected; and (iv) the Company’s exposure to mix changes in the retail supply chain was

more significant than the market was led to believe. Moreover, as discussed more fully at ¶¶ 80,

82, supra, although Defendants tried to assuage market concerns about GoIndustry by touting

progress integrating and restructuring the European component of that business, they failed to

disclose that, inter alia, GoIndustry’s European division was not having success in that market.

       212.    On this news and Defendants’ misrepresentations, the Company’s stock began to

rise from its August 6, 2013 closing price of $28.97 per share up to $32.56 on August 15, 2013.

       213.    On September 3, 2013, Liquidity was named to Fortune’s 100 Fastest Growing

Companies list. Liquidity debuted as #48 on the list, owing to its 29% revenue growth, 64% EPS

growth, and 39% annualized total return over the three-year period ending June 28, 2013. On

this news, the Company’s stock price rose from $29.96 per share on September 6, 2013, to

$34.44 on September 9, 2013.

       214.    With the Company’s stock price inflated, Defendant Angrick took full advantage:

between September 9, 2013, and October 2, 2013, he sold 626,270 shares of stock for proceeds

of $22,133,454.66.     Not surprisingly, Defendant Angrick effected these sales prior to a

disappointing announcement regarding sales on October 7, 2013.

       215.    Specifically, on or about October 7, 2013, Liquidity announced that gross sales

volume for September had fallen far below analyst expectations. The Company reported gross

sales for September of $77.7 million, 10% below sales for the prior year period. On this news,

the Company’s stock declined from $32.77 on October 4, 2013, to $26.36 on October 10, 2013,

as the market absorbed the news.




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       U.      November 21, 2013 Press Release

       216.    On November 21, 2013, Liquidity issued a press release announcing the

Company’s financial results for the fourth quarter and full fiscal year 2013, ended September 30,

2013. A Form 10-K was correspondingly filed with the SEC on the same day. Liquidity

reported revenue of $505.9 million for the year, an increase of approximately 6% from fiscal

2012, and revenue of $129.1 million for the quarter, up 6% from the prior year period. Adjusted

EBITDA for fiscal year 2013 was $104.6 million, a 5% decrease from the prior year, and

$24.9 million for the quarter, an increase of approximately 8% from the prior year period. The

Company’s GMV for fiscal 2013 was a record $973.3 million, an increase of approximately 13%

from fiscal 2012, and $250.5 million for the quarter, up 4% from the prior year period. Liquidity

also reported that its Adjusted Diluted EPS was $1.75 per share for fiscal 2013 and $0.41 for the

fourth quarter, an increase of approximately 3% from the prior year period.

       217.    Liquidity also provided guidance for first fiscal quarter and full year 2014. The

Company expected GMV for fiscal year 2014 to range from $1.0 billion to $1.075 billion, and

for first quarter GMV to range from $200 million to $225 million. Adjusted EBITDA was

expected to range from $100 million to $108 million for fiscal year 2014, and $14 million to

$17 million for the first quarter. Adjusted diluted EPS was expected to range from $1.60 to

$1.76 per share for the fiscal year, and $0.20 to $0.24 for the first quarter.

       218.    In connection with the release of the Company’s financial results, Defendant

Angrick made the following statements:

       Liquidity Services generated improved results during Q4-13 based on the
       expansion of our services with retail supply chain clients and strong growth in our
       public sector business highlighted by 33% growth in our GovDeals marketplace
       this quarter. Both our retail supply chain and capital assets businesses grew
       sequentially during a seasonally low quarter for the Company and we continued
       to make progress with our integration of Golndustry to deliver profitable growth

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       going forward. . . . There are compelling opportunities to more broadly extend
       our technology platform, buyer liquidity and marketplace data to existing and new
       customers and partners. During FY14 we will establish and fund a new directive
       focused on developing new on demand services in these areas to further penetrate
       and serve our target market. We believe our continued investments in our people,
       technology platform and service offering position us well for long term profitable
       growth and market leadership. Liquidity Services remains focused on executing
       our long term growth strategy to ensure the Company is well positioned to drive
       attractive returns for shareholders. (Emphasis added.)

       219.    The financial results and guidance provided by the Company in the November 21,

2013 press release were materially false and misleading because they gave investors the

impression of profitability and growth in the Company’s divisions, as did Defendant Angrick’s

statement indicating continued progress in the GoIndustry integration, despite the fact that

behind the scenes, Liquidity’s business was suffering. As discussed more fully at ¶¶ 64-73,

supra, various confidential witnesses have detailed how Defendants not only had no reasonable

basis to make the aforementioned representations but failed to disclose that, inter alia:

(i) Liquidity was facing heightened competition that was negatively impacting margins on new

and renegotiated contracts; (ii) although it was adding new clients, Liquidity’s profitability

suffered as a result of its inability to maintain margins; (iii) the Company was unable to

capitalize on synergies with its retail supply chain acquisitions, and therefore could not capture

the margins and market expansion it had expected; and (iv) the Company’s exposure to mix

changes in the retail supply chain was more significant than the market was led to believe.

Moreover, as discussed more fully at ¶¶ 80, 82, supra, although Defendants tried to assuage

market concerns about GoIndustry by touting progress integrating that business, they failed to

disclose that GoIndustry’s European division was not having success in that market. Finally, as

discussed at ¶¶ 83-89, supra, Defendants failed to disclose that, inter alia: (i) internal analyses at

Network International demonstrated macroeconomic weaknesses in the energy vertical that



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Defendants knew or were reckless in not knowing would have a material negative impact on

Liquidity’s financial operations; (ii) that Network International’s sales had begun to suffer “a big

slowdown” as a result of these macroeconomic weaknesses; and (iii) Defendants’ own ill-

conceived interventions into Network International’s business were causing problems and

alienating the segment’s niche customer base.

       V.      November 21, 2013 – 4Q and FY2013 Earnings Call

       220.    Also on November 21, 2013, the Company hosted a conference call to discuss its

earnings. During that call, Defendant Rallo represented that Liquidity “had strong sequential

growth in our retail supply chain marketplaces driven primarily from new consumer

electronic programs with existing clients.” (Emphasis added.)

       221.    Also during that call, Defendants Angrick and Rallo made a number of other

statements concerning the Company’s growth initiatives, profitability, operating condition, and

future prospects. For instance, Defendant Angrick stated:

       During Q4, Liquidity Services reported results in line with our guidance range
       while also funding major investments in support of our long-term growth strategy.
       Growth during the quarter was driven by the expansion of our services with
       retail supply chain clients and strong growth in our public sector business,
       highlighted by 33% growth in our GovDeals marketplace. Both our retail supply
       chain and capital assets businesses grew sequentially during a seasonally low
       quarter for the company, and we continue to make progress with our integration
       of GoIndustry to deliver profitable growth going forward.

       222.    In addition, with respect to growth and acquisitions, Defendant Angrick stated on

the year-end earnings call that:

       Finally, I'm also pleased to report that the restructuring of our GoIndustry
       business is largely behind us, and we’re now focused on driving awareness of
       Liquidity Services as the trusted provider of choice in our industry. We have a
       great story to tell backed by a proven track record of success. We have formed a
       new centralized marketing function and global brand council that will support our
       sales outreach by developing a strong aligned global brand message for the
       Fortune 1000 audience to increase awareness of our brand and reinforce our

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       market leadership. We are encouraged by the progress of our capital assets
       group and we continue to expand our pipeline of new business with large
       multinational corporate clients in our target markets, including biopharma,
       consumer packaged goods, energy, technology, and transportation. (Emphasis
       added.)

       223.    Likewise, Defendant Rallo represented to investors that:

       We also saw significant sequential growth in our commercial capital assets
       marketplaces, primarily as a result of new programs from our GoIndustry
       global platform.
       We have completed the restructuring of the GoIndustry organization and are
       entering the second phase of the integration process during fiscal 2014, which
       is investing for growth. We will be combining the best attributes of the LSI
       technology platform with that of the GoIndustry technology platform while we
       continue to invest in the sales and marketing team to drive long-term growth.
       (Emphasis added.)
       224.    The statements made by Defendants Angrick and Rallo during the November 21,

2013 earnings call regarding progress integrating GoIndustry, Liquidity’s growth, and the

Company’s experience in the retail supply division were materially false and misleading. As

discussed more fully at ¶¶ 64-73, supra, various confidential witnesses have detailed how

Defendants not only had no reasonable basis to make the aforementioned representations but

failed to disclose that, inter alia: (i) Liquidity was facing heightened competition that was

negatively impacting margins on new and renegotiated contracts; (ii) although it was adding new

clients, Liquidity’s profitability suffered as a result of its inability to maintain margins; (iii) the

Company was unable to capitalize on synergies with its retail supply chain acquisitions, and

therefore could not capture the margins and market expansion it had expected; and (iv) the

Company’s exposure to mix changes in the retail supply chain was more significant than the

market was led to believe. Moreover, as discussed more fully at ¶¶ 80, 82, supra, although

Defendants tried to assuage market concerns about GoIndustry by touting completion of the

restructuring of that business, they failed to disclose that, inter alia, GoIndustry’s European


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division was not having success in that market.           Finally, as discussed at ¶¶ 83-89, supra,

Defendants failed to disclose that, inter alia: (i) internal analyses at Network International

demonstrated macroeconomic weaknesses in the energy vertical that Defendants knew or were

reckless in not knowing would have a material negative impact on Liquidity’s financial

operations; (ii) that Network International’s sales had begun to suffer “a big slowdown” as a

result of these macroeconomic weaknesses; and (iii) Defendants’ own ill-conceived interventions

into Network International’s business were causing problems and alienating the segment’s niche

customer base.

          225.   On this news, the Company’s stock fell $4.87 per share, down to $21.13 from its

previous close of $26.00 per share on November 20, 2013.

          W.     February 7, 2014 Press Release

          226.   On February 7, 2014, Liquidity announced its financial results for the first quarter

of fiscal year 2014, and also filed its Form 10-Q with the SEC. The Company reported revenue

for the first quarter of $121.9 million, which was consistent with the prior year period. Adjusted

EBITDA for the quarter was $20.0 million, a decrease of approximately 17% from the prior year

period.     GMV was $234.4 million, consistent with the prior year period. The Company's

adjusted diluted EPS was $0.32 per share, down 22% from the prior year period.

          227.    In connection with the release of the Company’s financial results, Defendant

Angrick stated as follows in the press release:

          Liquidity Services generated better than expected financial results in Q1- FY14
          driven by strong topline performance in our retail supply chain and municipal
          government businesses. Our retail supply chain business saw sequential growth
          in GMV as we helped more OEM and retail clients create strategic value in the
          secondary market for consumer goods through our marketplace channels and
          service offering. These results were partially offset by a sharp decline in our DoD
          Surplus business due to changing property mix which has impacted margins.
          During the quarter, we continued to expand our GovDeals municipal government

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       business in both the U.S. and Canada driven by agencies’ desire for more
       transparency, convenience and value in the sale of surplus assets. We also
       continued to invest in extending our technology platform, buyer liquidity and
       marketplace data with existing and new clients to unlock new opportunities
       during the quarter as our clients seek greater strategic value from the reverse
       supply chain. We believe our continued investment in innovation and strong
       client service positions us well to drive long term shareholder value. (Emphasis
       added.)

       228.     In announcing its first quarter 2014 results, Liquidity also affirmed its full year

2014 guidance and offered guidance for the second quarter. The Company expected second

quarter GMV of $220 million to $240 million, adjusted EBITDA of $20 million to $23 million,

and adjusted diluted EPS of $0.33 to $0.37 per share.

       229.    The financial results and guidance provided by the Company in the February 7,

2014 press release were materially false and misleading because they gave investors the

impression of success and growth in the Company’s divisions while, behind the scenes,

Liquidity’s business was suffering. Similarly, Defendant Angrick’s statements concerning near-

term successes in the Company’s retail supply chain business created a misleadingly positive

impression of the Company’s financial position. As discussed more fully at ¶¶ 64-73, supra,

various confidential witnesses have detailed how Defendants not only had no reasonable basis to

make the aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was

facing heightened competition that was negatively impacting margins on new and renegotiated

contracts; (ii) although it was adding new clients, Liquidity’s profitability suffered as a result of

its inability to maintain margins; (iii) the Company was unable to capitalize on synergies with its

retail supply chain acquisitions, and therefore could not capture the margins and market

expansion it had expected; and (iv) the Company’s exposure to mix changes in the retail supply

chain was more significant than the market was led to believe. Moreover, as discussed at ¶¶ 83-

89, supra, Defendants failed to disclose that, inter alia: (i) internal analyses at Network

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International demonstrated macroeconomic weaknesses in the energy vertical that Defendants

knew or were reckless in not knowing would have a material negative impact on Liquidity’s

financial operations; (ii) that Network International’s sales had begun to suffer “a big slowdown”

as a result of these macroeconomic weaknesses; and (iii) Defendants’ own ill-conceived

interventions into Network International’s business were causing problems and alienating the

segment’s niche customer base.

       X.      February 7, 2014 – 1Q14 Earnings Call

       230.    Also on February 7, 2014, the Company hosted a conference call to discuss its

earnings release. During that call, Defendants Angrick and Rallo made several statements

concerning the Company's growth, profitability, operations, and future prospects:

       Angrick:

       Liquidity Services generated better-than-expected financial results in Q1, driven
       by strong top-line performance in our retail supply chain and municipal
       government businesses, which both generated organic growth of over 20% during
       the quarter.
                                                   *
       These strong results were partially offset by a sharp decline in our DoD surplus
       business due to changing property mix, which has reduced growth and margins in
       this area of our business.
                                                   *
       Second, many verticals in our capital assets client sectors are very slow this time
       of year, particularly energy and transportation. Those are major drivers to the
       March-quarter guidance.
                                                   *
       Rallo:

       Yes, Colin, I’d also add – as you know, the March quarter is a big quarter for
       retail; but it’s not going to offset everything going on with the federal business, as
       well as the capital assets that Bill indicated. As far as upside to the year, we had
       a decent range in there for the year. We feel comfortable still with that range.

       We had a nice quarter this quarter. And at this point in time, we are just – we’re
       comfortable with those numbers.
                                                  *
       Angrick:

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       So forecast is driven by individual programs, individual client wins that we’re
       planning to roll out during the course of the year. I know that there’s been a
       concerted effort to invest in our sales organization, our branding program, to drive
       awareness of our services; and that has led to a robust commercial pipeline, Jason.

       And when you look at the type of business that we are signing, it’s very
       impressive from our point of view – both relative to the competition and relative
       to change in the behavior of some of the large Fortune 1000s that we call on.
                                                    *
       We’ve had robust growth, both in the December quarter, and we see that
       continuing on the commercial side and the opposite on the DOD surplus side.
                                                *
       Rallo:

       So when you look at GoIndustry, as you know, we have spent the last 18
       months, really – I’m not counting this quarter – restructuring that business,
       which was completed the last fiscal year. We came out with a fresh quarter
       here in the beginning of fiscal year 2014. We are very pleased with what’s
       going on in that business.

       So we would expect that business to be a run rate of around $130 million to
       $140 million, which is in line with what we told people we’d do, and then we
       would expect it to grow from there, with the addition of a lot of these new client
       wins that Bill discussed earlier. (Emphasis added.)

       231.    The statements made by Defendants Angrick and Rallo during the February 7,

2014 earnings call regarding the retail supply chain business, seasonal slowness in the energy

vertical, growth of Liquidity’s business, and the status of the GoIndustry business were

materially false and misleading. As discussed more fully at ¶¶ 64-73, supra, various confidential

witnesses have detailed how Defendants not only had no reasonable basis to make the

aforementioned representations but failed to disclose that, inter alia: (i) Liquidity was facing

heightened competition that was negatively impacting margins on new and renegotiated

contracts; (ii) although it was adding new clients, Liquidity’s profitability suffered as a result of

its inability to maintain margins; (iii) the Company was unable to capitalize on synergies with its

retail supply chain acquisitions, and therefore could not capture the margins and market



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expansion it had expected; and (iv) the Company’s exposure to mix changes in the retail supply

chain was more significant than the market was led to believe. Moreover, as discussed more

fully at ¶¶ 80, 82, supra, although Defendants gave the appearance of candor by noting that

GoIndustry had been subject to a restructuring process, they failed to disclose that, inter alia,

GoIndustry’s European division was not having success in that market. Finally, as discussed at

¶¶ 83-89, supra, although Defendants noted certain weaknesses in the energy vertical for that

quarter, they attributed these weaknesses to a cyclical slowdown, but failed to disclose that, inter

alia: (i) internal analyses at Network International demonstrated macroeconomic weaknesses in

the energy vertical that Defendants knew or were reckless in not knowing would have a material

negative impact on Liquidity’s financial operations; (ii) Network International’s sales had begun

to suffer “a big slowdown” as a result of these macroeconomic weaknesses; and (iii) Defendants’

own ill-conceived interventions into Network International’s business were causing problems

and alienating the segment’s niche customer base.

        232.   On this news, the Company’s stock closed at $24.61 per share on February 7,

2014, up $3.32 per share from its previous close of $21.29 on February 6, 2014. In the weeks

that followed, Liquidity’s stock would continue to tick higher, closing at $26.05 on March 31,

2014.

        Y.     May 8, 2014 – The Truth is Revealed

        233.   On May 8, 2014, Liquidity issued a press release that, in announcing its second

quarter fiscal year 2014 earnings, shocked investors.        The Company reported revenue of

$128.3 million for the quarter, a decrease of 1.5% from the prior year period, but Liquidity’s

GMV was $227.2 million, a decrease of 12% from the prior year period, adjusted EBITDA was

$16.7 million for quarter – a stunning decline of 43% from the prior year period – and adjusted

diluted EPS was $0.26 – another drastic decline of 46% from the prior year period.
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       234.   In connection with the release of the Company’s financial results, Defendant

Angrick made the following statements:

       While GMV was within our expected results, our Adjusted EBITDA and
       Adjusted EPS were lower than expected due to mix changes in our DoD surplus
       and retail businesses and delayed capital asset projects in both the U.S. and
       Europe. We also experienced unusual softness in our energy vertical due to an
       industry wide decline in line pipe and related equipment.

       In addition, we continued to invest aggressively to integrate our marketplaces and
       global operations and develop new capabilities to achieve our long term goal of a
       diversified, multi-billion dollar commercial business that enables sellers and
       buyers of all sizes to easily manage, evaluate and monetize assets in the
       $150 billion reverse supply chain based on their industry, location and channel
       preferences. At scale, Liquidity Services will provide shareholders with multiple
       high margin revenue streams that leverage our investments in game changing
       technology and global operations. To achieve our future vision, we are
       undergoing a multi-year transformation of our business from independent
       marketplaces to an integrated global business and marketplace platform with a
       singular and superior user experience. As we execute our transformation plan and
       manage the multi-year transition of our DoD surplus contract, consolidated results
       will be less reflective of our progress. Therefore, investors should evaluate our
       progress based on our ability to grow the GMV and revenue of our commercial
       and municipal government business going forward. (Emphasis added.)

       235.    As a result of these struggles, and in a concession that it had vastly overstated its

ability to generate growth and that its margins were significantly impaired, Liquidity was forced

to substantially revise its forecast for the full fiscal year 2014. The Company reduced its GMV

forecast for fiscal year 2014 to $930 million to $975 million, down from its previous guidance of

$1.0 billion to $1.075 billion. Liquidity now expected adjusted EBITDA for the year to be

$70 million to $80 million, down from its previous guidance of $100 million to $108 million.

Adjusted diluted EPS was revised for the year to range from $1.10 to $1.27, down from its

previous guidance of $1.60 to $1.76.

       236.   On this news, Liquidity’s stock price plummeted 29.7% to close at $12.17 per

share on May 8, 2014, down from a closing price of $17.31 per share on May 7, 2014.



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       237.    Analysts reacted immediately to the Company’s revelations. On May 8, 2014,

The Street rated Liquidity a “hold,” and reported that “Liquidity Services (LQDT) stock is

plunging Thursday after the Company missed first-quarter earnings and as guidance was

reduced.”

       238.    Likewise, on May 9, 2014, RBC Capital downgraded Liquidity to “sector

perform,” citing the second-quarter results and the reduced guidance.

       239.    Ultimately, the steep declines in adjusted EBITDA and adjusted EPS, in shocking

investors into a nearly 30% devaluing of Liquidity’s stock, reveal that Defendants could no

longer conceal the financial and operational difficulties they had been concealing for several

quarters. First, as a multitude of former employees have established, Defendants could not live

up to the growth story they publicly portrayed, as competition in the market was having a

devastating impact on margins, and correspondingly, earnings. Second, Defendants could no

longer bury the difficulties the Company was experiencing in the capital assets business,

including the integration of the GoIndustry acquisition, particularly its toll on earnings. Third,

Defendants were keenly aware of adverse macro trends in Network International’s business (the

energy vertical) as early as August 2013, as well as the immediate negative effects in late 2013

resulting from Defendants’ attempts to integrate Network International’s systems and operations,

which completely undermines the Company’s indication in May 2014 that “softness” in the

energy vertical had taken it by surprise.

VIII. UNDISCLOSED ADVERSE INFORMATION

       240.    At all relevant times, the market for Liquidity common stock was open, well-

developed, and efficient. As a result of the materially false and misleading statements and

failures to disclose described herein, Liquidity common stock traded at artificially inflated prices



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during the Class Period. Co-Lead Plaintiffs and the other members of the Class purchased or

otherwise acquire Liquidity’s common stock relying upon the integrity of the market price of that

security and market information related to Liquidity, and have been damaged thereby. If not for

the materially misleading misrepresentations and omissions operating on the market, Liquidity’s

prevailing public stock price would have been substantially lower at all relevant times.

       241.    During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of Liquidity’s common stock, by publicly issuing false and misleading

statements and omitting to disclose material facts necessary to make Defendants’ statements, as

set forth herein, not false and misleading. Such statements and omissions were materially false

and misleading in that they failed to disclose material, adverse, non-public information and

misrepresented the truth about the Company, its business, and its operations, as alleged herein.

       242.    At all relevant times, the specific material misrepresentations and omissions

alleged in this complaint directly or proximately caused, or were a substantial contributing cause,

of the damages sustained by the Co-Lead Plaintiffs and the members of the Class. As described

herein, during the Class Period, Defendants made or caused to be made a series of materially

false and misleading statements about the Company’s success and growth, the integration of

acquisitions, and the financial and operating condition of the Company.            These material

misstatements and omissions had the cause and effect of creating in the market an unrealistically

positive assessment of Liquidity and its business, prospects, and operations, thus causing the

Company’s common stock to be overvalued and artificially inflated at all relevant times.

Defendants’ false and misleading statements during the Class Period resulted in the Co-Lead

Plaintiffs and other members of the Class purchasing Liquidity’s stock at artificially inflated

prices, thus causing the damages complained of herein.



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IX.    SCIENTER ALLEGATIONS

       243.    As alleged herein, Defendants acted with scienter in that they issued and/or

disseminated public statements during the Class Period which were materially false and

misleading and which they knew or recklessly disregarded would artificially inflate the value of

Liquidity’s stock. Defendants knowingly and substantially participated or acquiesced in the

issuance or dissemination of such statements in violation of the federal securities laws, and failed

to make the necessary corrective disclosures.

       244.    As set forth herein, the Individual Defendants, by virtue of their receipt of

information reflecting the true facts regarding Liquidity, their control over, receipt, and/or

modification of Liquidity’s allegedly materially misleading statements and omissions, and/or

their positions with the Company, which made them privy to confidential information

concerning Liquidity, participated in the fraudulent scheme alleged herein.

       245.    The ongoing fraudulent scheme described herein could not have been perpetrated

over a substantial period, as has occurred, without the knowledge and complicity of the

personnel at the highest level of the Company, including Defendants Angrick and Rallo.

       A.      Defendants’ Knowledge of the Wrongful Conduct

       246.    The flow of information within the Company, from the sales levels straight up to

senior management, was open and direct at all relevant times. Accordingly, members of senior

management, including the Individual Defendants, were aware on a constant basis of the state of

Liquidity’s operations and financial performance, including, but not limited to, the status of retail

and government contracts, trends in its market share, its margins, and the status of the integration

of acquired companies.

       247.    Former Liquidity employees are consistent in their attestation that protocols were

in place so that senior management was constantly informed, through periodic reports and
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meetings, of the state of the Company’s operations. Even for a company with as many divisions

and subsidiaries as Liquidity, key information was uniformly transmitted up the chain in a

formal, routinized process to senior management, including Defendants Angrick and Rallo.

       248.   For instance, according to CW 9, a former Vice President of Business

Development, GMV and margins were tracked very closely using a software system called LSI

Admin, which was considered “the Bible” within Liquidity. Through data entered into LSI

Admin, weekly reports were generated for each account (Wal-Mart, for example) that broke

down each account by sales and profitability.

       249.   CW 2, a Senior Sales Executive who worked at Liquidity’s DC headquarters for

seven years – including the entirety of the Class Period – described how sales figures were

entered into LSI Admin, which was accessible to his managers and all other employees with the

proper clearance. CW 2 reported to a sales manager, who reported to Vice President of Business

Development, who reported to Vice President of Retail Supply Chain Group Cayce Roy, who

reported to CEO Defendant Angrick. According to CW 2, his sales numbers were reviewed with

sales managers on a daily basis, and his managers discussed this data with their superiors on

weekly Key Performance Indicator (“KPI”) conference calls.

       250.   CW 17, a former office manager at Government Liquidation, a Liquidity

subsidiary, corroborates the use of the proprietary LSI Admin software system, explaining that

sales, GMV, margins, costs, and other information were communicated from Liquidity’s

websites – including govliquidation.com – to the LSI Admin system.

       251.   According to CW 1, a former Business Analyst and Contact Center Manager

employed by the Company from October 2010 through November 2013, sales were reported up

the chain to Vice President of Retail Supply Chain Group Cayce Roy via email on a weekly basis



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on an extensive Excel spreadsheet. CW 1 managed the B2B and B2C portions of Liquidity’s

Ebay “stores,” as well as the liquidation.com website. He dealt with big-box companies from

whom Liquidity bought merchandise (such as Target, Best Buy, and Wal-Mart), and facilitated

the sale of those items (which included food, clothing, and electronics) to smaller stores through

Liquidity’s Ebay stores and liquidation.com. Every week, CW 1 emailed to Roy an Excel

spreadsheet that contained approximately thirteen (13) tabs whose titles included B2B Sales,

B2C Sales, Company Defects, Sales/Defects (Sales Divided by Defects), Refurbishing Customer

Defects, and several others.

       252.    CW 9 further detailed the manner in which information was communicated to

senior management in regular meetings. For example, CW 9 explained that he would meet with

Cayce Roy, the Vice President of the Retail Supply Chain Group, to discuss their business

segment, and that Roy would then meet with Defendants Angrick and Rallo. According to CW

9, Roy had a standing one-on-one meeting with Defendant Angrick every Monday to discuss

day-to-day issues in the Consumer business, and CW 9 knew about these weekly meetings

because he would meet with Roy afterwards to discuss any feedback from Defendant Angrick.

As CW 9 noted, leaders from Liquidity’s other two divisions were meeting as frequently with

Defendants Angrick and Rallo as Roy was. In addition to these weekly meetings, Roy would

meet with Defendants Angrick and Rallo in the weeks leading up to the quarterly and annual

earnings releases. CW 9 also commented that, after Roy left Liquidity in 2014, he had much

more exposure to Defendants Angrick and Rallo, who he described as the “center of power” at

the Company, and ultimately all management decisions were made by the two of them.

       253.    The reporting process is further delineated by CW 18, former Senior Manager of

Client Services in the Asset Recovery Division. This individual was employed by the Company



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for seven years, from July 2006 through January 2013. During his tenure, he reported to Senior

Director of Client Services Tom Stoerck, who reported to the Vice President of Business

Development, who reported to President of Retail Supply Chain Group Cayce Roy, who in turn

reported to Defendant Angrick.       According to CW 18, Liquidity’s sales metrics were

communicated up the chain as follows: (i) items sold, inventory, sales, sales margins, GMV,

cost input, and other metrics were culled from sales data and activity from Liquidity’s website

and captured in the Company’s proprietary software system; (ii) this data was then transferred to

an Excel spreadsheet, which became the Weekly KPI Report, and which contained

approximately thirteen (13) tabs, such as sales volume per account, sales margins per account,

GMV per account, returns per account, and cost input per account; (iii) the Weekly KPI Report

was then transmitted up the chain to Roy, who used it at the weekly teleconference meetings that

he conducted. CW 18 participated in these weekly meetings, which were run by Roy and held at

the beginning of each week. Representatives of every department attended these meetings and

discussed their respective KPI Reports, with the general focus being on revenue, margins, and

GMV. While Defendants Angrick and Rallo did not directly participate in these meetings, CW

18 believed Roy shared the weekly KPI Report information with Defendant Angrick.

       254.    CW 3 also spoke of reports transmitted weekly via file-share on Liquidity’s

network. According to CW 3, these reports would include sales volume and margins, as well as

inventory levels, and would be accessed by managers up the chain – including Vice President of

Channel Optimization Greg Bennett, Cayce Roy, and the Vice President of Business

Development.

       255.    CW 10 corroborated the transmittal of sales and inventory data to management

through Excel spreadsheets. He populated the spreadsheet with “capacity” (inventory levels)



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figures every other week, and then participated in weekly teleconferences – which included

Senior Director of Operations Preston Mosier and Vice President of Channel Optimization Greg

Bennett – where the quality of materials was discussed.

       256.    CW 17 also reported the weekly-generated Excel spreadsheet through which

information from Government Liquidation was conveyed up the chain. He stated that the

spreadsheet reported inventory levels and other data to his supervisor, Cesar Rodriguez, who

reported to Western Pacific Zone Director Christopher Hamm, who reported to Vice President of

Operations Timothy Daniel, who reported to Defendant Angrick.       The weekly spreadsheet

included Disposal Turn-In Document (“DTID”) figures, which were the numbers that DoD

assigned to each item and were used by Government Liquidation as a reference number for

keeping track of inventory, including the amount of each item and how long it remained in

inventory.

       257.    According to CW 17, there were also weekly teleconference meetings every

Monday.      During these meetings, which were chaired by Western Pacific Zone Director

Christopher Hamm, CW 17 and others would review each site’s inventory levels, and the group

would discuss inventory that was held 45 days or longer.

       258.    Similarly, CW 19, an Inside Sales Representative at Network International, a

Liquidity subsidiary, from December 2012 through July 2014, stated that Network

International’s COO Gardner Dudley had weekly teleconference meetings with Defendant

Angrick during which sales metrics were communicated.

       259.    CW 20 corroborated how revenue information was transmitted up to senior

management on a daily basis. CW 20, a former B2C Channel Associate employed by Liquidity

from June 2009 through April 2012, stated that his direct supervisor, Director of Retail



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Marketing Todd Lusby, would email the department the daily revenue results on a daily basis,

and Lusby’s supervisor, Vice President of Channel Optimization Greg Bennett, was included in

the daily updates.    Lusby headed weekly departmental meetings in which revenues were

discussed. According to CW 20, daily revenue information was passed from Lusby up the chain

to senior executives, and managers of each department (including Lusby) met on a weekly basis

with their respective vice presidents. Lusby always communicated revenue information to the

“wider team,” and there was “no way that anyone on the C-level [i.e., chief officer level] did not

know what was going on.” CW 20 also corroborated that the managers met on a weekly basis

with their vice presidents to discuss revenues and projections.

       260.    A number of former employees, including CW 9, CW 11, and CW 5, also stated

that the Company used a website called Salesforce.com to report and track sales, to generate

forecasts, and for business development.      CW 11, a former Senior Manager of Sales and

Marketing Platforms who was employed by Liquidity from July 2011 through March 2014, had

extensive knowledge of the Company’s use of Salesforce, as his responsibilities included serving

as the administrator of Salesforce. CW 11 also served as the administrator of Eloqua, Liquidity’s

marketing platform.

       261.    CW 13, a former Account Manager and Marketing Developer at Liquidity’s

Network International subsidiary from November 2011 until August 2013, commented that

Liquidity, as well as Network International and other subsidiaries of the Company, used Eloqua

for lead generation. He advised that it contained client information and was used to run email

marketing campaigns across Liquidity’s businesses. CW 13 concluded that Eloqua helped to

build markets by fully integrating Liquidity’s marketing systems, allowing each subsidiary to

market to the other subsidiaries’ customers.       Separately, CW 13 explained that Network



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International used the SalesLogix system “for everything.” According to CW 13, Network

International used SalesLogix to generate “every type of report” for Liquidity, and many of these

reports, at least some of which were formatted as PDF files or Excel spreadsheets, were run

daily. CW 13 believed that senior executives at Liquidity would have had access to SalesLogix

and these reports.

        262.   Given the existence of this reporting structure and the platforms used by the

Company, the Individual Defendants were keenly aware of the status of sales generation,

revenue figures, and margins in the retail segment, as well as the factors impacting those metrics,

such as competition, difficulty integrating acquired businesses, and trends in the various

verticals.   As the statements of these numerous former employees amply demonstrate, the

Individual Defendants knew or were reckless in not knowing that, inter alia, margins were

shrinking and the integration of certain acquisitions was not successful, and thus the Company’s

financial performance was being adversely impacted.

        263.   Importantly, according to former Liquidity employees, inaccurate or otherwise

manipulated sales information was being conveyed up to senior management. Such data had the

effect of inflating the retail division’s sales. But instead of stamping out this practice, senior

management fostered and/or encouraged it. For instance, according to CW 4, who had extensive

visibility into internal sales numbers owing to his responsibility for compensating sales

personnel, the retail segment was the hardest segment from which to obtain accurate sales

figures, and the Retail Supply Chain Group’s sales numbers were often incorrect during his

tenure because Cayce Roy, Vice President of Retail Supply Chain Group, was manipulating his

sales figures to benefit his group and maximize compensation and bonuses for his team. CW 4

stated that the sales numbers for the retail segment in 2013 were inflated by at least 10%. He



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observed that more money was being paid out in compensation and bonuses to Cayce Roy’s

group than was being brought in. According to CW 4, the Retail Segment was “doing a lot of

data massaging with credits and other things to inflate the numbers.” When looking further into

these issues, Mike Lutz, Vice President of Human Resources, informed him that Defendant

Angrick did not want him “rattling Cayce [Roy]’s chain” and to leave the retail sales figures

alone. According to CW 4, “I was actually told to back off from getting their numbers as per

Bill [Angrick].” (Emphasis added.)

       264.   CW 1 believed the problem was more widespread than the retail division.

According to him, Liquidity had a company-wide “culture” of overstating sales goals. He

observed sales targets growing increasingly more unrealistic through 2013, and that the various

divisions within the Company increasingly set optimistic expectations which were not met (and

thus from which management ultimately had to publicly retreat). The divisions in which CW 1

worked – he managed online stores in B2B and B2C – got progressively worse throughout 2013

in terms of missing sales goals. According to CW 1, following quarterly telephonic meetings

chaired by Defendants Angrick and Rallo, during which the sales targets for each division were

announced, CW 1’s colleagues in other divisions privately complained that the sales goals were

unrealistic, that they had been missing them, and that there was “no way” they were going to

meet the new goals. CW 1’s direct supervisor, Mary Hageny, Director of Customer Support and

Major Account Sales, used to state during team meetings that sales goals handed down by

management were unattainable.

       265.   These statements make clear that not only were the Individual Defendants clued

in to the various factors negatively impacting Liquidity’s growth and success, but that they were




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taking active steps to conceal them from the market by setting unrealistic sales goals that formed

the basis of the Company’s revenue and earnings projections.

           B.       Insider Trading

           266.     Throughout the Class Period, Defendant Angrick capitalized on his insider

knowledge by engaging in stock sales when Liquidity’s shares were trading at artificially inflated

prices. As the chart below indicates, Defendant Angrick sold 1,642,979 shares – approximately

25 percent of his total holdings – and reaped proceeds of $68.2 million:

            Date                 # Shares                                        Proceeds/(Cost)
                             Purchased/(Sold)                    Price
        02/06/2012                          (38,800)                 $40.35          $1,565,580
        02/10/2012                         (461,200)                 $40.02         $18,457,224
        05/23/2012                          (66,233)                 $63.05        $4,175,990.65
        05/24/2012                          (13,767)                 $63.01         $867,458.67
        05/25/2012                           (7,424)                 $63.06         $468,157.44
        05/29/2012                          (12,576)                 $63.04         $792,791.04
        06/08/2012                          (35,000)                 $63.73          $2,230,550
        06/11/2012                          (30,000)                 $64.69          $1,940,700
        06/12/2012                           (5,300)                 $63.02            $334,006
                                                  11
        07/05/2012                             617                   $17.02         ($10,501.34)
                                                  12
        07/05/2012                           2,283                       $9.96      ($22,738.68)
        07/05/2012                           1,66713                     $8.23      ($13,719.41)
                                                  14
        09/06/2012                          13,578                   $17.02        ($231.097.56)
                                                  15
        09/06/2012                          27,397                       $9.96     ($272.874.12)



11
     Exercise of employee stock options.
12
     Exercise of employee stock options.
13
     Exercise of employee stock options.
14
     Exercise of employee stock options.
15
     Exercise of employee stock options.


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        09/06/2012                           19,99916                  $8.23   ($164,591.77)
        09/06/2012                             3,50117                $12.02    ($42,082.02)
        09/27/2012                             (1,122)                $49.42     $55,449.24
        10/02/2012                           (11,781)                 $46.65    $549,583.65
        03/04/2013                             (3,370)                $34.82    $117,343.40
        03/05/2013                           (62,230)                 $33.81   $2,103,996.30
        03/06/2013                           (46,483)                 $33.25   $1,545,559.75
        03/07/2013                             (8,080)                $33.26    $268,740.80
        03/20/2013                               (937)                $29.50     $27,641.50
                                                       18
        04/04/2013                           (4,837)                  $33.25    $160,830.25
                                                       19
        04/09/2013                         (105,000)                  $33.25   $3,491,250.00
        04/10/2013                           (5,000)20                $33.25    $166,250.00
        06/03/2013                          (122,000)                 $40.13   $4,895,860.00
        06/04/2013                           (13,000)                 $40.02    $520,260.00
        06/05/2013                           (65,000)                 $39.15   $2,544,750.00
        08/08/2013                             6,78921                $17.02   ($115,548.78)
                                                       22
        08/08/2013                           25,114                    $9.96   ($250,135.44)
                                                       23
        08/08/2013                             1,668                   $8.23    ($13,727.64)
        09/09/2013                          (100,000)                 $32.89   $3,289,000.00
        09/10/2013                          (100,000)                 $34.27   $3,427,000.00
        09/11/2013                          (250,000)                 $36.07   $9,017,500.00
        09/12/2013                          (150,000)                 $36.95   $5,542,500.00
        10/01/2013                           (21,356)                 $32.67    $697,700.52


16
     Exercise of employee stock options.
17
     Exercise of employee stock options.
18
     Pursuant to 10b5-1 trading plan established 3/12/2013.
19
     Pursuant to 10b5-1 trading plan established 3/12/2013.
20
     Pursuant to 10b5-1 trading plan established 3/12/2013.
21
     Exercise of employee stock options.
22
     Exercise of employee stock options.
23
     Exercise of employee stock options.


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     10/02/2013                      (4,914)                $32.51      $159,754.14
     TOTALS                       1,642,797                          $68,276,410.59

       267.    First, Defendant Angrick’s stock sales are suspicious in terms of amount. The

more than 1.6 million shares unloaded represents nearly one quarter of Defendant Angrick’s

entire holdings. By contrast, in the two years prior to the Class Period, Defendant Angrick sold

merely 875,621 shares for proceeds of only $15.3 million. In other words, as the chart below

demonstrates, he sold nearly double the number of shares during the approximately two-year

Class Period than he did in the prior two-year period, earning four-and-a-half times the amount

of money:

        Date       # Shares Purchased/(Sold)             Price        Proceeds/(Cost)

      9/3/2010                           (200)              $14.00              $2,800.00
      9/8/2010                          (9800)              $14.00            $137,200.00
     9/9/2010                         (10,000)              $14.41            $144,100.00
     9/10/2010                        (10,000)              $14.50            $145,000.00
     9/13/2010                        (10,000)              $14.75            $147,500.00
     9/14/2010                        (10,000)              $14.82            $148,200.00
     9/15/2010                        (10,000)              $14.59            $145,900.00
     9/16/2010                        (10,000)              $14.56            $145,600.00
     9/17/2010                        (10,000)              $14.45            $144,500.00
     9/20/2010                        (10,000)              $14.38            $143,800.00
     9/21/2010                        (10,000)              $14.75            $147,500.00
     9/22/2010                        (10,000)              $14.56            $145,600.00
     9/23/2010                        (10,000)              $14.46            $144,600.00
     9/24/2010                        (10,000)              $15.40            $154,000.00
     9/27/2010                        (10,000)              $15.70            $157,000.00
     9/28/2010                        (10,000)              $15.52            $155,200.00
     9/29/2010                        (10,000)              $15.84            $158,400.00
     9/30/2010                        (10,000)              $15.99            $159,900.00
     10/1/2010                        (10,000)              $16.00            $160,000.00


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10/1/2010                   8,777            -                       -
10/1/2010                 (3,945)        $15.97           $63,001.65
10/4/2010                (10,000)        $16.02          $160,200.00
10/5/2010                (10,000)        $16.35          $163,500.00
10/6/2010                (10,000)        $16.28          $162,800.00
10/7/2010                 (5,502)        $16.26           $89,462.52
10/8/2010                (10,000)        $16.09          $160,900.00
10/11/2010               (10,000)        $16.29          $162,900.00
10/12/2010               (10,000)        $16.02          $160,200.00
10/13/2010               (10,000)        $16.24          $162,400.00
10/14/2010               (10,000)        $16.76          $167,600.00
10/15/2010               (10,000)        $17.11          $171,100.00
10/18/2010               (10,000)        $17.05          $170,500.00
10/19/2010               (10,000)        $16.91          $169,100.00
10/20/2010               (10,000)        $16.75          $167,500.00
10/21/2010               (10,000)        $16.68          $166,800.00
10/22/2010               (10,000)        $16.84          $168,400.00
10/25/2010               (10,000)        $16.94          $169,400.00
10/26/2010               (10,000)        $16.52          $165,200.00
10/27/2010               (10,000)        $16.65          $166,500.00
10/28/2010               (10,000)        $16.73          $167,300.00
10/29/2010               (10,000)        $16.41          $164,100.00
11/1/2010                (10,000)        $16.01          $160,100.00
11/2/2010                (10,000)        $16.00          $160,000.00
11/3/2010                (10,000)        $16.16          $161,600.00
11/4/2010                (10,000)        $16.85          $168,500.00
11/5/2010                (10,000)        $16.64          $166,400.00
11/8/2010                (10,000)        $16.40          $164,000.00
11/9/2010                (10,000)        $16.07          $160,700.00
11/10/2010               (10,000)        $15.80          $158,000.00
11/11/2010               (10,000)        $16.05          $160,500.00
11/12/2010               (10,000)        $15.79          $157,900.00
11/15/2010               (10,000)        $16.02          $160,200.00
11/16/2010               (10,000)        $15.43          $154,300.00

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11/17/2010               (10,000)        $14.93          $149,300.00
11/18/2010               (10,000)        $15.19          $151,900.00
11/19/2010               (10,000)        $15.03          $150,300.00
11/22/2010               (10,000)        $15.17          $151,700.00
11/23/2010               (10,000)        $14.75          $147,500.00
11/24/2010               (10,000)        $15.08          $150,800.00
11/26/2010               (10,000)        $15.13          $151,300.00
 1/3/2011                (10,000)        $14.42          $144,200.00
 1/4/2011                (10,000)        $14.35          $143,500.00
 1/5/2011                 (4,260)        $14.12           $60,151.20
1/18/2011                 (5,740)        $14.00           $80,360.00
 2/2/2011                (10,000)        $14.54          $145,400.00
 2/3/2011                (10,000)        $14.54          $145,400.00
 2/4/2011                (10,000)        $16.43          $164,300.00
 2/7/2011                (10,000)        $16.77          $167,700.00
 2/8/2011                (10,000)        $16.33          $163,300.00
 2/9/2011                (10,000)        $16.34          $163,400.00
2/10/2011                (10,000)        $16.37          $163,700.00
2/11/2011                (10,000)        $16.99          $169,900.00
2/14/2011                (10,000)        $16.70          $167,000.00
2/15/2011                 (4,498)        $16.25           $73,092.50
2/16/2011                (10,000)        $16.59          $165,900.00
2/17/2011                (10,000)        $16.56          $165,600.00
2/18/2011                (10,000)        $16.17          $161,700.00
2/22/2011                (10,000)        $15.46          $154,600.00
2/23/2011                 (4,300)        $15.14           $65,102.00
2/24/2011                (10,000)        $15.04          $150,400.00
2/25/2011                (10,000)        $15.71          $157,100.00
2/28/2011                (10,000)        $15.94          $159,400.00
 3/1/2011                (10,000)        $16.01          $160,100.00
 3/2/2011                (10,000)        $15.65          $156,500.00
 3/3/2011                (10,000)        $15.72          $157,200.00
 3/4/2011                (10,000)        $15.50          $155,000.00
 3/7/2011                (10,000)        $15.60          $156,000.00

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      3/8/2011                        (10,000)            $15.98              $159,800.00
      3/9/2011                        (10,000)            $15.75              $157,500.00
     3/10/2011                        (10,000)            $15.24              $152,400.00
     3/11/2011                           5,700            $15.25             ($ 86,925.00)
     8/17/2011                          15,981             $9.96             ($159,170.76)
     8/17/2011                          11,667             $8.23             ($ 96,019.41)
     8/17/2011                          80,499            $12.02             ($967,597.98)
     8/17/2011                       (100,000)            $17.63                $1,763,000
     9/14/2011                        (25,000)            $31.00              $775,000.00
     9/15/2011                        (25,000)            $32.00              $800,000.00
    TOTAL                              875,621                             $15,384,656.72


       268.    Second, the timing of these sales is suspicious. For instance, over the course of

an approximately three-week period beginning on May 23, 2012, and ending on June 12, 2012,

when the stock was trading at or near Class Period highs of approximately $63 per share,

Defendant Angrick sold 170,300 shares for proceeds of $10.8 million. Immediately thereafter,

the Company revealed to investors that it was not experiencing the same level of margin

expansion as it recently had. Consequently, by July 2, 2012, the stock had dropped more than

$20 per share to close at $38.44 – but Defendant Angrick had already secured his nearly

$11 million cash-out.

       269.    Similarly, during the three trading days of June 3, June 4, and June 5, 2013, when

the Company’s stock closed at $40.11, $39.53, and $39.35, respectively, Defendant Angrick sold

200,000 shares for proceeds of $7.9 million. It could hardly be coincidence that the very next

day, on June 6, 2013, Liquidity reported weak sales for May 2013, at which point the stock

dropped more than 10 percent on June 7, 2014. By June 13, 2014, the Company’s shares were

trading at $31.46.




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       270.   Yet again, on four consecutive days in September 2013 – September 9 through

September 12 – Defendant Angrick sold a total of 600,000 shares when the stock closed between

$34.00 and $36.58. During those four days, Defendant Angrick reaped an enormous windfall of

$21.3 million. A few weeks later, he pocketed an additional $857,000 on October 1 and 2, 2013,

when the stock was trading at around $32.50. Not surprisingly, Defendant Angrick orchestrated

these sales just before the Company’s October 7, 2013 announcement that its September sales

had been soft, a disclosure that sent the stock plummeting more than 11 percent. Liquidity

shares were trading down at $26.36 on October 10, 2013, and had fallen to $21.13 by November

21, 2013. Indeed, Defendant Angrick sold at opportune times, as the stock price never rose

above $28.00 for the remainder of the Class Period.

       271.   Nor can Defendant Angrick point to a legitimate Rule 10b5-1 stock sales plan to

insulate his highly suspicious stock trades from scrutiny. On June 15, 2012, Liquidity filed a

Form 8-K with the SEC announcing that Defendant Angrick had entered into a written sales plan

pursuant to Rule 10b5-1 (the “6/15/12 Plan”). Under this plan, a broker-dealer was authorized to

sell up to a specified number of Defendant Angrick’s shares, subject to minimum sales price

thresholds. The sales were expected to occur between June 20, 2012, and March 31, 2013. The

6/15/12 Plan allowed for the sale of up to approximately 2.5 million of Defendant Angrick’s

shares and permitted the sale of up to 30,000 shares in a single day. The Form 8-K also

announced that the previous sales plan for Defendant Angrick, as announced in the Form 8-K,

dated March 17, 2010, had been terminated following the sale of all shares covered under that

plan. Despite having entered into the 6/15/12 Plan, none of Defendant Angrick’s numerous

Class Period sales were actually made under that plan. Rather, once the plan was instituted,

Defendant Angrick did not engage in a single purchase or sale, save for exercising options on a



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mere 4,567 shares on July 5, 2012. On August 3, 2012 – a paltry six weeks after announcing the

6/15/12 Plan – Defendant Angrick severed the plan, simultaneously making the vague (and

ultimately empty) promise that he was exploring options to purchase shares of the Company’s

common stock. Defendant Angrick later adopted a new 10b5-1 plan on August 8, 2013 (the

“8/8/13 Plan”). However, a mere three sales of stock were effected pursuant to the 8/8/13 Plan.

       272.      Significantly, Defendant Angrick’s insider selling did not go unnoticed by his

colleagues at the Company.        According to CW 9, a former Vice President of Business

Development and six-and-a-half-year veteran of Liquidity who was employed by the Company

from November 2007 through April 2014, there was a tremendous amount of jealousy and envy

among CW 9’s colleagues over Defendant Angrick’s stock sales. The antipathy regarding these

lucrative insider transactions rose to such a level that Cayce Roy, the Vice President of Retail

Supply Chain Group, was forced to address these concerns within his division.

       273.      Likewise, CW 4, a former Director of Global Compensation, stated that

Defendant Angrick and other members of senior management were selling “a lot” of their shares

at a time when they clearly had access to information indicating that the DoD business was in

peril and the retail segment was struggling. He was also aware that certain executives were

selling off stock when the price was trading high, including, for example, in October 2012.

Consistent with that statement and as the chart above demonstrates, at the end of September and

beginning of October 2012, Defendant Angrick sold more than 12,900 shares for a profit of more

than $600,000.

X.     NO SAFE HARBOR

       274.      The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the materially false and misleading statements alleged in



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this Complaint. First, many of the statements alleged herein to be false and misleading relate to

historical facts or existing conditions. Second, any purported “forward looking statements” were

not accompanied by meaningful cautionary language because risks that Defendants warned of

had already come to pass. Third, to the extent that there were any forward-looking statements

that were identified as such, Defendants are liable because, at the time each of those forward-

looking statements was made, the speaker knew the statement was false when made.

       A.      Many of Defendants’ False and Misleading Statements Were Not Forward-
               Looking
       275.    For example, the alleged false and misleading statements below (1) relate to

historical or current fact; (2) implicate existing conditions; and (3) do not contain projections of

future performance or future objectives:

               (a)     Statements concerning financial results, i.e., ¶¶ 99-101, 105-106, 110-112,

               115-116, 119, 129, 133, 137, 140, 145, 177, 187, 191-193, 200, 203, 208, 216,

               218, 220-221, 226, 227, 230;

               (b)     Statements regarding the success of the retail division, i.e., ¶¶ 105-106,

               110-111, 113, 117, 135, 137, 146, 155, 159, 167, 179-180, 187, 192, 195, 200,

               206, 208, 218, 220-221, 227, 230;

               (c)     Statements regarding the success of the capital assets division, i.e., ¶¶ 100,

               104-106, 113, 130, 134, 146, 156, 160, 167, 178, 187, 189, 191, 200, 209, 210,

               218, 221-223, 230;

               (d)     Statements regarding the status of competition, i.e., ¶¶ 102, 104, 119, 141,

               146, 149, 154, 158, 163, 165, 185, 200, 205, 208-209, 230;




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               (e)       Statements concerning the integration of GoIndustry, i.e., ¶¶ 126, 130,

               132, 134, 137, 146, 149, 160-161, 174, 178, 180, 189, 193-194, 200, 205, 208,

               210, 218, 221-223, 230; and

               (f)       Statements concerning current growth, including current progress towards

               meeting growth goals, i.e., ¶¶ 102, 104, 107, 118, 136, 141, 146, 158, 163, 177,

               191, 193, 205, 208-209, 218, 227, 230.

       276.    To the extent any of these statements might be construed to touch on future intent,

they are mixed statements of present facts and future intent and not entitled to safe harbor

protection with respect to the part of the statement that refers to the present.

       B.      Defendants’ False and Misleading Statements Were Not Accompanied by
               Meaningful Cautionary Language

       277.    None of Defendants’ statements were accompanied by meaningful cautionary

language that identified important factors that could cause actual results to differ materially from

any results projected.

       278.    To the extent Defendants included any cautionary language, that language was not

meaningful because any potential risks identified by Defendants had already manifested. As

detailed herein, at the time Defendants were touting strong results and growth at the Company,

Defendants knew that, inter alia: (1) its retail divisions were already suffering shrinking margins

and reduced revenue; and (2) its capital assets division was suffering from a decline in sales, in

part due to the problematic and unprofitable acquisition of GoIndustry, as well as with issues

with its Network International business segment. Thus, vague warnings regarding, for example,

how: failure to integrate an acquired business “may” negatively affect Liquidity, that margins

“may” decline, or that competitive pressure “could” adversely affect Liquidity’s business, were




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insufficient because they failed to warn that the risks had already occurred when Defendants

made their false and misleading statements.

       C.     Defendants Knew that the Risks they Warned of Had Already Come to Pass

       279.   To the extent there were any forward-looking statements that were identified as

such at the time made, Defendants are liable for those statements because at the time each

statement was made, the particular speaker knew that the particular forward-looking statement

was false, or, by reason of what the speaker failed to note, was materially false and/or

misleading, and/or that each such statement was authorized and/or approved by an executive

officer of Liquidity who actually knew that each such statement was false and/or misleading

when made.

XI.    LOSS CAUSATION

       280.   During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the price of Liquidity

common stock and operated as a fraud or deceit on Class Period purchasers of Liquidity common

stock. Defendants accomplished this by touting the Company’s success, new business, growth

opportunities and financial outlook while misrepresenting the Company’s current and future

profitability and prospects in two of its three business segments – its retail and capital assets

divisions. Defendants failed to disclose known challenges and risks in (1) Liquidity’s retail

division, including shrinking margins and reduced revenue, and (2) its capital assets division,

including the problematic and unprofitable acquisition of GoIndustry, a decline in sales, and

cross-platform integration issues with Network International.

       281.   As Defendants’ prior misrepresentations and fraudulent conduct were disclosed,

and as the undisclosed risks and challenges manifested and became apparent to the market, the



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price of Liquidity common stock declined significantly as the prior artificial inflation came out

of the Company’s stock price.

       282.    As a result of their purchases of Liquidity common stock during the Class Period,

Co-Lead Plaintiffs and the other Class members suffered economic loss, i.e., damages, under the

federal securities laws. Defendants’ false and misleading statements, and failure to disclose

known risks, had the intended effect and caused Liquidity’s common stock to trade at artificially

inflated levels throughout the Class Period, reaching as high as $66.57 per share on May 10,

2012. On May 8, 2014, the day after Liquidity disclosed that it had greatly overstated the

Company’s financial outlook, growth potential, ability to generate new business and the need to

transform its business model, Liquidity’s stock closed at $12.17.

       283.    Between June 20, 2012, and May 7, 2014, selective information was revealed

about Liquidity’s financial performance and outlook, which had a material adverse impact upon

Liquidity’s stock price without revealing the full extent of the known risks and challenges facing

the Company. Analysts following the Company downplayed the significance of these partial

disclosures, accepting Defendants’ efforts to mitigate and blunt the truth. Those disclosures

include:

           a. June 22, 2012 revelation by Rallo to investors attending a conference sponsored

               by Stifel Nicolaus that margins may not continue to grow as in the past.

               Liquidity’s stock dropped 8.82%.        Two days later, analysts with Roth Capital

               Markets issued a report opining that Rallo’s comments “were largely

               misconstrued,” and contributed to the decline in Liquidity’s shares.

           b. July 1, 2012 report from a short-selling research firm, Off Wall Street Consulting

               Group, Inc., claiming: (1) DoD business, which accounts for most of Company’s



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      profits, should decline as realignment of overseas bases winds down; (2) non-

      DoD business is unlikely to drive the earnings growth that investors expect; (3)

      acquisitions generally have been used to supplement reported growth and that the

      acquisition of Jacobs Trading Company was simply an effort to buy earnings, but

      Jacobs’ prospects and performance rely on its contract with Walmart, which

      expires in 2016; (4) competition is increasing; (5) customer concentration poses a

      significant risk; (6) the acquisition of [GoIndustry] DoveBid is questionable as its

      business has been deteriorating over the past two years. Stock dropped 24.89%

      the next day, although on July 2, 2012, an analyst at Stifel Nicolaus called the

      report “meritless” and claimed that Off Wall Street Consulting incorrectly refers

      to “concentration risk” in Liquidity’s GMV. The Stifel Nicolaus analyst also

      stated that “[t]he report is incorrect in suggesting that margin upside has been

      largely due to government contracts. . . . The incremental margin is coming from

      the fastest growing segment, Commercial, which was also confirmed by

      management.” Oppenheimer issued a research report on July 3, 2012, stating that

      the “sell” report contained factual inaccuracies and “over-reaching” conclusions,

      and kept its Outperform rating on the Company’s stock.

   c. September 12, 2012 reduction in price target by Stifel Nicolaus, citing a decline in

      GMV in August compared to July and sales that were lower than forecast.

      Liquidity’s stock declined 8.68%.

   d. November 29, 2012 press release, Form 10-K, and statements by Defendants

      Angrick and Rallo during a conference call with securities analysts, both touting

      growth in market share, performance, and opportunities for future growth, but



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      also reporting a drop in first quarter and fiscal 2013 guidance, citing challenging

      economic conditions and the need to invest in GoIndustry. Liquidity’s shares

      declined 13.49%. Certain media sources attributed this decline to Defendants’

      statements about macroeconomic conditions, as opposed to operational concerns

      within the Company. For instance, an article in the AP on November 29 stated as

      follows: “Shares of Liquidity Services, Inc. tumbled more than 17 percent in

      Thursday morning trading, after the online auction operator posted a 77 percent

      jump in fiscal fourth-quarter net income, but warned that global economic

      conditions remain tough.” (Emphasis added.) The article further noted that

      “Liquidity Services said that while the economy has improved, it remains

      cautious about the effect of volatile economic conditions on retail and industrial

      supply chains, as well as GDP growth.” (Emphasis added.)           Janney Capital

      Markets gave Liquidity a “buy” rating on November 29, 2012, citing improving

      Commercial growth as a reason. On the same day, Oppenheimer gave Liquidity

      an “Outperform” rating, saying that “Retail drives F4Q upside.” Thus, for the

      reasons articulated above in ¶¶ 79-80, 82, the market absorbed a message from

      Defendants that did not reflect the truth of what was being experienced within the

      Company.     Likewise, on December 4, 2012, a report issued by Barrington

      Research maintained an “outperform” rating on the Company, its highest rating.

   e. January 16, 2013 press release providing preliminary disclosure of Q1 GMV

      falling below guidance. Liquidity’s stock dropped 4.33%. Oppenheimer reported

      that Liquidity pre-announced “weaker than expected F1Q GMV driven by softer




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      capital asset sales,” also saying that “Capital energy assets responsible for the

      miss.”

   f. January 31, 2013 press release and earnings call touting growth and opportunities

      while also announcing a reduction in full year guidance attributable to a

      restructuring of GoIndustry, reduced earnings and GMV from GoIndustry,

      reduced GMV from liquidation.com, and “[a]s far as the growth rate for the retail

      business for the rest of the year, we see a lowering of that growth rate from our

      prior expecations.” Liquidity’s shares fell 22.4%. Notwithstanding, Deutsche

      Bank, Janney Capital Markets, Benchmark, and Roth Capital Partners maintained

      a “Buy” rating on Liquidity’s stock, while Barrington Research and Oppenheimer

      maintained an “Outperform” rating.       Additionally, the market absorbed the

      Company’s news as a reflection of macroeconomic conditions, as opposed to the

      true operational concerns. Accordingly, an article published by the AP on the

      same day observed that “Liquidity Services Inc.’s shares sank Thursday after the

      online auction company cut its earnings outlook on the anticipated impact of the

      weak economy. . . . Liquidity Services said that while economic conditions have

      improved, its overall outlook remains cautious due to the volatility in the broader

      environment.” (Emphasis added.)

   g. June 6, 2013 report by RBC Capital Markets reflecting Liquidity’s announcement

      of lower than expected May GMV growth. Liquidity’s stock declined 10.38% on

      June 7, 2013.

   h. July 16, 2013 press release pre-announcing disappointing preliminary third-

      quarter 2013 results and that it would be lowering guidance for the year,



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                attributing the decline to lower GMV in the Company’s capital assets and retail

                divisions. Liquidity’s shares fell 7.88%.

            i. October 7, 2013 disclosure of soft September 2013 sales compared to July and

                August. Liquidity’s stock declined 11.53%.

            j. November 21, 2013 press release lowering 2014 guidance, 10% below consensus

                estimates for 2014. Liquidity’s stock declined 18.73%.

       284.     While all of these partial disclosures revealed pieces of information that cast some

doubt on Defendants’ bullish claims that Liquidity would continue to grow and achieve guided

profit levels, none of them provided investors with anything close to the full picture of the

known risks and challenges facing the Company and its ability to achieve the guidance levels

Defendants provided the market.

       285.     On May 8, 2014, Liquidity issued a press release that finally revealed that

Defendants had greatly overstated the Company’s growth potential and its ability to generate

new business and that as a result, the undisclosed risks and challenges facing the Company had

materialized: earnings for the second quarter, 2014, in all of the Company’s markets – DoD

surplus, retail, and capital assets – were significantly below guidance and a “multi-year

transformation of [the] business,” which would adversely impact results going forward, was

required.     Defendants also disclosed softness in Liquidity’s energy vertical – Network

International. Liquidity’s stock declined 29.6% on the news.        The next day, an analyst with

RBC Capital Markets stated “we will step to the sidelines until management builds back

credibility,” while downgrading the stock and reducing the share price target from $30 to $15.

Janney Capital Markets, Oppenheimer, and Benchmark also lowered their ratings on Liquidity.




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       286.    By concealing from investors the adverse facts detailed herein, and by failing to

disclose the risks known to them, Defendants presented a misleading picture of Liquidity’s

business and prospects. As the truth about the Company was revealed to the market and as the

Company publicly acknowledged the need to transform its business model and completely re-set

guidance, those risks manifested, and the price of Liquidity common stock fell significantly.

These declines removed the inflation from the price of Liquidity common stock, causing real

economic loss to investors who had purchased Liquidity common stock during the Class Period.

       287.    The declines in the price of Liquidity common stock after each partial disclosure

and the May 8, 2014 final corrective disclosure came to light were a direct result of the nature

and extent of Defendants’ fraudulent misrepresentations being revealed to investors and the

market. The timing and magnitude of the price declines in Liquidity common stock negate any

inference that the loss suffered by Co-Lead Plaintiffs and the other Class members was caused

by changed market conditions, macroeconomic or industry factors, or Company-specific facts

unrelated to Defendants’ fraudulent conduct.

       288.    During the Class Period, the price of Liquidity stock declined as the true state of

Liquidity’s operations was revealed to the investing public.

       289.    The economic loss, i.e., damages, suffered by Co-Lead Plaintiffs and the other

Class members, was a direct result of Defendants’ fraudulent scheme to artificially inflate the

price of Liquidity common stock and the subsequent significant decline in the value of Liquidity

common stock when Defendants’ prior misrepresentations and other fraudulent conduct were

revealed.




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XII.    APPLICATION OF PRESUMPTION OF RELIANCE:
        FRAUD ON THE MARKET

        290.    Co-Lead Plaintiffs are entitled to a presumption of reliance under Affiliated Ute

Citizens of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein

against Defendants are predicated upon omissions of material fact that there was a duty to

disclose.

        291.    In the alternative, Co-Lead Plaintiffs are entitled to a presumption of reliance on

Defendants’ material misrepresentations and omissions pursuant to the fraud-on-the-market

theory, in that, among other things:

            a. as a regulated issuer, Liquidity filed periodic public reports with the SEC;

            b. Liquidity regularly communicated with public investors via established market
               communication mechanisms, including through regular disseminations of press
               releases on the major news wire services and through other wide-ranging public
               disclosures, such as communications with the financial press, securities analysts,
               and other similar reporting services;

            c. several hundreds of thousands of shares of Liquidity stock were traded on a
               weekly basis, demonstrating a strong presumption of an efficient market;

            d. Liquidity was followed by numerous analysts that issued reports about the
               Company;

            e. new, company-specific information was rapidly reflected in the Company’s stock
               price; and

            f. dozens of market makers made a market in the Company’s stock, which was
               listed on the NASDAQ, a highly automated market.

                                            COUNT I

                        For violations of Section 10(b) of the Exchange Act
                              and Rule 10b-5, against all defendants.

        292.    Co-Lead Plaintiffs repeat and reallege each and every allegation set forth above as

if fully set forth herein.



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       293.     This Count is asserted pursuant to Section 10(b) of the Exchange Act and Rule

10b-5 promulgated thereunder by the SEC against all Defendants.

       294.     As alleged herein, throughout the Class Period, Defendants, individually and in

concert, directly and indirectly, by the use of the means or instrumentalities of interstate

commerce, the mails and/or the facilities of national securities exchanges, made untrue

statements of material fact and/or omitted to state material facts necessary to make their

statements not misleading and carried out a plan, scheme, and course of conduct, in violation of

Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.               Defendants

intended to and did, as alleged herein: (i) deceive the investing public, including Co-Lead

Plaintiffs and members of the Class; (ii) artificially inflate and maintain the prices of Liquidity

common stock; and (iii) cause Co-Lead Plaintiffs and members of the Class to purchase

Liquidity common stock at artificially inflated prices.

       295.     The Individual Defendants were individually and collectively responsible for

making the false and misleading statements and omissions alleged herein and having engaged in

a plan, scheme, and course of conduct designed to deceive Co-Lead Plaintiffs and members of

the Class, by virtue of having made public statements and prepared, approved, signed, and/or

disseminated documents that contained untrue statements of material fact and/or omitted facts

necessary to make the statements therein not misleading.

       296.     As set forth above, Defendants made their false and misleading statements and

omissions and engaged in the fraudulent activity described herein knowingly and intentionally,

or in such a deliberately reckless manner as to constitute willful deceit and fraud upon Co-Lead

Plaintiffs and the other members of the Class who purchased Liquidity common stock during the

Class Period.



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        297.    In ignorance of the false and misleading nature of Defendants’ statements and

omissions, and relying directly or indirectly on those statements or upon the integrity of the

market price for Liquidity common stock, Co-Lead Plaintiffs and other members of the Class

purchased Liquidity common stock at artificially inflated prices during the Class Period. But for

the fraud, Co-Lead Plaintiffs and members of the Class would not have purchased Liquidity

common stock at such artificially inflated prices. As set forth herein, when the true facts were

subsequently disclosed, the price of Liquidity common stock declined precipitously and Co-Lead

Plaintiffs and members of the Class were harmed and damaged as a direct and proximate result

of their purchases of Liquidity common stock at artificially inflated prices and the subsequent

decline in the price of that stock when the truth was disclosed.

        298.    By virtue of the foregoing, Defendants are liable to Co-Lead Plaintiffs and

members of the Class for violations of Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

                                              COUNT II

                          For violations of Section 20(a) of the Exchange Act
                          and Rule 10b-5, against the Individual Defendants.

        299.    Co-Lead Plaintiffs repeat and reallege each of the allegations set forth above as if

fully set forth herein.

        300.    This Count is asserted pursuant to Section 20(a) of the Exchange Act against each

of the Individual Defendants.

        301.    As alleged above, Liquidity violated Section 10(b) of the Exchange Act and Rule

10b-5 promulgated thereunder by making false and misleading statements in connection with the

purchase and sale of Liquidity’s common stock and by participating in a fraudulent scheme and

course of business or conduct throughout the Class Period.          This fraudulent conduct was

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undertaken with scienter and the Company is charged with the knowledge and scienter of each of

the Individual Defendants who knew of or acted with deliberate reckless disregard of the falsity

of the Company’s statements and the fraudulent nature of its scheme during the Class Period.

       302.    As set forth above, the Individual Defendants were controlling persons of

Liquidity during the Class Period, due to their senior executive positions with the Company and

their direct involvement in the Company’s day-to-day operations.

       303.    By virtue of the foregoing, the Individual Defendants each had the power to

influence and control, and did influence and control, directly or indirectly, the decision-making

of Liquidity, including participating in writing or reviewing Liquidity’s public statements,

reports, press releases, and SEC filings alleged herein to be misleading prior to and/or shortly

after they were issued and thus had the ability and opportunity to prevent their issuance or cause

them to be corrected, and thereby culpably participated in the fraud alleged herein.

       304.    These Individual Defendants acted knowingly and intentionally, or in such a

deliberately reckless manner as to constitute willful fraud and deceit upon Co-Lead Plaintiffs and

the other members of the Class who purchased Liquidity common stock during the Class Period.

       305.    In ignorance of the false and misleading nature of the Company’s statements and

omissions, and relying directly or indirectly on those statements or upon the integrity of the

market prices for Liquidity common stock, Co-Lead Plaintiffs and other members of the Class

purchased Liquidity common stock at an artificially inflated price during the Class Period. But

for the fraud, Co-Lead Plaintiffs and members of the Class would not have purchased Liquidity

common stock at artificially inflated prices. As set forth herein, when the true facts were

subsequently disclosed, the price of Liquidity common stock declined precipitously and Co-Lead

Plaintiffs and members of the Class were harmed and damaged as a direct and proximate result



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of their purchases of Liquidity common stock at artificially inflated prices and the subsequent

decline in the price of that stock when the truth began to be disclosed.

       306.    By reason of the foregoing, the Individual Defendants are liable to Co-Lead

Plaintiffs and the members of the Class as controlling persons of Liquidity in violation of Section

20(a) of the Exchange Act.

                                    PRAYER FOR RELIEF

       Co-Lead Plaintiffs seek relief and judgment, as follows:

               1. Determining that this action is a proper class action and certifying Co-Lead
                  Plaintiffs as class representatives under Rule 23 of the Federal Rules of Civil
                  Procedure;

               2. Awarding compensatory damages, including interest, in favor of the Co-Lead
                  Plaintiffs and the other Class members against all of Defendants, jointly and
                  severally, for all damages sustained as a result of Defendants’ wrongdoing, in
                  an amount to be proven at trial;

               3. Awarding Co-Lead Plaintiffs and the Class their reasonable costs and
                  expenses incurred in this action, including counsel fees and expert fees; and

               4. Granting any other relief the Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Co-Lead Plaintiffs hereby demand a trial by jury.



Dated: December 15, 2014                                Respectfully submitted,

                                                        /s/ Mark S. Willis
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